Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 1 of 166




                  Exhibit 9
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 2 of 166


                                                                                   1
                         UNCLASSIFIED, COMMITTEE SENSITIVE




     EXECUTIVE SESSION

     PERMANENT SELECT COMMITTEE ON INTELLIGENCE,

     U.S. HOUSE OF REPRESENTATIVES,

     WASHINGTON, D.C.




            INTERVIEW OF:        GLENN SIMPSON




                                 Tuesday, November14,2017

                                      Washington, D.C.




            The interview in the above matter was held in Room HVC-304, the Capitol,

      commencing at 2:13 p.m .

             Present:   Representatives Conaway, King, Rooney, Ros-Lehtinen, Gowdy,

      Schiff, Himes, Speie r, Quigley, Swalwell, Castro, and Heck .



                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 3 of 166


                                                                    2
                      UNCLASSIFIED, COMMITTEE SENSITIVE




       Appearances:




       For the PERMANENT SELECT COMMITTEE ON INTELLIGENCE:




       For GLENN SIMPSON:



       ROBERT F. MUSE, ESQ.

       JOSHUA LEVY, ESQ.

       RACHELCLATTENBURG,ESQ.




                      UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 4 of 166


                                                                                                 3
                          UNCLASSIFIED, COMMITTEE SENSITIVE




                                 Good afternoon . This is an unclassified transcribed

      interview of Mr. Glenn Simpson.

             Thank you for speaking to us today.     For the record, I am                    a

      staff member of the House Permanent Select Committee on Intelligence. Others

      present today will irtroduce themselves when they speak.

             But before we begin, I have a security reminder.     If you haven't left your

      electronics outside, please do so at this time. That includes blackberries,

      iPhones, androids, tablets, iPads, or eReaders, laptops, iPods, MP3 players,

      recording devices, cameras, wireless headsets, pagers, and any type of bluetooth

      wristbands or watches.

             I also want to state a few things for the record. The questioning will be

      conducted by members and staff during their allotted time period.      Some

      questions may seem basic, but that is because we need to clearly establish facts

      and understand the situation.    Please do not assume we know any facts you have

      previously disclosed as part of any other investigation or review.

             We ask that you give complete and fulsome replies to questions, based on

      your best recollection . If a question is unclear or you are uncertain in you r

      response, please let us know. And if you do not know the answer to a question or

      cannot remember, simply say so.

             During the course of this interview, we will take any breaks that you desire.

             This interview will be transcribed. There is a reporter making a record of

      these proceedings so we can easily consult a written compilation of your answers.

      Because the reporter cannot record gestures, we ask that you answer verbally.          If

      you forget to do this, you might be reminded to do so.    You may also be asked to


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 5 of 166


                                                                                               4
                            UNCLASSIFIED, COMMITTEE SENSITIVE



       spell certain terms or unusual phrases.

               You are entitled to have a lawyer present for this interview, though you are

       not required to do so.   I see that you have counsel present and would ask that

      your attorneys make an appearance for the record.

               MR. LEVY: Joshua Levy, counsel for Glenn Simpson.

               MR. MUSE: I am Bob Muse, also counsel for Glenn Simpson.

                                  Thank you. To ensure confidentiality, we ask that you

      do not discuss this interview with anyone other than you r --

               MS. CLATTENBURG: Rachel Clattenburg, also for Glenn Simpson .
                                  To ensure confidentiality, we ask that you do not discuss

      the interview with anyone other than your attorney.

               Consistent with the committee rules of procedure, you and your counsel , if

      you wish, will have a reasonable opportunity to inspect the transcript of this

      interview in order to determine whether your answers were correctly transcribed.

      The transcript will remain in the committee's custody. The committee also

      reserves the right to request you return for additional questions should the need

      arise.

               The process for today's interview is as follows: The majority will be given

      45 minutes to ask questions; and the minority will be given 45 minutes to ask
      questions. Immediately thereafter, we will take a 5-minute break, after which the

      majority will be given 15 minutes to ask questions; and the minority will be given

      15 minutes to ask questions. These time limits will be strictly adhered to, with no
      extensions being granted. Time will be kept for each portion of the interview, with

      warnings given at the 5-minute and 1-minute marks.

               Our record today will reflect that you are appearing voluntarily, pursuant to


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 6 of 166


                                                                                               5
                           UNCLASSIFIED, COMMITTEE SENSITIVE


     an agreement dated today. Under procedures adopted for the 1°15th Congress

     that have been ·provided to you along with Rule 11 of the rules of the House of

     Representatives, only you or your personal counsel may make objections during a

     deposition.

             I also want to state for the record that the agreement that has been struck

     today was signed by both Mr. Conaway and Mr. Schiff.

               Objections must be stated concisely and in a nonargumentative manner. If

     you or your counsel raises an objection, the interview will proceed and testimony

     taken is subject to any objection. You may refuse to answer a question only to

      preserve a testimonial privilege. When you or your counsel have refused to

      answer a question to preserve a testimonial privilege, the objection may be ruled

      on by the chairman after the interview has recessed .

               Finally, you are reminded th?t it is unlawful to deliberately provide false

      information to Members of Congress or staff.

               As this interview is under oath, please raise your right hand. Do you swear

      to tell the truth, the whole truth, and nothing but the truth?

               MR. SIMPSON: I do.

                                  The record will reflect that the witness has been duly

      sworn.

               MR. CONAWAY: Gentlemen, thank you for coming.

               Adam, any comments before we start?

               MR. CONAWAY: All right. The floor is yours .

               MR. GOWDY: Good afternooh, Mr: Simpson.

               MR. SIMPSON: Good afternoon.

               MR. GOWDY: My name is Trey Gowdy.             I'm from South Carolina. I will


                            UNCLASSIFIED, COMMI TTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 7 of 166


                                                                                                 6
                           UNCLASSIFIED, COMMITTEE SENSITIVE



       ask you questions initially. If I ask you any question that you don't understand,

       just ask me to rephrase it.

               MR. SIMPSON: Okay.

               MR. GOWDY: It won't be a trick question.       It will be because I ask it

       inartfully.

               Where do you work and how long h~v~ you worked !her~?

               MR. SIMPSON: I work at a consulting firm here in Washington. The trade

       name is Fusion GPS. The entity, the legal entity is called Bean LLC. And I've

       been there since I believe 2010. And it's a research consulting firm.

               MR. GOWDY: All right. That was my next question. What does Fusion

       GPS do? '

               MR. SIMPSON: It's a commercial research firm, sometimes also does

       strategy, public affairs. The primary line of work we're in is research.    Generally,

       it specializes in public records research, other sort of journalistic style information

       gathering.

               MR. GOWDY: When someone uses the phrase "opposition research,"

      does that mean anything to you?       Does that have any trade meaning?

               MR. "SIMPSON: Well, I was introduced to opposition research when I was

       a reporter on Capitol Hill. And so the conventional term is usually people who

      work on campaigns who are looking for information that will be useful in debates or

      other election related activities is my general historical understanding of the term.

               MR. GOWDY: Does Fusion GPS do what you just described as opposition

      research?

               MR. SIMPSON: From time to time. It's not very -- it's not a very big part

      of our business.    Generally, we have - we work for corporate clients and banks


                          UNCLASSIFIED, COMMITTEE SENSI T IVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 8 of 166


                                                                                                7
                          UNCLASSIFIED, COMMITTEE SENSITIVE


      and large law firms.   And most of our work is not election-related, it has to do with

      fraud and corruption investigations and policy disputes and high-dollar litigation.

             MR. GOWDY: Were you hired by a person or entity in either 2015 or 2016

      to do research into then-candidate Donald Trump?

             MR. SIMPSON: Yes, we were. We were hired around October,

      September-October of 2015.

             MR. GOWDY: By whom?

             MR. SIMPSON: The Free Beacon has been publicly stated as the client or

      identified to the committee as the client, and I can confirm that._

             MR. GOWDY: All right.       I'm going to be asking you questions even though

      there's been public reporting.   I don't want anybody in the media to take any

      offense, but sometimes they're right, sometimes they're not right. So --

             MR. SIMPSON: I can agree with that.

             MR. GOWDY: So in this instance, we can all celebrate the fact that they

      were correct.   You were hired by the Washington Free Beacon?

             MR. SIMPSON: That was the client, yes.

             MR. GOWDY: All right. And what were your instructions? What were

      you asked to do?

             MR. SIMPSON: I -- that's I think covered - our client relationships are

      confidential, and so I can't get into what anyone specifically told me.   I think I can

      speak more broadly and say that it was an open-ended look at Donald Trump's

      business career and hls litigation history and his relationships with questionable

      people, how much he was really worth, how he ran his casinos, what kind of

      performance he had in other lines of work.

             It was a very broad unfocused look, which is the way we do our business.


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 9 of 166



                                                                                                8
                              UNCLASSIFIED, COMMITTEE SENSITIVE



       Essentially, we don't usually allow clients to tell us what to look at and what not to

       look at, because we don't think that's a smart way of trying to understand a

       subject. So, generally speaking, we just do an open-ended look at everything we

       can find .

              So it starts with literature review. We obtain all the books we can on a

       subject and order them all, you know, used from Amazon, and all the newspaper
                      ·- -   ·· ·- ·--   --   -                               --   - -   -
       articles, all the court records, all the public records you can lay your hands on.

      And only after you've digested all that information do you start to figure out, you

       know, where to focus your inquiries.

              MR. GOWDY: Were you asked to write a report or just accumulate

       information?

              MR. SIMPSON: Again, I need to steer clear of specific communications I

      had with my clients, but I can tell you that as a business practice, generally

      speaking, we do engagements on a 30-day basis, and at the end of the 30 days

      we write a report about what we found. And if there's specific things that are

      interesting, a particular lawsuit or a dispute or a business deal or something like

      that, you know, we will write a separate treatment of that issue.

              But, generally speaking, for most of our clients, particularly in the beginning

      of an engagement, it's a 30-day assignment, and at the end of 30 days you get a

      report. And if you think what we told you was interesting and you want more, we

      can sign up again.

              MR. GOWDY: Well, I really am trying to limit the number of times you r

      lawyer has to lean over there and give you counsel, so I'm trying to stay within the

      parameters of what I think you feel like you're able to answer.

             But are you asked to write what some of our friends may refe r to as a fair


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 10 of 166


                                                                                                    9
                             UNCLASSIFIED, COMMITTEE SENSITIVE



      and balanced piece, or are they primarUy interested in negative information?

             MR. SIMPSON: Well, we've only had a very small number of political

      clients.     So I can tell you, I mean, our methodology doesn't really change.

      We - my firm is -- all the principals are former journalists, so we don't come out of

      the political combat industry. We come out of the, you know, journalism industry,

      which is all about sort of sticking to the facts and not leaping to conclusions and

      not trying to, you know, come up with a hit piece on anybody. So, generally

      speaking, you know, what we get compensated for is producing reliable treatments

      of whatever the subject is.

                 And I should just add, I mean, it doesn't - it doesn't heip us or our clients if

      we only look for negative information. What the clients want is all the information.

      And so, you know, someone -- if you're in a campaign and the, you know, other

      side is a businessman and you're reviewing his career, it's important information

      whether he's a good businessman or bad businessman. And you don't want your

      client trying to make an issue of his business career if he's a brillianl businessman

      who knows how to make money in an honest and ethical way.

                 MR. GOWDY: All right. Let me ask you about a couple words you just

      used. You just used the words "good" and "bad," which some would argue are

      inherently subjective; but you also used the word "facts," and what did you mean

      when you used the word "facts"?

                 MR. SIMPSON: I mean, factual information is - a lot of what we do is

      gather facts.      And sometimes facts are provable facts; sometimes facts are

      established facts; sometimes they're allegations, factual allegations. So we do all

      of the above. When you gather up lawsuit information, for example, you have two

      sides making factual allegations against each other; and what's important is that


                              UNCLASSIFIED, COMMITTEE SENSITI VE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 11 of 166



                                                                                                   10
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        you have a reliable, credible basis for your information.

               And, you know, it is a lot like journalism in that journalism is called the first

        draft of history, where essentially you're gathering up information, and your job is

        not to determine the truth, it's to gather credible information and to present all the

        possibilities and all the reliable information you can find.

               But, you know, every day in the newspaper every story has two sides to it,

        and it's not the reporter's job to figure out who's telling the truth and who's not or

       who's right and who's wrong , it1s to be responsible and professional in gathering

        up al! of the facts and allegations and presenting them in a neutral way. So our

       method is journalistic, and our reports are written along those lines.

               MR. GOWDY: Do you draw a distinction between facts and allegations?

               MR. SIMPSON: Certainly.

               MR. GOWDY: What is that distinction?

               MR. SIMPSON: Well, I mean, a fact is something that's subjectively

       verifiable to all reasonable observers; and an allegation is something that hasn't

       been confirmed .

               MR. GOWDY: All right. No offense to people that do what you do for a

       living, but if it is all publicly available, why do people need to hire you?

              MR. SIMPSON: Well, we live in an information society, and there's a ·lot of

       information out there. Some people are good at finding it and processing it, and

       others not so much, or it's just a question of specialization.

              So you're running a business and you're busy running your business and

       you think that the guy who's your main competitor is cheating or maybe paying a

       bribe to steal a contract from you. And that's not your main line of work.       You

       don't know how to investigate whether someone is engaged in corruption or


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 12 of 166


                                                                                                 11
                             UNCLASSIFIED, COMMITTEE SENSITIVE



      whether they've got a bad business history. And so, you know, you hire someone

      who specializes in that kind of work. So we specialize in finding records and

      reading things and digesting large volumes of information.

                MR. GOWDY: If I understood your testimony correctly, you don't

      specialize in political opposition research?

                MR. SIMPSON : It's not a major line of business for us. It's, you know,

      every couple of years, 3, 4, when there's a Presidential campaign we get asked to

      do stuff. We sometimes get asked to do stuff in California initiatives and other

      things.

                Generally speaking, the market niche that we occupy is not the opposition

      research niche.      I don't think our pricing structure is conducive to getting

      opposition research business, which is -- generally doesn't pay very well.

                MR. GOWDY: Well, given that and given the fact that it's not your niche,

      why did the Washington Free Beacon approach you about doing the research on

      candidate Trump?

                MR. SIMPSON: Well, one of our, you know, specialties that l think people

      know is that we are good at business investigations, corporate investigations, and

      Mr. Trump is a big businessman.

                So I can't get into exactly sort of what was said, but - and, in fact, I don't

      think I even remember, you know, if l had that kind of information. But I think it's

      reasonable to interpret that it was because we have a background doing business

      investigation.

                MR. GOWDY: And how long were you employed by the Washington Free

      Beacon?

                MR. SIMPSON: As I said, J think we started in September or October, and


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 13 of 166



                                                                                         12
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        I think it wound down in April, sometime in the spring. As the Republican

        primaries came to an end, it became obvious that that work was going to end.

               MR. GOWDY: Did you rely on sources or subsources during your work for

        the Washington Free Beacon?

               MR. SIMPSON: I don't specifically remember. We may have engaged

        someone. Typically speaking, we engage subcontractors to gather documents in

        far away places. And, you know, far away in this case may be even just being

        California or Illinois or something like that. So I assume we had some

        subcontractors, for instance, but I don't specifically remember.

               MR. GOWDY: At some point, did the Washington Free Beacon stop

        paying you for the project into then-candidate Trump? Did the business

        relationship end?

              MR. SIMPSON: I remember that we stopped doing the Trump work for the

       Beacon sometime in the spring of 2016.

              MR. GOWDY: Did you pick up --

              [Discussion off the record.]

              MR. SIMPSON: He just reminded me, I don't know the exact date of when

       the payments, the last payment was. And so I can tell you, generally spea king,

       that I -- you know, in the division of labor in my company, I don't handle the

       invoicing and banking stuff. So I can tell you more substantively when it stopped,

       but I don't - you know, the records are not something that I'm immersed in.

              MR. GOWDY: Well, let's go with that. When did the work stop?
              MR. SIMPSON: I think it was April or May.

              MR. GOWDY: All right. And were you retained by a subsequent client to

       pick up on the work that you had begun?


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 14 of 166


                                                                                              13
                            UNCLASSIFIED, COMMITTEE SENSITIVE


                 MR. SIMPSON: It was the same subject. And obviously, the first work

      was informed by the new project. But, you know, it wasn't like a direct line

      continuum.       It was similar work, but we obviously by then knew quite a bit about

      Mr. Trump and his business career and his associations and all that.

                 MR. GOWDY: Well, that leads me to ask were you approached by a

      subsequent client or did you market yourself to other people as having started this .

      research and being willing to continue it?

                 MR. SIMPSON: I think that covers a client confidentiality area, but I

      can -- I also can tell you l don't specifically remember how it -- what the genesis of

      it was .

                 MR. GOWDY: You've got to help me.here.. Being approached by the first

      client you testified at some length about, and now l'r.n asking about how you were

      approached by the second client. So why would the second client be governed

      by confidentiality concerns , but the first one not?

                 MR. SIMPSON: It would - it would depend on the nature of the

      communication.        But I'm not the only person in my company, so I think the

      answer -- I don't think I have the answer to your question, in any event.

                 MR. GOWDY: Did you have a second client interested in opposition

       research on candidate Trump?

                 MR. SIMPSON: Yes, sir.

                 MR. GOWDY: Who was that second client?

                 MR. SIMPSON: I think the records indicated that it's Perkins Coie, and I

       can confirm that.

                 MR. GOWDY:      And who is Perkins Coie?

                 MR. SIMPSON: It's a law firm . I think they're headquartered in Seattle,


                             UNCL..:n.BSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 15 of 166


                                                                                                 14
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        and they're a big law firm.

               MR. GOWDY: Had you ever worked for them in the past?

               MR. SIMPSON:        I don't think I can get into the -- essentially, I haven't been

        released by any clients to get into my work for them.

               Generally speaking, we sign confidentiality agreements with all of our

        clients , which is an essential part of the kind of work we db.    And I haven't been

        released or directed to get into whether I worked for these clients before or what

        kind of things I did for them.

               MR. GOWDY: So I assume you did not sign a confidentiality agreement

       with the Washington Free Beacon?

               MR. SIMPSON: I actually don't know. We --

               MR. GOWDY: I'll direct this to your lawyer. This is what I'm trying to

       avoid, picking and choosing which questions you want to answer.

               MR. LEVY: Yes.         Just to be clear, I think what he was trying to do in

       response to your questions on the Washington Free Beacon was talk as a general

       matter why the company would be hired. I thought he was careful to say he

       wasn't getting into the actual conversations or communications with the Free

       Beacon.

              So, in that sense, he is trying to be consistent. He has not been released

       by either client to talk about confidential client communications, but he will tell you

       about the work and he's here all night for you.

              [Discussion off the record.]

              MR. SIMPSON:        I mean, my answer for the second client wou ld be the

       same as my answer for the first, which is that I worked for the Wall Street Journal

       for about 15 years, and I specialized in complex financial investigations, political


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 16 of 166


                                                                                           15
                          UNCLASSIFIED, COMMITTEE SENSITI VE


      corruption, that sort of thing, and it's what I'm known for.

             And so, you know, I can't tell you what other people were thinking about

      why they hired me, but, generally speaking, people hired me because that's what

      they know I do.

             MR. GOWDY: Well, let's try to approach it this way: When you were

      hired by Perkins Coie, did you consider them to be the client?

             MR. SIMPSON : Yes.

             MR. GOWDY: Do you recall who, if anyo·ne, you specifically talked to at

      Perkins Coie?

             MR. SIMPSON: I think that would be getting into client communication.

             MR. GOWDY: I'm going to have to look at my colleague from California.

      For months and months I have been hearing about all the privileges that we do not

      recognize in congressional investigations, and this is a brand new one to me. So

      is this a privilege that we recognize?

             MR. SCHIFF:      I think the answer is we should get through the interview,

      and then we can decide whether there's a privilege we are going to recognize or

      whether we're going to use compulsory process. I don't know the answer, but I

      suggest we try to get as much information as we can voluntarily and then figu re

      out whether we need any more than that.

             MR. ROONEY: Well, this did come up, as you know, with another witness

      where I was in chair and this exact thing came up. And I asked the witness to

      an·swer one of your questions, because of this congressional committee not

      recognizing the privilege of attorney-client. And they answered the question. So

      we didn't wait until it was over.

             MR. SCHIFF: But we had a couple interviews, one in which we asked


                          UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 17 of 166


                                                                                                 16
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        about other clients, and we were not allowed to get the answers because there

        was an objection on your side that it was beyond the scope orwe shouldn'tjust be

        asking about other clients that weren't necessarily related.      So we've had kind of

        rulings that have gone back. I don't know whether --

                MR. ROONEY: That's fine, but we're just trying to get the information here.

       And if I was willing to make Carter Page answer a question fo r Mr. Swalwe ll that

       he did not want to answer and begged us not to answer, and I made him answer it,

       and he's trying to get some background information on his client, it's kind of like,

       you know, it's not a two-way street, and that's not really fair.

                MR. SCHIFF: Carter Page was subpoenaed to come in, because he

       wouldn't cooperate otherwise.      I'm not objecting to the question. I just don't know

       the answer. And so I'm not objecting to the question , though . And my only

       suggestion was we try to get all the answers we can get answered, and then we

       can figure out, okay, we need to go back and say we need to get answers to these

       questions or maybe we get what we need. That was just my suggestion.             But

       I'm -

                MR. GOWDY: All right. We'll keep trying.

                MR. CONAWAY:       Just to be clear, you're invoking attorney-client privilege

       with all these folks or ju st client-client privilege or just work product? I mea n, what

       is it?

                MR. LEVY:    It's a voluntary interview, and so he's just respectfully declining

       to answer this question.

                MR. CONAWAY: On what basis?

                MR. LEVY:    He's got a confidentiality obligation to the client. The client

       has not waived that confidentiality for him to get into his communications with the


                            UNCLASS IFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 18 of 166


                                                                                                17
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      client.    He can, however, talk to you as long as you'd like about the work that he

      did, his communications with Mr. Steele, the work on the dossier. He just can't

      talk about communications with the client, because they are confidential, and

      those confidentiality considerations have not been waived.

                MR. CONAWAY: I'm going to figu·re out a way to officially put the objection

      on the record so that when we revisit how we enforce the House investigatory

      prerogatives, we'll know what to do. So what do we do?

                                   I think what we should do is, if you can't answer the

      question, raise the objection.

                MR. CONAWAY: He won't answer the question.

                                   He won't answer the question. So there's been an

       objection. And I'll just say that the witness is reminded that he may refuse to

       answer a question only to preserve a testimonial privilege. Neither the U.S.

       House of Representatives nor the committee recognizes any purported

       nondisclosure privileges associated with common law, Including attorney-client

       privilege, attorney work product protections; and neither the U.S. House of

       Representatives or the committee recognizes any purported contractt1al privileges,

       including those supposedly deriving from nondisclosure agreements.

                So we'll just raise that's the objection that's on the record. We'll move on

      to the next question.

                MR. LEVY:    And just to ask clarification just so we're making sure we're all

       proceeding under the same rules, are those rules for staff depositions or for

       voluntary interviews, which is what this is?

                                   Well, we consider this to be a - this Is a voluntary staff

       deposition. You're here on a voluntary basis.


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 19 of 166


                                                                                           18
                           UNCLASSIFIED, COMMITTEE SENSITIVE



               MR. LEVY:    Okay. The letter that we had talked about last week said

       voluntary interview, which we thought was covered by a different set of rules.

       We're happy to follow whatever rules govern. Of course, we're going to follow the

       rules, but just want clarity on what they are.

               MR. SCHIFF: The only thing I will say is we had this issue come up with a

       witness who was subpoenaed, and we read the advisem~nt that those privileges

       are not - they are not recognized.

               So the only thing I would commend to you is you can assert whatever

       privilege you want today, but if the majority decides that they need more

       information, they'll have to bring you back under subpoena . Then those privileges

       won't be recognized.

               So I think the more information you're able to give today, the greater

       likelihood we won't have to bring you back under a subpoena.

               MR. LEVY:    Understood. And that's our aim today is to cooperate as

       much as we can with the entire committee today.      I appreciate that. And while

       we've not yet seen a copy of the letter, we understand that the letter was going to

       withdraw the subpoena. We have it now. Okay. And let me just-- no, th is is

       not the letter.

              MR. CONAWAY:        No, it's one signed by me.

              MR. MUSE: The subpoena has been withdrawn. We have that.

              MR. LEVY: Because I believe in the other situation the members are

       referencing, the subpoena was not withdrawn.

              MR. SCHIFF: Correct.       I mean, you're not under subpoena at this

       moment, but my point is the more forthcoming you can be, the greater the

       likelihood you won't have to be brought back under subpoena.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 20 of 166


                                                                                            19
                          UNCLASSIFIED, COMMITTEE SENSITIVE


             MR. LEVY: Understood.

             MR. GOWDY: Mr. Simpson, were you aware that Perkins Coie was

      retained by the DNC?

             MR. SIMPSON: I'm aware. I was aware of that and have been for years

      that they have -- they were one of the main lawyers for the Democratic party, yes.

      I don't have any specific awareness -

             MR. GOWDY: That wasn't my precise question. With respect to this fact

      pattern , with respect to your firm being retained, were you aware that Perkins Coie

      was working on behalf of the DNC?

             MR. SIMPSON: Yes. I mean, I know that they are - the DNC is a client

      of Perkins Coie.    I don't - I didn't see it -- nobody gave me a document or

      inforr:ned me specifically of that.

             MR. GOWDY:        Did you think the law firm was just doing it on their own?

             MR. SIMPSON: I'm sorry, I don't understand your question.

             MR. GOWDY: Did you think the law firm was just doing it on their own?

             MR. SIMPSON: Doing what? Doing --

             MR. GOWDY: Opposition research into candidate Trump.

             MR. SIMPSON: No.

             MR. GOWDY: Paying you to do opposition research into candidate Trump,

      did you think Perkins Coie was doing that on their own?

             MR. SIMPSON:        No, sir. What I'm trying to explain is that I have been in

      Washington for several decades, and I spent a lot of time on Capitol Hill and it was

      well-known to me that Perkins Coie represented the DNC.

             MR. GOWDY:        Is that the only way that you knew that they w ere doing

      work on behalf of the DNC when they retained you in this specific fact pattern?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 21 of 166


                                                                                                  20
                                UNCLASSIFIED, COMMITTEE SENSITIVE



               MR. SIMPSON: I'm not sure I understand what you're trying to ask me, but

       if it's - I'm not going to get into what discussions I had with my client about who

       their clients were.

               MR. GOWDY: I'm looking at a release from Perkins Coie that is giving me

       more information than you are. Have you seen the release where they released

       you from some of your confidentiality obligations?

               MR. SIMPSON: I would like to see a copy of that, if you don't mind.

               MR. GOWDY: Do your lawyers not have it?

               MR. SIMPSON: It's been a busy time. Okay.              Okay.    I'm sorry if I'm not

       giving you a clear answer.       I knew it was the DNC that we were working for.

               MR. GOWDY: Okay. How did you know it was the DNC?

               MR. SIMPSON:         I honestly don't -- I couldn't tell you if someone specifically

       said, this is for the DNC.

               MR. GOWDY: Well, how else would you know it was for the DNC? Did

       you read it?

               MR. SIMPSON: As I'm trying to explain, I know -- I've been in Washington

       for a long time, and Perkins Coie represents the DNC.

               MR. GOWDY: So you knew it by habit and custom?

               MR. SIMPSON: I'm -- yes.

               MR. GOWDY: By habit and custom?

              MR. SIMPSON:          I feel like I'm in a difficult position, because I have not

       been released from my client - by my client to talk about anything that we talked

       about, but I'm trying to give you the answer that I think you want, which is I was

       definitely aware that Perkins Coie represented the DNC and that they were thf3

       client in this matter.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 22 of 166


                                                                                              21
                            UNCLASSIFIED, COMMITTEE SENSITIVE


              MR. .GOWDY: Right. And I'm asking you how you knew that?

              MR. SIMPSON: And I'm -- I don't know what to tell you other than that I

      was generally aware that Perkins Coie represented the DNC.

                 MR. GOWDY: Okay. So how did your work for Perkins Coie begin?

                 MR. SIMPSON : My recollection is we began to review what we had

       learned over the previous months and talk about what we would do, you know,

       now that we would have resources to pursue this - some of these matters further.

       So it's -- when you get into that point of a piece of research, you begin to develop

       lines of inquiry and things that you think might be important, things you want

       to -- that other people are - you know other people are interested in.

                 So we began to develop more specific lines of inquiry. So they would

       be -- so the things that we started looking at specifically were a lot of Mr. Trump's

       overseas business deals, his history with regard to tax disputes. We were very

       interested in things like his clothing line and where his -- you know, he -- I can't

       remember exactly when this came up, but we gradually figured out that he -- while

       he was running on a platform of economic nationalism that he's outsourced his

       clothing line to developing countries.   So we were interested in the labor practices

       around his factories.

                 You know, we had gradually accumulated more and more things about his

       bankruptcies. And we had gotten a better sense of who his business partners

       were. So those were issues. So we sort of-- when we reached an agreement

       about, you know, funding and we thought we would have fundin g to do a bunch of

       things, we began to look for people who could help us pursue some of these

       things.    And l guess that's a general description of what we began to do.

                 MR. GOWDY: Were the lin es of inquiry dictated by the client or suggested


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 23 of 166


                                                                                             22
                           UNCLASSIFIED, COMMITTEE SENSITIVE



       by the client, or did you come up with those on your own?

              MR. SIMPSON : Generally speaking, we seek and usually receive a lot of

       leeway to develop our lines of inquiry. And typically, when you're already familiar

       with the subject and the client isn't -- and that was obviously the case

       here -- you're running the investigation .

             . So we like to get -- we like to have a lot of freedom to pursue everything or

       the things that we think are important, because we have found from experience

       that clients, you know, generally they have something that they maybe are trying

       to do or have some preconceived notions about things, and we find that to be

       unhelpful. So I'd say, in general, we were the arch itects of the research and we

       made most of the decisions about what to look for and where to look.

              MR. GOWDY: What was the budget for you to enjoy the freedom to

       pursue the lines of inquiry you wanted to pursue?

              MR. SIMPSON : I don't remember being given a specific expenses budget.

       I think the fees were $50,000 a month.

              MR. GOWDY: Flat fee, $50,000 a month?

              MR. SIMPSON: That's right.

              MR. GOWDY:       Plus expenses, minus expenses?

              MR. SIMPSON : Plus expenses, yes.

              MR. GOWDY: How did you come to know Christopher Steele?

              MR. SIMPSON:       I met Chris in -- I left the Wall Street Journal in 2009.

       And. in my last few years at the Wall Street Journal, I had been livi ng in Belgium, in

       Brussels, and had developed a line of reporting around the former Soviet Union

       and crime and corruption in the former Soviet Union.

              And I had written a series of articles about Vladimir Putin and a lot of


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 24 of 166


                                                                                                  23
                           UNCLASSIFIED, COMMITTEE SENSITIVE


       corruption and organized crime activities sort of making its way westward from

       Russia, and eventually started doing a lot of work on Ukraine, corruption in

       Ukraine and gas trade in Ukraine, and connections to the Russian mafia. That's

       when I first came across Paul Manafort.

              And in any event, when I decided to leave the Journal in 2009, I had

       developed a lot of relationships with people who worked on organized crime

       issues, Russian organized crime issues, and had become known as someone who

       specialized in that. And a mutual acquaintance of ours suggested that - Ch ris

       had just left the British Government, and a mutual acquaintance of ours suggested

       that we might be able to work together or at least, you know, had a lot in common.

              And so I don't remember the details, but we were introduced. We met.

       And, you know, it turned out w~ did, in fact, have a, you know, kind of obsessive

       interest in a pretty obscure -- what was then a pretty obscure subject. And, you

       know, this is 2009, so we've just come off of 8 years of focus in the national

      security world on al-Qa'ida, Islamic terrorism . And I had spent several years

      specializing on that.

             And so there were very few people at that time who were interested in this

      issue, and so the small number of us tended to meet at conferences and that sort

      of thing.   So over time, Chris and I would have coffee together when I was in

      London or he was in Washington, and we would talk about various Russian

      corruption issues, organized crime, oligarchs.

             MR. GOWDY: How did he come to work on this project?

             MR. SIMPSON: As I said , I mean, we've done other things together. And

      over - well, at the very beginning of this project, one of the very first t hings t hat I

      focused on was Donald Trump's relationship with a convicted racketeer named


                           UNCLASS IFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 25 of 166


                                                                                               24
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        Felix Sater, and who was alleged to have an organized crime, Russian organized

        crime background.

              And over the course of the first phase of this or the first project, we

       developed a lot of additional information suggesting that the company that Donald

       Trump had been associated with and Felix Sater, Bayrock, was engaged in illicit

       financial business activity and had organized crime connections.

              We also had sort of more broadly learned that Mr. Trump had long time

       associations with Italian organized crime figures . And as we pieced together the

       early years of his biography, it seemed as if during the early part of his career he

       had connections to a lot of Italian mafia figures , and then gradually during the

       nineties became associated with Russian mafia figures .

              And so all of that had developed by the spring of 2016 to the point where it

       was not a speculative piece of research; it was pretty well-established. And Mr.

       Trump had, quite memorably, attempted to downplay h[s relationsh ip with

       Mr. Sater in ways that I found, frankly, suspicious and not credible.   Saying he

       wouldn't recognize him on the street, but there were pictures of them together.

              And the other people around Bayrock were also from the former Soviet

       Union and also had associations suggestive of possible organized crime ties . One

       of them is a guy named Tevfik Arif, A-r-i-f, who it turned out his real name was Tofik

       Arifov, and that he was an alleged organized crime figure from the central As ia.

              So there was all that. And then, you know, we also increasingly saw that Mr.

       Trump's business career had evolved over the prior decade into a lot of projects in

       overseas places, particularly in the former Soviet Union , that were very opaque, and

       that he had made a number of trips to Russia, but said he'd never


                            UNCLASSIFIED,COMMITTEESENSIT I VE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 26 of 166


                                                                                                25
                           UNCLASSIFIED, COMMITTEE SENSITIVE


       done a business deal there. And I found that mysterious.

             And so I had the perfect person to go see if they could figure out what was

      going on there. And so that's how I decided to ask Chris if he could look into it for

       me. And I had - the initial engagement with Chris was much like we do. I didn't

       hire him for a Jong-term engagement. I said, take 30 days, 20 or 30 days,· and

      we'll pay you   a set amount of money, and see if you can figure out what Trump's
       been up to over there, because he's gone over a bunch of times, he said some

      weird things about Putin, but doesn't seem to have gotten any business deals.

              So that was the initial assignment.   It was pretty open-ended.     I didn't say,

      find me this or get me that.   I just said , see if you can figure out what's going on·
       over there.

              MR. GOWDY: And how much did you pay Chris Steele?

              MR. SIMPSON: I think what we've told the committee from the bank
       records is that it was ultimately $160,000. That sounds right to me.      I think

       probably the initial engagement was for 20 or 30 thousand dollars. There's, you

       know, currency differences between pounds and dollars, so I don't remember how

       it was denominated or exactly how it was priced .

             MR. GOWDY:        Now, help me understand this. Would that payment for

       Steele have been expensed to the law firm, or would Fusion have paid that out of

      its own money that it received from the law firm?

             MR. SIMPSON:       I believe, at least if things were running the way I hope

      they ran, it was expensed to the law finn.

             MR. GOWDY: So Perkins Coie paid Chris Steele?

             MR. SIMPSON:       I think it was --1 mean, I think we billed them for it.

             MR. GOWDY: Okay.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 27 of 166


                                                                                            26
                             UNCLASSIFIED, COMMITTEE SENSITIVE




                 MR. SIMPSON:     I was generally aware of Chris' history.   You know,

       because of the strictures on government work, when you're involved in intelligence

       and talking about it, we never discussed in any great detail what kind of work he

       did. And at least publicly it was - even though he had been exposed in a prior

       leak by a former government agent over there, so it was. in fact, in the public

       domain that he had worked for British Intelligence, he generally didn't talk about

       his government work other than the way you would if you formerly worked for the

       government.      I used to work for the government, you know. Sometimes he would

       say foreign office. But we had mutual friends who were familiar with his

       background.



                 MR. SCHIFF: Just to clarify, Mr. Gowdy, you're not confirming or denying,

       you're just asking?

                 MR. GOWDY: I'm just asking what he said.

                 MR. SIMPSON:



                 MR. GOWDY: Did you ever have any conversations with the FBI?

                 MR. SIMPSON: Not about this, no.

                 MR. GOWDY: Did Chris Steele go to Russia as part of this project?

                 MR. SIMPSON: No, sir.

                 MR. GOWDY:     How do you know that?
                 MR. SIMPSON: Well, that's what he told me.      I mean, assuming - unless

       it was a covert thing that he was keeping from his client, he would have billed me

       for it.


                             UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 28 of 166


                                                                                            27
                          UNCLASSIFIED, COMMITTEE SENSITIVE


             MR. GOWDY: How was he able to accumulate information in Russia if he

      d idn't go?

             MR. SIMPSON: Well, so to be clear, he really would not be safe if he went

      to Russia. He's been exposed as a former undercover British Intelligence officer

      who worked in Moscow. So it wouldn't be wise for him to go to Russia .

                                 Five minutes, Mr. Gowdy.

             MR. SIMPSON: So, to answer your question, you know, generally

      speaking, his line of work is very different from mine and that was why I hired him.

      So I do mostly public records and we don't do much interviewing.        But I'm familiar

      with how his work is done. And generally, you have a network of sources who

      live in or came from the place that you're interested in. So, you know, generally

      speaking, you would have -- you would run a network of subsources or

      subcontractors who travel around and gather information for you . And so without

      getting into who his sources are, I can say generally, he hires people who can

      travel and talk to people and find out what's going on.

             MR. GOWDY: Were you able to vet or corroborate or contradict any of the

      sources or subsources?

             MR. SIMPSON: We did get into assessing the credibility o( the sources

      and whether they were in a position to know the things that they were saying. I

      didn't ask for the specific identities of specific people.   So_me people, I think I know

      who they are for other reasons. But that's about as much as I can say.

             We did a lot bf -- when the first reports came In, we did a lot of discussing of

      whether this was credible information. And obviously, evaluating human

      Intelligence is not the same thing as looking at documents. And so it's a much

      trickier process and the thresholds are different. And so what you're really trying


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 29 of 166


                                                                                                  28
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        to do, which is kind of like interviewing in journalism, is figure out whether there's

        reason to think that what's being said is credible. And so we did a lot of that.

               MR. GOWDY: Can you give me an example of something that he

        produced to you that you found to be not credible?

               MR. SIMPSON: No, I don't think anything comes to mind. I mean, I must

       say my original reaction to all this was to suspend judgment. I was not

       particularly interested in some of the things that he found that are among the most

       controversial, because I didn't think they were useful or important for what I was

       trying to do. And so I to this day can't tell you whether a lot of those things -- I just

       don't have a strong view as to whether they are false or true, per se.

              But what we did do is look at names and places and people and whether

       they matched up with information we could get elsewhere. And all of that, as far

       as it went, checked out.    I haven't seen anything that has contradicted anything in

       the memos to date, at least not that I can think of.

              MR. GOWDY: Well, that's a very different standard. You haven't seen

       anything to contradict it, whereas my question was, what did you have that

       corroborates it? How were you able to asse~s the accuracy of the information,

       the underlying information he provided you?

              MR. SIMPSON: I'm sorry, I thought you asked me whether there was

       anything in there that I found to be wrong.

              MR. GOWDY: I did.

              MR. SIMPSON: I haven't found anything to be wrong.           If you'd like me to
       get into more of the corroboration, I can do that.

              MR. GOWDY: Yes, I'm sure we will get into that.        My other question is,

       was there anything not included in your report that you concluded was wrong?          In


                          UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 30 of 166


                                                                                                29
                           UNCLASSIFIED, COMMITTEE SENSITIVE


      other words, I think my primary question was, is there anything that Steele, his

      sources or subsources told you that you didn't include because you immediately

      found it to be incredible? And I think your answer was no.

             MR. SIMPSON: That is correct.           My answer to that is no.

             MR. GOWDY:         And how did you assess the reliability of that information,

      given the fact that you did not talk to the sources or subsources?

             MR. SIMPSON: So it's obviously a challenging thing to assess human

      intelligence, field interviews, and it is different from looking at a lawsuit. But there

      are similarities to the interview process in journalism, where there are elements of

      people, what people say that you can check.

             And so, you know, for example, in one report they described how the

      Kremlin's election operation was being run by Sergei Ivanov, who is the head of the

      presidential administration, and, you know, gave a number of details about that.

      That was news to me. I thought if you were going to run an intelligence operation

      against the United States, you'd use the SVR. They'd be in charge.

             As I dug into some of the more obscure academic work ~n how the Kremlin

      operates by some of the more distinguished scholars of the subject, I found that

      Ivanov is, in fact, or was at the time, in fact, the head of a sort of internal kind of

      White House plumber's operation for the Kremlin and that he seemed to have the

      kind of duties that were being described in this memo.

             So either this person was familiar with some fairly obscure research or they

      knew what they were talking about.        So that's the kind of work you can do. You

      can do a lot of that work. And that's why I think I can give a much more definitive

      answer on whether anything's been disproved, because, generally speaking, when

      you're evaluating things, you're looking for things that someone clearly made up.


                           UNCL.~SSIFIED, COMMITTEE S ENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 31 of 166



                                                                                                 30
                             UNCLASSIF IED, COMMITTEE SENS ITIVE



        And I couldn't find anything that was clearly made up. They had accurate names

        and events that, while not totally secret, were pretty obscure that turned out to be

        on target.

               We -- you know, they identified - one memo identified a Russian guy who

       worked for an NGO called Rossotrudnichestvo, which is -- you know, I didn't know

       it at the time, but I was able to learn from looking at it that the FBI considers that to

       be a front for the SVR.     So, you know, either the people were extremely

       knowledgeable about a lot of obscure intelligence stuff or, you know, they -- what

       they're saying had some credibility.

               I'll add that, you know, again, like journalism, British Intelligence

       methodology is a kind of strict recitation of what sources are saying. And so, you

       know, I didn't do this -- I've never done this much work with Chris, but in the

       process of doing this work, you know, I learned a good bit about British

       Intelligence methodology.

              And in a way, it is like journalism, because they are somewhat rigid in

       reporting what sources in the field are saying, and, you know, they - they don't do

       a lot of the -- th is is what this guy said, but we don't think it's true or we believe this

       or we believe that he might have gotten the data wrong. They just - it's a kind of

       a here's what they said type report. ·

              So, again, what we were trying to do is evaluate whether the information

       was credible.   Chris is the spy.   I'm the ex-journ alist, so I defer a lot to his

      professionalism.     From everything I know now and knew at the time, he's an
      extremely well-regarded profe·ssional. And I had no reason -- I have no reason

      today to change my opinion.

              MR. STEWART: Time is up.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 32 of 166


                                                                                           31
                          UNCLASSIFIED, COMMITTEE SENSITIVE


             MR. SCHIFF: Mr. Simpson, you described understanding Perkins Coie's

      client was likely to be DNC because of the long relationship between the two.      Did

      you know who Free Beacon was doing the work for?

             MR. SIMPSON : I don't know that they were doing the work for anyone.

      mean , it's a foundation . So it's a freestanding entity, to my knowledge.

             MR. SCHIFF: Well, without getting into conversations, client

      conversations , can you tell us what you know about the Free Beacon and why

      they were likely employing you to do this kind of work?

             MR. SIMPSON: I think they were from the wing of the Republican party

      that was concerned about a takeover of the party by the Donald Trump wing. And

      as you probably know, there was a pretty brutal struggle during the primaries

      between the more traditional conservatives and the more sort of populist,

      nationalist, protectionist conservatives. So I think they were from the free markets

      arm of the party.

             MR. SCHIFF: And do you know whether it was their intention to -- I mean,

      I only know of them as a very conservative publication. Do you know whether it

      was their intention to publish the information that you provided them or to provide it

      to one of the GOP opponents of Mr. Trun,p, or more than one of the opponents?

             MR. SIMPSON: I can tell you that the information that we gathered

      appeared in print in various places, not just the Beacon. And I don't have any

      specific knowledge of it being provided to a particular candidate, or at least not in

      any kind of -- I don't think that they were a proxy for a specific ca ndidate, not to my

      knowledge.

             MR. SCHIFF: So you saw your work product, what yo u cou ld recognize as

      your work product appear in various publications, not just theirs?


                          UNCLASSIFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 33 of 166


                                                                                                  32
                              UNCLASSIFIED, COMMITTEE SENSITIVE



                 MR. SIMPSON: Right. Well, so the way that we work is that we're all

        ex-journalists. And, you know, part of the business idea behind the c;ompany is

      , that, you know, research is expensive, and if we gather it and have it and

        journalists call us looking for things, you know, we will work with them.      And so we

        would get calls from journalists during the primaries saying, what do you know

        about Trump this or Trump that? And we would provide them with that

        information.

                 So I want to be clear that, you know, it appeared in other places because

        other journalists called us and asked us about it. And we would ask -- well, I'm

        sorry.    I'm not going to say -- in general, let me just say in g~neral, if a reporter

        calls you and says, I need information on such-and-such, and it's of significance to

        your client, you know, you would call the client and say, do you have any objection

        to, you know, you know, helping this reporter? So in both of these instances, you

        know, I think those rules would generally apply.

                 MR. SCHIFF: Well, in that circumstance, though, the reporter calling you

        would know that the Free Beacon -- that the publication you're working for was a

        client, right?

                 MR. SIMPSON: Not necessarily.

                 MR. SCHIFF: So it might be part of your practice that if you're doing work

       on behalf of a client, it could be I guess one of two situations: The client could

       either authorize you to talk to reporters on their behalf; or if a reporter called you

       and asked you for information, you could check with your client as to whether you

       have their permission to share the information?

                 MR. SIMPSON: That is correct. And, I mean, generally speaking, you

       know, we get a fair number of inquiries about, you know, lots of differen t subjects.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 34 of 166


                                                                                       33
                         UNCLASSIFIED, COMMITTEE SENSITIVE


             MR. SCHIFF: You wouldn't be sharing information without your client's

      approval one way or the other?

             MR. SIMPSON: That's right.

             MR. SCHIFF: And can you tell us what publications your work appeared
      within, in terms of the work that you were doing for the Free Beacon?

             MR. SIMPSON: It would --1 would struggle to come up with a list right
      now. I'm -- that was, you know, a good while ago. I think we probably had

      inquiries from, you know, all the networks and most of the major papers. And I

      don't have a specific recollection of who published what.

             MR. SCHIFF: Did your work product appear on Fox News?




                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 35 of 166


                                                                                             34
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        [3:11 p.m.]

               MR. SIMPSON: I honestly don't know.

               MR. SCHIFF: And how about Breitbart?

               MR. 'SIMPSON: Again, I'm sorry to say, I just -- I don't have any

        recollection.

               MR. SCHIFF: Now, you don't have a recollection because there might be

        other people at the firm who would be providing that information, or it would be you

        but you just don't recall?

               MR. SIMPSON: It would be a little of both. I mean, those aren't my go-to

        news sources, so I don't really spend a lot of time -- you know, I don't read

        Breitbart every day, and I certainly don't watch FOX every day.

               So, you know, if it ran in The New York Times and it was my work, I'd

        probably remember it, but not if-- and so -- but it's also true that, you know, we

        have 12 or so people in the company, and depending on the matter, someone else

        might have handled it.

               MR. SCHIFF: So this might also be a situation where your client, the Free

        Beacon, might be providing information to various news sources without

        discussing it with you?

               MR. SIMPSON: Yes.

               MR. SCHIFF: I see. So in that case, it could appear on FOX even though

        you didn't have a conversation with FOX yourself?

               MR. SIMPSON: That's right.
               MR. SCHIFF: During the time that you·were doing work for Free Beacon,

        you had mentioned some work in the first phase. You had discovered business

        relationships with Felix Sater and Bayrock. By first phase, do you mean while you


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 36 of 166


                                                                                                35
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      were doing work for Free Beacon?

             MR. SIMPSON:         It was one of the first things we found. And I should

      emphasize, it was, you know -- originally I saw it in the New York Times article, so

      it.wasn't a grei;lt investigative discovery.   But then when I read into it and I found

      depositions in which he was, you know, more than evasive about the relationship,

      that's when I got really interested.

             MR. SCHIFF: So during the period of time you were working for Free

      Beacon, you came across some of the first information about candidate Trump's

      business ties in Russia, including those with Felix Sater.

             MR. SIMPSON : Yep, that's correct.         And lots   of other issues came up
      during the primaries that raised concerns in my mind about whether there might be

      connections -- Donald Trump might have unexplained connections to Russia or

      people involved in that part of the world.

             I mean, among other things, eventually Paul Manafort was appointed to his

      campaign as the -- first the convention manager and then the chairman -- or the

      campaign manager. And I knew a lot about Paul Manafort from my career at The

      Wall Street Journal.    I had written a number of stories about his involvement with

      Oleg Deripaska and the pro-Russia party in Ukraine and another oligarch named

      Firtash. And I had even written a story about whether he should have registered

      as a foreign agent.

             All that had occurred years earlier. So when he suddenly surfaced, I was,

      you know, struck by that.

             MR. SCHIFF: Now, he surfaced though after you were no longer working

      for Free Beacon , right?

             MR. SIMPSON : I think he originally -- I don't remember the dates, but I


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 37 of 166


                                                                                               36
                               UNCLASSIFIED, COMMITTEE SENSITIVE



        think it was somewhere in the transition period .

               MR. SCHIFF: I'm sorry, the -- oh, your transition period .

               MR. SIMPSON: Yeah, between --

               MR. SCHIFF: Well, the convention was in July, I believe.

               MR. SIMPSON: The convention was in July, but Paul Manafort surfaced

        with the Trump campaign in like March.-

               MR. SCHIFF: So if you would go through with us some of the

        Russia-related things that concerned you that you learned in that first phase while

        you were doing work for the Free Beacon, as best you can recall.

               MR. SIMPSON: Well, the Bayrock, the funding of Bayrock was, I think,

        much of what we initially were concerned about and focused on. The company

        seemed to have some sort of funding source from either Russia or the former

        Soviet Union that was opaque. So we spent a lot of time looking at the people

        around that and their backgrounds and why Mr. Trump would be in business with

        them . So that was one of the major issues.

               Another one that I think surfaced in probably the early winter was the

        amazing number of people from the former Soviet Union who had purchased

        properties from Mr. Trump, including Dmitry Rybolovlev, who purchased a derelict

        estate at an extreme markup in Florida . And a number of other people bought

        Into his properties.

               We also looked at his trips and marketing activitie·s in Russia . And I think

        all of that came up, you know, during the first phase of the project.
               MR. SCHIFF: You mentioned that you'd done a lot of work as a journalist

        in terms of Russian organized crime, financial crimes, organized crime more

        generally. What can .you tell us about how the Russians launder their money and


                               UNCLASSIFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 38 of 166


                                                                                                 37
                           UNCLASSIFIED, COMMITTEE SENSITIVE


      whether that was an issue of concern during the first phase of your work for Free

      Beacon?

             MR. SIMPSON: I guess the general thing I would say is that, you know;

      the Russians are far more sophisticated in their criminal organized crime activities

      than the Italians, and they're a lot more global. They understand finance a lot

      better. And so they tend to use quite elaborate methods to move money.

             You know, obviously, the offshore system has grown in sophistication in the

      last decade or so, too, so they've taken advantage of that. Th ings that I had

      wrote about involved laundering money through security straits, laundering money

      through fake arbitrations in court, laundering money through commodities deals.

             I mean, if you can think of a way to launder money, the Russians are pretty
      good at it. But they specifically understand financial markets. So I think I can tell

      you all of that.

             I can tell you also that the Russians are much more integrated in the way

      they operate with the political -- the sort of legitimate business structures. So yo u

      don't find too many Italian mafia guys who are major shareholders in big media

      companies, but you definitely can find Russian mafia guys who are big

      shareh,olders in international media companies.

             So the only way that -- well , the thing that comes to mind, of course, is the

      real estate deals. And, you know, it did come to our attention during this, you

      know, first round or this first part of the project that there were a lot of real estate

      deals where you couldn't really tell who was buying the property. A nd sometimes

      properties would be bought and sold, and they would be bought fo r one price and

      sold for a loss shortly thereafter, and it didn't really make sense to us.

             And we had done a lot of work for previous investigations on people buying


                          UNCLASSIFIED , COMMITTEE . SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 39 of 166


                                                                                               38
                            UNCLASSIFIED, COMMITTEE SENSITIVE


        condos in order   to get visas under the EB-5 program. So we were very familiar
        with a pattern of corruption and illicit finance related to purchasing of condos.

               MR. SCHIFF:     Did you find evidence of that with respect to Mr. Trump?

               MR. SIMPSON:       I think a lot of what we found is subsequently - there

        have been similar articles published.    "Evidence," I think, is a strong word.   I th ink

        we saw patterns of buying and selling that we thought were suggestive of money

        laundering.

               I t.hink what I was saying to Mr. Gowdy about sort of, you know, because we

        are not law enforcement, we don't have compulsory power, and we also don't

        have, you know -- we're not lawyers, or prosecutors, or even special -- even secret

        agents.

              Generally, we find p~tterns of things, and then if it seems like it's potentially

       a law enforcement matter then we would turn it over to law enforcement.        Or, you

       know, if it's enough to write a story, we would give it to a journalist.

              MR. SCHIFF: And, in this case, what facts came to your attention that

       concerned you that the buying and selling of properties - the buying and selling of

       Trump properties might indicate money laundering?

              MR. SIMPSON: There was -- well, for one thing, there was various

       criminals were buying the properties.    So there was a gangster -- a Russian

       gangster living in Trump Tower.

              MR. SCHIFF: Who was that?

              MR. SIMPSON: His gangster name is Taiwanchik. I couldn 't spell

       his actual name. But, you know, I mean, these are the kind of th ings that prompted

       us to hire Mr. Steele. We had a gangster named Taiwanchik living in Trump Tower

       who had been under-- I'm sorry, he was --1 think he was running


                           UNCLASSIFIED , COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 40 of 166


                                                                                              39
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      a -- his associates were living in Trump Tower, ·and he was running a high-stakes

      gambling ring out of Trump Tower, while he himself was a fugitive for having

      rigged the skating competition at the Salt Lake Olympics and a bunch of other

      sporting events engaged in rigging.

             And when Mr. Trump went to the Miss Universe pageant in 2013,

      Taiwanchik was there in the VIP section with Mr. Trump and lots of other Kremlin

      biggies. So that kind of thing raised questions with us.

             Generally speaking, the patterns of activity that we thought might be

      suggestive of money laundering were, you know, fast turnover deals and deals

      where there seemed to have been efforts to disguise the identity of the buyer.

             MR. SCHIFF: And during what time period did you see indications of fast

      turnover transactions or transactions made in the name of people who were not

      the actual purchasers?

             MR. SIMPSON: Well, I mean, there were sort of periods - what we saw

      was that beginning in the early 2000s, when he began to do business with Bayrock

      and to do some of these other deals, that these were the problematic deals that he

      entered into.   So it was essentially the previous decade of business deals, 2005

      onward.

             MR. SCHIFF: And up until what point? Do you recall? Or continuing to

      the present?

             MR. SIMPSON: Well, I mean, some of the things that we have -- that we

      looked at that we thought were very concerning are existing investments in

      projects, and specifically a project in Panama, the one in Toronto. Those both got

      a lot of fraud associated with them, a lot of fraud allegations, a lot of activity that I

      would say smacks ·of fraud, and a lot of Russian mafia figures listed as buyers who


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 41 of 166


                                                                                             40
                           UNCLASSIFIED, COMMITTEE SENSITIVE



       may or may not have actually put money into it.

               And so there's a couple of - so a couple of the big condo tower deals

       offshore, outside the United States, I think both of those are in bankruptcy now,

       Mr. Trump is no longer associated with them.

               The other one that is -- was concerning to us was - is the golf courses in

        Scotland and Ireland.

               MR. SCHIFF: And did you see Russian money involved with those as

       well?

               MR. SIMPSON: Well, we had -- you know, we saw what Eric Trump said

        about Russian money being available for his golf -- for the golf course projects,

       making remarks about having unlimited sums available. And, you know , because

       Mr. Trump's companies are generally not publicly traded and don't do a lot of

       public disclosure, we can only look -- have a limited look into the financing of those

       projects.

               But because the Irish courses and the Scottish courses are under U.K., you

       know, Anglo corporate law, they have -- they file financial statements. So we

       were able to get the financial statements. And they don't, on their face, show

       Russian involvement, but what they do show is enormous amounts of capital

       flowing into these projects from unknown sources and - or at least on paper it

       says it's from The Trump Organization, but it's hundreds of millions of dollars.

       And these golf course are just, you know, they're sinks. They don't actually make

       any money.
               So, you know, if you're familiar with Donald. Trump's finances and the

       litigation over whether he's really a billionaire, you know, there's good reason to

       believe he doesn't have enough money to do this and that he would have had to


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 42 of 166


                                                                                           41
                           UNCLASSIFIED, COMMITTEE SENSITIVE


      have outside financial support for these things.

             Again, you know, because of what I do, it's sort of in this middle area where

      we mostly are working off public records. A lot of what I do is analyze whether

      things make sense and ~hether they can be explained. And that didn't make

      sense to me, doesn't make sense to me to this day.
                                                            ,
             MR. SCHIFF: Now, you mentioned that unlike the Italian organized crime,

      the Russian organized crime is more integrated into Russian Government,

      Russian corporate life.

             MR. SIMPSON: American Government, American corporate life.

             MR. SCHIFF: American Government, American corporate life. If the

      Russians were laundering money through Trump golf courses or Trump condos,

      would the Russian Government be aware of this? Would they be either knowing

      or active participants potentially in this?

             MR. SIMPSON: Well, so wha~ is well known and well established in

      criminology now is that the Russian mafia is essentially under the dominion of the

      Russian Government and Russian Intelligence Services. And many of the

      oligarchs are also mafia figures.

             And the oligarchs, during this period of consolidation of power by Vladimir

      Putin, when I was living in Brussels and doing all this work, was about him

      essentially taking control over both the oligarchs and the mafia groups.

             And so basically everyone in Russia works for Putin now. And that's true

      of the diaspora as well.   So the Russian mafia .in the United States is believed by

      law enforcement criminologists to have -- to be under the influence of the Russian

      security services.   And this is convenient for the security services because it gives

      them a level of deniability.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 43 of 166



                                                                                             42
                            UNCLASSIFIED, COMMITTEE SENSITIVE



               So I'm sorry for the long answer, but essentially, if people who seem to be

        associated with the Russian mafia are buying Trump properties or arranging for

        other people to buy Trump properties, it does raise a question about whether

        they're doing it on behalf of the government.

               MR. SCHIFF: Now, whether they're doing it on behalf of the government

        or they're doing it - whether they're doing it on behalf of the government, it would

       be your expert opinion that it would be known to the government if it's on --

               MR. SIMPSON: Certainly.

               MR. SCHIFF: -- any substantial scale?

               MR. SIMPSON: Certainly, yes.

              MR. SCHIFF: Might that provide the Russian Government leverage

       vis-a-vis now-President Trump?

              MR. SIMPSON: Yes.

              MR. SCHIFF: So if, as the President's son boasted some years ago, they

       were getting lots of financing from Russia and that financing were illicit, that would

       be known to the Kremlin.

              MR. SIMPSON: I think-- I mean , yes, I think that's true. I think we had

       more specific reporting than that from Chris, and I think it's credible .

              MR. SCHIFF: Now, the work that was produced during that first phase

       with the Free Beacon, what form did that take? Would you be providing, say, like

       30-day reports to the Free Beacon, if you're able to answer? And maybe you can

       say more generically what form that would take .

              We've seen the form of Christopher Steele's reporting, although we don't

       know what form that would have been presented to your client. But what form

       generally would this information take?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 44 of 166


                                                                                              43
                            UNCLASSIFIED, COMMITTEE SENSITIVE



            MR. SIMPSON: So our typical practice is you hire me for a flat fee, you

      don't tell me what to do, and I give you a report in 30 days. And you say, "I'm

      interested in this guy. I think he's a crook." And I say, "Okay, give me 30 days

      and X amount of money, and I'll give you a report."

             If an engagement continues past 30 days, we tend to break out specific

      issues.     So once you've done a survey, which is what that initial thing is generally

      called, then you know, "Oh, well, this guy has a long history of gambling problems,

      and we're going to do a separate on his history of gambling problems." It's a little

      like a white paper.

                MR. SCHIFF: You've described the -- and, again, just focusing on the first

      phase information you found about property purchases that were concerning with

      potential Russian money, you've talked about the ties to Felix Sater - were there

      any other Russian links that you found during the first phase?

                MR. SIMPSON: I'm sorry for the pause. This issue came up in various

      guises, and I'm trying to think of some specifics. And offhand I just -- I mean,

      there were things like - there were all kinds of random things.

                There were, for instance, one of the - you know, we bought all of Trump's

      books and all the books about Trump, and I remem~er there were things about

      trips to Russia, and that was a big thing .

                And there was, prior to the 2013 Miss Universe fair, there.was an earlier

      Trump vodka marketing project in Russia that later became something that we

      were very interested in.     It's difficult in my mind to get the chronology right, so, you

      know, a lot of these things were coming up in the spring, which is, you know, a

      period when we were ending the first part and starting the second.

                MR SCHIFF: And what did you find notable about the Trump vodka


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 45 of 166



                                                                                                   44
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        issue?

                 MR. SIMPSON: That it seemed like there was an orchestrated effort by

        someone to help Trump out with - to help him market, you know, these branded

        products in Russia, and that it was -- it was just very mysterious. And then we

        later found some of the people who came up after the first Steele memo were

        involved in some of those efforts.

               And so it seemed to be -- it seemed like it was part of the origin or the

        middle point of this relationship.   It was a little further back, where it was a little

        less heavy.

               MR. SCHIFF: And What was the period of - did Trump go to Russia on

        this vodka promotion or his family members?

               MR. SIMPSON: l don't think he was there. I think his representatives

        were there. I don't believe there's a record of him be ing there himself.

               MR. SCHIFF: And what were the contacts that later emerged in the Steele

       work?

               MR. SIMPSON: Well, one of the guys who organized this trip was a guy

       who's currently known as Sergi Millian. And he's been in the press a good bit, I

       think, although not recently. And, you know, he came up in connection with that,

       and then he came up in connection with Chris' work as one of the people around

       Trump who had a Russian background , and unexplained, you know, a lot of

       unexplained things.

               So when we looked at him, we found that he ran a sort of shadowy kind of
       trade group called the Russian-American Chamber of Commerce, which

       is -- Russians are known to use chambers of commerce and trade groups as

       fronts for intelligence operations.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 46 of 166


                                                                                           45
                          UNCLASSIFIED, COMMITTEE SENSITIVE


          . And this guy, his name - his real name or his original n_ame that he came to

      the United States wasn't Sergi Millian. It was Siarhei Kukuts, and that's a pretty

      different name. And he changed his name when he got to Atlanta.

             And when we looked at him some more, we found two different resumes for

      him. In one resume he said he was from Belarus and he went to Minsk State;

      and then in another he was from Moscow and went to Moscow State. In one he

      said he worked for the Belarussian Foreign Ministry; in the other, he said he

      worked for the Russian Foreign Ministry.

             He was a linguist, also an interesting thing about his background. And as

      time went on, yeah, we found other things about him. We found a picture of him

      with Donald Trump. He boasted to people that he had sold hundreds of millions

      of dollars in Trump condos, Trump real estate to Russians, that he was some kind

      of exclusive agent for Trump in Russia and that he organized this trade fair.

            ·And then, you know, as further time went on, we fourid he was connected to

      Michael Cohen, the President's lawyer. And eventually, after boasting about a lot

      of this stuff on camera, on tape, to the TV network, he backed away from all of it

      suddenly when the Russia controversy began to get hot.

             And Michael Cohen was very adamant that he didn't actually have a

      connection to Sergi, even though he was one of only like 100 people who followed

      Sergi on Twitter. And they -- we had Twitter messages back and forth between

      the two of them just - we just pulled them off of Twitter.

             And then, I guess, la.st but not least, he, you know - as we became more

      and more interested in his background and the press started to write stories about

      him, it came out that he was associated with this Russian friendship entity called

      Rossotrudnichestvo, and that he was involved in organizing a junket to Moscow for


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 47 of 166


                                                                                                  46
                             UNCLASSIFIED, COMMITTEE SENSITIVE


         some American businessmen that was the subject of an FBI investigation,

        because it was a suspected recruiting operation . And the FBI had questioned

        people who were involved in this trip about whether they were recruited by the

        Russians when they went to Moscow.

               So it was that kind of thing.

               MR. SCHIFF: To your knowledge, was Mr. Millian one of the sources for

        Christopher Steele in the dossier?

               MR. SIMPSON:       I'm not in a position to get into the identity of the sources

        for the dossier for security reasons, primarily.

               MR. SCHIFF: And what other concerns were raised or issues were raised

        about Mr. Trump's connections to Russia, either in the first phase or the second

        phase of your work, separate and apart from Mr. Steele's so-called dossier?

               MR. SIMPSON: Well, eventually, partly through Sergi Millian, partly

        through other things we learned, we gradually began to understand more about

       ·Michael Cohen, the President's lawyer, and his background, and that he had a lot

        of connections to the former Soviet Union, and that he seemed to have

        associations with organized crime figures in New York and Florida, Russian

       organized crime figures. And -

              MR. SCHIFF: And which figures were those?

       MR. SIMPSON: I was afraid you were going to ask me that. I can't

       remember a lot of the names. There was Simon Garber, the taxi king . And I guess

       another guy's name is Evgeny Freidman, who are people he was in

       the taxi business with .

              There was some other transactions that are in some litigation in Florida

       over a mysterious missing payment that some of the people in that dispute had


                           UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 48 of 166


                                                                                              47
                          UNCLASSIFIED, COMMITTEE SENSITIVE


      been identified as organized crime figures. Those are the ones that come to

      mind.

              So Mr. Cohen had a very different image for much of the campaign as

      a - simply a sort of pugnacious New York lawyer, and we gradually began to see

      that he was, you know -- people told us he spoke Russian. And his father-in-law

      is from Ukraine. He seems to have a lot of business dealings over there and, in

      fact, has a conviction for a money laundering-related crime.

              All these things caused a good bit of concern . I guess the big one, the

      other big one, was the Agalarovs, who seemed to be, you know, the central figures

      in the Trump-Russia relationship. And so we spent a lot of time looking at them .

              I, as sort of an amateur student of Russian oligarchs and criminals, I hadn't

      come across them before. So I thought -- I at first didn't think they were that

      interesting. But as we've, you know, learned more about them, it's become more

      troubling .

              You know, I now -- I know now that they've been -- the Agalarovs started

      operating in the United States around the time of the fall of the Soviet Union and

      are associated with people who are connected to previous episodes of money

      laundering that are serious, the Bank of New York scandal.

              And they themselves -- we found a case in tax court involving the Agalarovs

      that describes a lot of activity from that period and a criminal investigation of the

      Agalarovs from that period.

              MR. SCHIFF: What period was that?

              MR. SIMPSON: Early '90s. And I just know from my reading on this stuff

      that a lot of agents of influence from Russia came to the United States in that

      period to launder money, and that, you know, we now know that the Russian


                          UNCLASSIFIED, ·COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 49 of 166



                                                                                               48
                           UNCLASSIFIED, COMMITTEE SENSITIVE



        Intelligence Services never really closed up shop, and that they continue to insert

       people in the United States and run operations in the United States.

              And so all of that is pretty troubling . I'd say - I could generalize and say

       that, you know, as we've got deeper and deeper into understanding, you know,

       Donald Trump's business career and his history, it gradually reached a point

       where it seemed like most of the people around Trump had a connection to

       Russian organized crime or Russia in one way or another.

              I could probably think of more if I think on it, but those are the big ones.

              MR. SCHIFF: And knowing what you do about the Agalarovs, what do you

       think is the significance of the fact that the -- that Aras Agalarov was responsible,

       at least according to these public emails, for setting up the meeting at Trump

       Tower?

              MR. SIMPSON:      I think it's a reasonable interpretation that that was a

       Russian Government-directed operation of some sort, based on what I know now.

              MR. SCHIFF: When you continued this work-- and let me just ask you, in

       terms of Free Beacon, you mentioned what your retainer was with Perkins Coie.

       What was your retainer with Free Beacon?

             MR. SIMPSON: I think it was the same.

             MR. SCHIFF: So 50,000 a month?

             MR. SIMPSON: I mean, I don't literally remember.

             MR. SCHIFF: But it was in the same ballpark?

             MR. SIMPSON: We generally have a rate, a flat rate.

             MR. SCHIFF: We know of your work vis-a-vis Christopher Steele. Did

      your work for Perkins Coie continue with these Russian lines of inquiry. quite

      separate and apart from what Christopher Steele was doing?


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 50 of 166


                                                                                              49
                            UNCLASSIFIED, COMMITTEE SENSITIVE



             MR. SIMPSON: Yes. I mean, because we've not had liberty to talk about

      all these things, there's been a lot of misconception about this whole process. So,

      you know, it's a much broader project where we're not just looking at Russia and

      we're not just doing Russia stuff with Chris. We're doing our own Russia work.

             So, you know, in addition to things like finding someone who can look into a

      Mexican, you know, suit factory to see how they treat their workers, we are

      scanning Russian newspapers or newspapers all around the world for information

      about these subjects.     I have staff who prepare white papers on various subjects.

             So without, you know, being too specific about it, in terms of the work

      product, you know, Chris' memos - I mean, I guess it would be helpful to explain.

      So Chris' memos are raw _field memoranda. They're from interviews with his

      source network.    I didn't tell him what to write, you know, I didn't edit them.

      They're what came into me from him.        And they're, you know, to   my knowledge,
      the only drafts.

             So ordinarily I would take material like that, that I got from a subcontractor

      in the field, and I would incorporate it into a more polished memorandum. And,

      you know, my style is a more journalistic style, so I'm not going to just give you

      what Tom, Joe, and Harry said.       I'm going to say, here is what people said, and

      here is what we thin!< that really means, what's really going on. It's a very

      analytical product.    And, you know, that's to sort of guide the client's ability to

      make decisions.

             And in this case, the material that came in from Chris was of such a kind of

      disturbing and serious nature, I didn't want to do that.

                              F ive minutes.

             MR. SIMPSON: So, because, you know, I'm an amateur student of a lot of


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 51 of 166



                                                                                              so
                            UNCLASS IFIED, COMMITTEE SENS ITIVE



        this stuff, not a pro. And the line of reporting that was coming in from him was,

        you know, extraordinary and not something that I usually would be doing as a

        research person based in Washington, D.C. So I segregated that, and I never

        incorporated it into anything else.

               MR. SCHIFF: You mentioned the limitations on your ability to follow the

        money in terms of the potential money laundering involving Russian figures in The

        Trump Organization.

               Two questions. One is, did you also look at the Kushner business

        operation? Did you find any facts that caused concern in terms of potential

        money laundering through the Kushner properties or organization?

               And second, we do have the subpoena power that you don't.       It is within

        the scope of our investigation to determine whether this was one of the Russian

        active mea·sures, the use of financial means to entangle Mr. Trump. How would

        you go about using that? What institutions would you look at to be able to confirm

        or reject those allegations?

              MR. SIMPSON:       On the first question, 1-- we looked at the Kushner project

        in Jersey City. Kushner was another case of someone who I sort of misjudged.          I

        didn't think he was going to be very interesting and very important, partly because

        he was so young .

              But in any event, we did look at some Kushner stuff and specifically focused

       on the project in Jersey City, I think partly because Trump had a position in that

       project, and discovered that it was -- one of the central mysteries of Donald Trump

       is that, you know, beginning in the m id-2000s he was not a cred itworthy

       businessman.

              And so he - you know, so if you're analyzing, you know, someone wh o


                            UNCLASSI FIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 52 of 166


                                                                                                   51
                           UNCLASSIFIED, COMMITTEE SENSITIVE



      says they're a billionaire but can't get a bank loan, you know, there's this whole

      issue of where is the credit coming from.       And so, you know, we were always

      trying to figure out where - how he was financing various things .

             So anyway, we looked at this Jersey City project, and it was going to be

      financed by selling visas to foreign citizens who were seeking green cards from

      the United States.    And I knew from previous investigations that that program

     . was - there were a lot of irregularities in that program, and that, .in fact, the

      government, the U.S. Government had conducted previous investigations into

      whether foreign intelligence figures were using the EB-5 program to get people

      into the United States.

             So in any event, we looked at all of that. And I don't believe we

      concluded -- we found any specific events of fraud, but it all had took on the

      appearance of a controversial thing, which later became true.        And , in fact, it did

      become very controversial that they were using EB-5 to fund that project.

             MR. SCHIFF: Did you look at the other -- the Manhattan Tower project of

      Kushner's?

             MR. SIMPSON: No.          No,·we never did.

             MR. SCHIFF:        Did you ever obtain, with respect to the money laundering

      allegations, any of the President's tax returns?

             MR. SIMPSON: No.          But we did -

                           : One minute.

             MR. SIMPSON: We did look at other ways of finding out what his practices

      were with regards to taxes, and we found some great, interesting documents in

      Las Vegas, I believe, and various other locations where he would - I think gave

      much more realistic assessments of the income and values of his properties.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 53 of 166


                                                                                                   52
                              UNCLASSIFIED, COMMITTEE SENSITIVE



                  And I suppose he would say he was lowballing them to save on taxes, but I

        think he was actually probably telling more truthful statements about the financial

        condition of a lot of his properties, which was extremely poor.

                  So there are interesting real estate tax records among the few tax records

        you can get publicly.

                  MR. SCHIFF: We'll yield back to the majority.

                  MR. ROONEY:       Does the gentleman need a break?

                  MR. SIMPSON: I'd love to take a break.

                 [Recess.]

                 MR. ROONEY: We are going to get called to votes probably here in the

        next 10 to 20 minutes, so I'm going to try to do a little bit of a lightning round, if I

        could.

                 But I just want to - you know, generally speaking, with the stories that you

        were telling Mr. Schiff, you know, it's interesting that it seems like -- and correct me

        if I'm wrong --it seems like--they're fascinating, by the way. I mean, the story

        about him financing Doonbeg in Ireland through money that we can't really

        trace but has sort of the fingerprints of Russian mobsters.

                 I mean, I just -- it's almost like we need a plus one. And I'm not saying

       you're wrong.      I'm just saying it seems like with all this stuff that there's, you know,

       not the sort of, as what Trey was talking about, allegation versus fact, that, you

       know, with all those things that we talked - that you talked to Adam about, we

       never really got to the fact part.

                 Is that true? Or do you feel like with your investigation that you made the

       conclusion that you think that those things are true - or not that you think that they

       are, but they are true?


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 54 of 166


                                                                                            53
                             UNCLASSIFIED , COMMITTEE SENSITIVE



             MR. SIMPSON: I think it's a great question. The - you know, I mean,

      essentially we ended up spending almost a year on this project. And, you know, it

      was a private -- because it's all private work in the sense of nongovernmental,

     without any legal process to compel production of information, we can only reach a

      certain point.

             And at the time that we -- you know, that Chris decided to take this to the

      FBI, I wasn't convinced of the facts of anything in terms of - I wasn't convinced

      that there was a specific crime that occurred.

             I thought it was a possible crime of progress and that there was possibly

      very serious crimes, but, you know, I'm an ex-journalist, so I'm not really in a

      position to prove that anyone's engaged in a crime.

             I mean, you know, sometimes you do find proof of criminal activity in an

      investigation, but more often than not you find things that are suggestive or raise

      questions.     And -

             MR. ROONEY: Right. That's exactly my point, is that ifwe knew that

      Donald Trump was working with the Russian mafia to fund Doonbeg in

      Ireland, then there's no way he would be President.     So, I mean, that's why it's so

      fascinating.

             And, again, it might have been, but when you also add the caveat "but we

      didn't" -- there wasn't actually Russian names on the ledger or whatever, like that

      final step. And so, you know, I'll equate that to the election as well with your

      opposition research and with the dossier and everything else.

             Do you feel like, you know, we -- with what you found or what Mr. Steele

      found that 'we got to the point where we could concluslvely say as fact that the

      Russian Government and the Trump campaign were colluding with each other to


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 55 of 166


                                                                                            54
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        beat Hillary Clinton? Can we make that final step there? Or is that a lot of

        circumstantial evidence that, you know, one could form an opinion to but never

        gets beyond the -

               MR. SIMPSON: I'm -- I mean, as far as I'm concerned, where we are now,

        as opposed to back then -- back then we had what appeared to be credible

        allegations of some sort of a pattern of surreptitious contacts between the Trump

        campaign and Russian people either working for the government or acting on

        behalf of the Russian Government. As Chris wrote, it was, you know, I think a

        wide-ranging conspiracy, was the way he put it.

               I think that the evidence that has developed over the last year, since

        President Trump took office, is that there is a well-established pattern of

        surreptitious contacts that occurred last year that supports the broad allegation of

        some sort of an undisclosed political or financial relationship between The Trump

        Organization and people in Russia.

               I'm certainly not prepared to say and never wanted to be the person who

        had to determine whether that's a criminal conspiracy.

               MR. ROONEY: Do you with these investigations, like, you know, the

        campaign came and went, the Steele dossier is here, the subject matter, but to

        answer those questions, do you ever continue or did you in th is case continue to

        investigate just to see if you could find the answers to those unresolved

        questions?

               I guess my question is, did you keep investigating even though you weren't

        being paid anymore?

               MR. SIMPSON: Well, J think it's in the record that, you know, Chris

        continued to supply information to us after the election . And, obviously, in the


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 56 of 166


                                                                                               55
                           UNCLASSIFIED, COMMITTEE SENSITIVE



      period immediately after the election we were - I don 't know if you could say we

      were working on it, but we were certainly unemployed. And obviously this was

      the central issue in my life at that time.   Unfortunately, it sort of still is.

              But anyway, so there was --

              MR. ROONEY: Well, if you ever make any conclusions on any of those,

      you probably -- anyway. Go ahead.

              MR. SIMPSON : I mean -

              MR. ROONEY:       Let me go to some specific ones, because we are in a

      shorter -- are we 15 minutes?

              Okay. This is our lightning round .

              You may have already answered this with Mr. Gowdy, but did you know

      who Mr. Steele's sources were in Russia?

              MR. SIMPSON : I knew generally where they're positioning.             In other

      words, we would discuss generally where that person sat in relation to a senior

      government official or, you know, what other position they held.          So --

              MR. ROONEY:       Did you generally consider them credible, if you knew

      them?

              MR. SIMPSON: Well, you can't --1 mean, I can't evaluate the credibility of

      someone on the other side of the --

              MR. ROONEY:      So you just trusted Mr. Steele's vouch?

              MR. SIMPSON: I have ·great trust in Mr. Steele's professional ability to find

      sources with credible information.

              MR. ROONEY:       Did you know how he paid these sources?

              MR. SIMPSON :     Y e ah .   You know, essentially, my - - what I was doing

      was corroborating the information they were providing -- or trying to -- or


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 57 of 166


                                                                                                 56
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        determining whether it was credible.     So that was a lot of the work that we did

        there.

                 I think you asked about paying of sources. I think that's something that's

        erroneous that's been in the press.

                 MR. ROONEY:        How so?

                 MR. SIMPSON: To my knowledge, Chris does not pay sources for

        information .

                 MR. ROONEY: So they give it up for free?

                 MR. SIMPSON : When you're running a source network, essentially what

        you are doing is paying subcontractors to --

                 MR. ROONEY:        Right.

                 MR. SIMPSON : -- circulate and gather information in conversations.         And,

        again, this is not my specialty, which is why I hired him, but essentially it's hiring

        peof:5le to go talk to their contacts.

                 And I think as a member of the Intelligence Committee that maybe you're

        familiar with this, but they don't - you know, when you have subcontractors in the

        field doing inteNiews, meeting people in bars, talking shop, they don't say, "I 've

        been hired to go out and ask questions and see what people say," but that's

        essentially what happens.

                 So what 1 think the misconception is, is that, you know, Chris has got

        people -- or Chris calls people up and says, "I'll give you $5 ,000 if you tell me

        what's going on with the Trump operation." And that didn't happen.
                 MR. ROONEY: Are you sure?

                 MR. SIMPSON: Well, I've asked Chris about it, and he said it

        doesn't -- didn't happen.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 58 of 166


                                                                                              57
                          UNCLASSIFIED, COMMITTEE SENSITIVE



           · MR. ROONEY: Okay. Do you or ~nyone else independently verify or

      corroborate any information in the dossier? This is sort of a repeat of a question I

     just asked, but we're talking about verification here.

             MR. SIMPSON: Yes. Well, numerous things in the dossier have been

      verified . You know, I don't have access to the intelligence or law enforcement

      information that I see made reference to, but, you know, things like, you know, the

      Russian Government has been investigating Hillary Clinton and has a lot of

      information about her and is -- and the Trump people are interested in getting that

      information. I mean, that turned out to be true.

              It was also true, you know -- I mean, if you just think back to the chronology

      of this, when the original memos came in saying that the Kremlin was mounting a

      specific operation to get Donald Trump elected President, that was not what the

      Intelligence Community was saying .

             The Intelligence Community was saying they are just seeking to disrupt our

      election and our political process, and that this is sort of kind of just a generally

      nihilistic, you know, trouble-making operation. And, you know, Chris turned out to

      be right, it was specifically designed to elect Donald Trump President.

              MR. ROONEY:         Do you - did you find anything to -- that you verified as

      false in the dossier, since or during?

              MR. SIMPSON:        I have not seen anything -

              MR. ROONEY: So everything in that dossier, as far as you're concerned,

      is true or could be true?

              MR. SIMPSON : I didn't say that. What I said was it was credible at the

      time it came in.   We were able to corroborate various things that supported its

      credibility.


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 59 of 166



                                                                                      58
                        UNCLASSIFIED, COMMITTEE SENSITIVE


             MR. ROONEY: Well, do you know now if anythlng's false?

             MR. SIMPSON: I did answer that. No, I don't know if anything is false.

             MR. ROONEY: Okay. What media --

             - : Five minutes.

             MR. ROONEY: What media outlet did Steele brief regarding the dossier?

       Media outlets.




                        UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 60 of 166


                                                                                            59
                           UNCLASSIFIED, COMMITTEE SENSITIVE


      [4:18 p.m.]

             MR. SIMPSON:       I think what we've said before and what I'm in a position

      to say is that we talked generally about the findings of this to a select group of

      news organizations.

             MR. ROONEY: Which ones?

             MR. SIMPSON: Major media.

             MR. ROONEY: Anything specific?

             MR. SIMPSON: I --

             MR. ROONEY: Okay. Did you direct Steele to brief the media outlets,

      and why?

             MR. SIMPSON: Yeah. We did it together. Initially, _the reason was that

      we were -- everyone assumed that Hillary Clinton was going to win the election,

      and when we initially briefed the media, that was our assumption.

             And I have a sort of different longstanding interest, which is Russian

      influence in the United States and foreign interference in elections. And, I mean,

      this may sound hard to believe, but I wanted people to know about what we had

      found, because I thought it was important. And so a lot of the people that we

      briefed weren't campaign reporters, they were national security reporters.

             And, you know, I started out doing work on this issue of foreign interference

      in American elections at The Wall Street Journal in the '90s, and I wrote a series of

      articles about a Chinese government operation to help elect Bill Clinton. And so

      it's been something that I've been very interested in and concerned about for a

      very long time.

             MR. ROONEY:       Did you learn that Steele had briefed the FBI on the

      dossier materials?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 61 of 166


                                                                                                 60
                              UNCLASSIFIED, COMMITTEE SENSITIVE



                MR. SIMPSON: I eventually learned that, yes. I'm sorry, let me correct

        that.   He told me -- well, I can walk you through the sequence.

                MR. ROONEY: Just when did he tell you?

                MR. SIMPSON: He originally said: I think we should go -- this information

        is national security information. I think we should report it to the FBI. That was

        in July or late June, shortly after the first memo.

                MR. ROONEY:         Sixteen?

                MR. SIMPSON: Sixteen.          He said:   I'm a former intelligence officer, and

        we're your closest ally. You know, I have obligations, professional obligations. If

        there's a national security emergency or possible national security issue, I should

        report it.

                MR. ROONEY:         So this was before he actually did it?

                MR. SIMPSON : Yes.

                MR. ROONEY:         Okay.

                MR. SIMPSON: And I - so I didn't say okay.         I just said:   Let me think

        about it, I'm not sure what I should do here.

                MR. ROONEY: So did you give him any direction?

                MR. LEVY: He wasn't finished .

                MR. ROONEY: I'm sorry.

                MR. SIMPSON:        It's a quick story. So he said he needed -- that we

        needed to do this or he needed to do this. And I didn't - couldn't think -- first of

        all, he didn't volunteer that he had a relationship that he could do it. He just
        raised the issue. And at some point he did say -- I said: Well, I wouldn't know

        who to talk to and I don't know -- I just didn't know - feel qualified to do that. And

        he said:     I know people at the FB I and I can do it.


                              UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 62 of 166


                                                                                                 61
                               UNCLASSIFIED, COMMITTEE SENSITIVE



             And I said : So you're telling me that you think this is serious enough that it

      needs to be reported to law enforcement, and that you're confident enough in your

      sources, it's your professional judgment and your professiqnal obligation, that'you

      should report this to the FBI? And he said yes.

              MR. ROONEY:          It sounds like you weren't sure if it was serious enough.

              MR. SIMPSON: Well, I mean, I don't- he's the spy and I'm the

      ex-journalist.   So basically, he's the one who is a security official by profession.

      And I wasn't going to substitute my judgment for his, that's correct.

              So he then went to report it to the FBI. And I didn't tell him to do it.      I didn't

      tell him not to do it.    I assented in it.

                                One minute.

              MR. ROONEY:          Did you brief or meet with any other intelligence officials

      regarding the dossier?

              MR. MUSE:         Could you repeat that question?

              MR. ROONEY:          Did you meet with intelligence officials regarding the

      dossier?

              MR. SIMPSON:          No one from - that I - no.

              MR. ROONEY: Are you aware on anyone meeting with the CIA regarding

      the dossier?

              MR. SIMPSON : No.

              MR. ROONEY: Were Perkins Coie, Mark Elias, and the DNC or the Hillary

      team aware that the dossier was being briefed to intelligence officials or the FBI?

      Do you know that?

              MR . SIMPSON ;        I'm going to - I can't talk about communica tions with my

      client, but I can give you what I think is a useful answer, which is that we did not.


                               UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 63 of 166


                                                                                               62
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        At least I can tell you about generally what I -- what my -- what I did.

               So Chris went and reported this to the Bureau. And he came back and

        said: I reported this to the Bureau. And we did not ask permission from the

        client to do that. The client didn't instruct us to do that. It was -- he was -- you

        know, it was viewed as reporting a crime in progress, sort of a citizenship

        obligation.

               You know, at some point later on, you know, I think that, as the

       · questions -- I'm not sure how to say this -- as the hack attack by the Russians on

        the Democrats became a major issue in late -- later in the year, questions of

        whether to engage with the FBI, you know, became more of a general issue.

               MR. ROONEY: My time is up, but I will say tha_t I think that the Russian

        scores in that Salt Lake Olympics were pretty low. Very suspicious.        I didn't get

        to ask you about that, but -- it's always the Russians.   Like everybody's got a 1O

        or a 9 and the Russians are like 5.

               MR. SCHIFF: Before I pass it off to Mr. Quigley, you didn't have a chance

        to answer one of the questions I posed at the end. That is, we do have the

        subpoena power.     If we are to get to the bottom of the issue of whether Russian

        organized crime money was used in the flipping of these properties and the

        purchase of the golf course and this is a lever over the President, what institutions

        would you use that process with to get to the bottom of it?

               MR. SIMPSON: I guess I would -- if I were issuing the subpoenas, I would,

        you know. first need to identify the underlying -- the banks that had custody of that
        information . That would be the banks that would service the brokers.

               So the first thing that I would do would be to subpoena the brokers and the

        people, the other people that were involved in the transactions, and the title


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 64 of 166


                                                                                              63
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      companies and the .other intermediaries that would have that kind of information.

             Then I would go to the banks next. But I actually think some of the

      intermediary entities in a lot of these transactions are going to be where a lot of the

      information is.

             MR. SCHIFF: And those intermediaries are going to be the real estate

      brokers as well as the licensing companies?

             MR. SIMPSON:       Yeah.

             MR. SCHIFF: And the title companies?

             MR. SIMPSON: Yeah. And then you would - you know, ultimately you

      would find - I mean, in the case of Florida, which is the one where we spent an

      enormous amount of time on, you know, I wou Id subpoena the Diazers (ph). And I

      would subpoena the company that was run by Elena Baron off, who was the true

      person behind a lot of those deals. And she's an Uzbek immigrant, suspected

      organized crime figure, who took the Trumps on various tours to Russia, brokered a

      lot of those deals.

             She died of cancer, but -- in 2015 -- but her husband and son still run that

      company and I suspect they still have those records. And that would tell you a

      lot.

             And in general, l would look at Elena Baronoffs operation. She also had a lot

      of curious involvement with a businessman in Sicily named Dino Papale, who we

      think has organized crime ties as well, and has a lot of interesting relationships with

      the Russians as well, and has hinted strongly that he organized secret meetings

      between Donald Trump and the Russians in Sicily.

             We spent a lot of time looking at that particular n e twork.   And I think you

      would ultimately get to the financial institutions by looking at the actual real estate


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 65 of 166


                                                                                                 64
                              UNCLASSIFIED, COMMITTEE SENSITIVE



       transactions.
               MR. SCHIFF: And that particular family, were they involved in the flipping

       of that house with the --
               MR. SIMPSON:         No.   No, the Rybolovlev deal, I'm not sure I know that

       much about the brokering of the Rybolovlev deal.

               The other one that I would subpoena is the related group, and they were

       the ones that were involved with the Trump Hollywood . And there was a lot of

       interesting transactions involving the Trump Hollywood. And that was -- that's a

       guy named Jorge Perez, who's a major developer who was in the picture with

        Sergi Millian and Donald Trump that I was talking about previously.

               MR. SCHIFF: And in terms of the Panama, Canada, and Scotland

       transactions, any suggestions there?

               MR. SIMPSON: So I think in the -- I'm trying to think of the creative way to

        do this.     I mean, as you may know, you know, most of these transactions are

        cleared through New York. And the other sort of central place for information is

        SWIFT in Brussels.       But I would go for the clearing banks in New York that

        cleared the transactions, you know.

               And there's -- again, it's these sort of intermediary entities that have no real

       interest in protecting the information, and all you have to do is ask for it and they

       just sort of produce [t by rote. So we've done a lot of money laundering

       investfgations where we go      to the trust companies and the clearing    entities.

               And so, you know, all dollar transactions are generally cleared through New

       York.       So, you know, the main thing you have to do is identify the banks that were

       used. So I don't know if the money was moved via Deutsche Bank or what the

       other banks were.       ln fact, I've never gotten around to trying to figure that out.


                            . UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 66 of 166


                                                                                               65
                            UNCLASSIFIED, COMMITTEE SENS.ITIVE



             MR. SCHIFF: Thank you.

             Mr. Quigley.

             MR. QUIGLEY: Good afternoon. Thanks for being here.

             Let me give you an opportunity. You said that Mr. Steele was a perfect

     hire.   I think you used you trusted him a lot. Could you elaborate why you

     thought he was such a perfect hire, why you trusted him so much? I know you

     said you had talked to him, you had met with him. Did you have to do any other

      due diligence or what did you know about him and his reputation before?

             MR. SIMPSON: Sure. So basically the way the information biz works is,

      you know, it's a tricky business. A lot of it is about talent spotting, finding people

      that are reliable, produce reliable information. There's a lot of, I don't know if I'd

      call it fraud, but there's a lot of BS where people tell you stuff that doesn't turn out

      to be right.

             And so, you know, it's sort of like, again, being a journalist, where you're

      trying to figure out who your reliable sources are. So the more exotic the topic,

      the harder it is to find someone who doesn't sell you BS.

             And, you know, one of the problems with the business is that basically if

      you contract with a guy to go find ~omething out or go look into a subject, he

      doesn't -- he.rarely comes back and says: I got nothing for you, I wasn't able to

      find anything out. They'll just-- if they can't find anything out, they'll just make it

      up.

              So sorry for the long answer.    But, anyway, Chris was a reliable provider of

      information that turned out to be reliable. And so -- so there was all that.

              He was also -- he just had a very -   he was--· 1 think I -- I think I might have

      said somewhere else that he was a Boy Scout. And, you know, he's just a fairly


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 67 of 166


                                                                                            66
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        buttoned-down kind of guy who you could count on to do the work.

               MR. QUIGLEY: When exactly did he start working under contract?

               MR. SIMPSON: My recollection is that, you know, we began talking about

        the -- I don't remember when we started talking about the engagement, but the

        work started in June, I believe.

               MR. QUIGLEY: Okay.

               MR. SIMPSON: Possibly late May, but -

               MR. QUIGLEY: And when would you have gotten the first batch of

        information, or was it all at once? ·

               MR. SIMPSON: The first memo is dated, I think, June 20th, somewhere

        around there.

               MR. QUIGLEY: Okay. And then how often did you get information and

        what - was it varied quantities or ·--

               MR. SIMPSON: Well, this was a very unusual situation, because right

        around the time that the work started, it became public that the FBI suspected the

        Russians of hacking the DNC. And so there was sort of an extraordinary

        coincidence.    It wasn't really a coincidence but, you know, our own interest in

        Russia coincided with a lot otpublic disclosures that there was something going

        on with Russia.

              And so what was originally envisioned as an original -- as just a sort of a

        survey, a first cut of what might be -- whether there might be something interesting

       about Donald Trump and Russia quickly became more of an effort to help my
       client manage a, you know, exceptional situation and understand what the heck

       was going on.

              So after the original reporting, I don't remember what I specifically said, but


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 68 of 166



                                                                                                  67
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      it essentially was: I think we're going to need you for the foreseeable future, so

      just keep, you know, talking to your sources and sending us memos whenever you

      have information.

             MR. QUIGLEY: And without'getting into the exact"communications, when

      did you start alerting your client that this might have been a bigger deal than, as

      you just described it than originally thought?

             MR. SIMPSON: Yeah. I mean, I think that would call for a confidential

      client communication. I think what I can say is - well, let me put it this way.         I

      think it's now public that, you know, the FBI had gone to the DNC prior to th is and

      told them, you know, that they'd been hacked by the Russian Government.

             And, you know, foreign intelligence services hacking American political

      operations is not that unusual, actually, and there's a lot of foreign intelligence

      services that play in American elections. And so that in itself isn't actually totally

      alarming. The Chinese did it last time. Indians do it. But when it became --

                             Five minutes.

             MR. SIMPSON: When the suggestion that they were going to weaponize

      that information and that this was more than just an intel gathering operation, that

      they were actually going to engage in active measures, that was when, you know,

      it became a major issue. And I think by late June there was a lot of signs that that

      was going to happen.

             MR. QUIGLEY: The dossier was published. Other elements were

      published . What wasn't published? Are there still documents?          Is there still

      information that was garnered by either Mr. Steele or others that the public isn't

      aware of at th is point, on this point?

             MR. SIMPSON : Well, to just put it on the record, we were not the ones


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 69 of 166


                                                                                                    68
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        that gave this document to Buzzfeed, and I was not happy when this was

        published. I was very upset.     I thought it was a very dangerous thing and that

        someone had violated my confidences, in any event.

               I think the story is largely known and that there's very little that was left on

        the cutting room table from that time.    I think, you know, there's a little bit of, you

        know, color, I would say. You know, this guy that we were talking about earlier,

        Sergi Millian, isn't named in the dossier, but is someone who was important.

               MR. QUIGLEY:       But you also said that -- and correct me if I got this

        wrong -- that you continued to get information after the election .

               MR. SIMPSON: Yes , sir.

               MR. QUIGLEY: You still say the same thing, that most of this is out there,

        despite even getting information after the election?

               MR. SIMPSON: I mean, I think that the story of the Russian operation

        against the United States and the pattern of surreptitious contacts between The

        Trump Organization and Russia, I don't think that's -- I don't think that's -- we're

        even anywhere close    to having the full story.
               MR. QUIGLEY:      But are there any documents you think that would be

        helpful that were accumulated?

               MR. SIMPSON: To the committee?

               MR. QUIGLEY: Yes.

               MR. SIMPSON: Yes, absolutely.         I mean, I think -- f think this tax court

        case involving the Agalarovs is an important document.        I think that there's -- I

        guess going back to your subpoena question, I also -- you know, the Crocus

        Group has a much longer history in the United States than people realize, and I

        think there's all kind of good documents .


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 70 of 166


                                                                                            69
                          UNCLASSIFIED, COMMITTEE SENSITIVE



            MR. QUIGLEY: But are there documents that you would have in your

     possession --

            MR. SIMPSON: Oh.

            MR. QUIGLEY: -- that weren't public record that would be helpful?

            MR. SIMPSON: I don't think from that period. Well, so the collection of

     memoranda that are known as the dossier, I mean, that was basically it. I mean,

     there wasn't --

            MR. QUIGLEY:        Now, you say you're familiar with peopl,e who do

     intelligence work.   I'm sure you're awarE:: that sometimes they talk about levels of

     certainty they have, right?    Like on any one issue, how many sources they have,

     how confident they are.

             In your conversations with Mr. Steele, did he express his level of certainty

      on these matters?

            MR. SIMPSON: So, I mean, l'm not intimately familiar with how the Brits

     do it, but they seem to do it a little differently. Chris' standard presentation, I

     mean, essentially, you know, because he's c;3 Russianist, his. standard presentation

     starts with a little talk about disinformation.

            Then he says, you know: I was the lead Russianist at Ml6 in the final

     years of my career. And I was previously stationed in Moscow. And I speak

     Russian. And I've done Russian intelligence/counterintelligence issues all my life.

     And the central problem when you're a Russian intelligence expert is

      disinformation, and that the Russians have, you know, a long history and an

      advanced capability in disinformation.
            And so, you know, before we go any further, I just want you to know that,

      you know, this is my -- the fundamental problem with my profession. And it


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 71 of 166



                                                                                                 70
                                UNCLASSIFIED, COMMITTEE SENSITIVE



        should be assumed that in a·ny sort of intelligence gathering that you do there will

        be some disinformation. And I'm trained to spot that and filter it out, but, you

        know, you should understand that it's -- you know, no one's perfect.

               And so we've essentially filtered out everything that we think is

        disinformation and we're not going to present that to you here. We're going to

        present to you things that we think come from credible sources, but we're not

        going to warrant to you that what we - that this is -- that this is all true. And , you

        know--

               MR. QUIGLEY: He said it was raw data.           Is that correct?

               MR. SIMPSON: Yeah.

               MR. QUIGLEY: In some an respect?

               MR. SIMPSON: It's HUMINT, right?           It's human source information.

                                 One minute.

               MR. SIMPSON : And humans sometimes lie, and more frequently they just

        get it wrong.

               MR. QUIGLEY:        Did he ever, iri talking to you subsequent to the release of

        the document, say that he thought he would alter any of it after the fact or

        information he had gathered later?

               MR. SIMPSON: I have - I have talked to him about that. And he

       remains -- he continues to believe that it is largely not disinformation.

               MR. QUIGLEY:        I think that's our time . We have votes, right?

              MR. ROONEY: We have to           vote.   Before we break, I just want to ask one
       question , based on Adam's question, just so I don't forget, and then we'll come

       back, if that's cool.

              All those questions that Mr. Schiff asked about, you know, with the


                               UNCLASSIF I ED, COMMI TTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 72 of 166


                                                                                             71
                            UNCLASSIFIED, COMMITTEE SENSITIVE



      subpoena power and where we would go if we wanted to find out about Scotland

      and Panama and Toronto and Ireland, and you were talking about like the brokers

      and I guess the banks in Switzerland and New York, my only question is, why

      didn't you do that?

             MR. SIMPSON: I don't have subpoena power.

             MR. ROONEY: So there's no other way that you could -- there's no other

      way that you could access that information other than just subpoena, having a

      subpoena in those .countries?

             MR. SIMPSON : Well, I mean, the way that I would do it if I was a U.S.,

      you know, entity that had subpoena power is I would figure out --

             MR. ROONEY: No, not us. Like you , as Fusion, an opposition research

      guy, why couldn't you do it?

             MR. SIMPSON: Because it's generally not legal.          Financial privacy

      protections.

             I mean, so my specialty and the reason that I --

             MR. ROONEY: That's fine.          I just didn't know that. All right. Thank you .

                            : Are you okay to keep going? .

             MR. LEVY: Yes. Let me just say one thing.

             [Discussion off the record ..]

                            : Okay to continue?

             MR. SIMPSON: Yes.

                            : Great, than ks. So I th ink we have it for 15, and we'll go.

      We're still doing 15-minute rounds. Mr. Rooney took about 2 minutes asking his

      ques tion, s o I've got about 13 left.

                                           EXAMINATION


                          ' UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 73 of 166


                                                                                                    72
                                UNCLASSIFIED, COMMITTEE SENSITIVE



                        B Y -:
               Q      I just want to circle back to a couple things, Mr. Simpson.

               When you say Christopher Steele provided you with raw data, you know,

        we take that to mean that that's information that has not been analyzed through

        the rest of, you know, the IC apparatus, for lack of a better term.      Would you

        agree that that's what raw data is and that's what he gave you?

               A      I think I was using it in a somewhat less technical way.      But, you

        know, but coJloquially speaking, I mean, it was just sort of intended to say:       Yes ,

        this is field -- information from the field that has been collected, and it has been

        subjected to some level of sifting and analysis by Chris, because he's attempted to

        filter out unreliable sources or disinformation.

               And so it's not totally raw. I mean, it's been through one round of

        harvesting.

               Q      So Mr. Steele communicated to you that he had done some analytical

        wo rk on the data that he provided you?

               A      Yeah .     l mean, he said he applied his professional skills to this to

        figure out whether it was credible.

               Q      Right.    It's not like he just wrote everyth ing down on a piece of paper

        and then handed it to you.       He did apply his professio_nal skills to it somewhat?

               A      Y eah .   I mean, you can take that from reading the stuff that's been

        published . I mean, he put some level of summarizing what -- you know,

        essentially what he did was he talked to enough sources that you can summarize

        what they collectively are telling you, and that's in. the writing of the memos.

               Q      And to follow up on Mr. Quigley's questioning, there was some

       information -- you said the large bulk of it is published in the dossier that was


                                UNCLASS I FIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 74 of 166



                                                                                                 73
                           UNCLASSIFIED, COMMITTEE SENSITIVE



       published by BuzzFeed, but there was some information tha.t's not out there. Is

       this some information that Mr. Steele provided you in relationship to the work you

       had hired him to perform for you?

              A     What I was specifically referring to was there's discussions of identities

       of sources that we had , and obviously that's not in there. And, you know, I can't

       think of another specific thing that's n_ot in there, but there's like pieces of work that

      we -- you know, things that didn't make it in there that he conveyed to me orally

       that weren't that significant. I ca.n 't think of examples of them.

              But I guess I was trying to be really careful to say that, you know, we
      worked -- we did this project over a number of months and we had discussions of

       things that didn't make it into the memos.

              Q     Is that recorded somewhere, all that other information -

              A     No.

              Q     -- at your company?

              A     No.

              Q     No. So it doesn't exist?

              A     It's -- right. It's -- I'm referring to mostly phone conversations and

       meetings.

              Q     But you didn't record any notes or anything like that?

              A     I don't do that, no.

              Q     Okay. Just checking.

              I just want to check back to your relationship with Perkins Coie.       Did you,

       Fusion, you, Mr. Simpson, or somebody at your behest approach Perkins Coie, or

       did they approach you?

              A     I don't -- I don't have firsthand knowledge of that question. I think -- I


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 75 of 166


                                                                                                  74
                           UNCLASSIFIED, COMMITTEE SENSITIVE



        can tell you that the original discussions were not handled by me. They were

       handled by my partner.     So I don't think he's going to be in a position to talk about

       it, but I don't even -- I mean, to the extent I know anything, it's just secondhand.

       don't have a good memory of it.

              Q    Okay. And your partner being?          Sorry.

              A    Peter Fritsch.

              Q    Okay. Thank you.        And your relationship with Perkins Coie, remind

       me, lasted about how many months?

              A    So this is -- so I'm the chief executive, and I generally interface with

       clients, but we have   a division of labor. I don't do the invoicing and I don't keep
       the financial records.   So it's very difficult for me to tell you things that I think you

       have in your financial records anyway.

              But if you're talking substantively, the Perkins Coie engagement ended with

       the election. And whether there was money that came in the door from them after

       that, overhang from the work, would be normal.

              Q    Did your relationship with Perkins Coie involve you doing any work on

       any other candidates, Republican or Democrat?

              A    You mean under this engagement?

              Q    Yes.

              A    That's a great question.    I don't recall . I don't think so.   I think the

       primaries were over and Trump was -- wasn't the official nominee, but he was the

       obvious nominee.

              Q    Were there other engagements with Perkins Coie that are related

       relevant to our matter that you did do research for other folks?

              MR. LEVY:    Can you repeat that question?


                          UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 76 of 166


                                                                                               75
                           UNCLASSIFIED, COMMITTEE SENSITIVE


                              Sure. Were there - he mentioned that there may have been

      other engagements. So I'm asking if there are any other engagements that are

     relevant to our investigation in which they were tasked to do - he and Fusion were

      tasked to do research on whomever.

             MR. LEVY: Are you asking about other engagements with Perkins Coie?

                              Yes.

             MR. LEVY: That are relevant to your investigation?

                    BY
             a    Correct.

             A    Well, I mean, of course, it's your power to say what's relevant and not

      ours, but I don't think there was - we didn't do anything else in 2016 with them.

             Q    Okay.

             A    Sorry.

             Q    That's fine.

             A     I want to -- so just on this question of the finances, we were talking

      about how much money we got from the various clients before, and I think - I think

      it's in the records and I need to just - I'd just like to note that the Free Beacon, I

      don't remember how much they paid us, but it doesn't -- I think it's not $50,000 a

      month. I don't know what it was.

             Q     Okay.     In speaking with them -

             A    And the same with Perkins. I'm sorry, but it's not my strong suit.

             Q     Okay. We'll rely on the record.

             Switching over to your relationship with the Free Beacon, was it your

      position , your relationship and your engagement with the Free Beacon , that you

      were only to do - collect information and research against or on then-candidate


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 77 of 166


                                                                                              76
                           UNCLASSIFIED, COMMITTEE SENSITIVE



        Trump or others as well in that process?

              A     My recollection was that from the beginning of the project it was

        Donald Trump. And if at some point somebody -- so -- and that was my primary if

        not sole focus for the entirety of the project. I can't speak for whether someone in

        my company was asked about something else.

               Q    Okay. So it's possible the Free Beacon also asked your company to

        conduct research on others that were running for President at the time?

               A    It's possible. I don't have knowledge of it.

               Q    Okay. Do you know who would , or would there be any records of it?

               A    You know, I guess we -- yeah.     My partner would be the other person

        that would get a request like that, but beyond that I don't really know.

               Q    Your partner again being Mr. --

              A     Peter Fritsch.

               Q    -- Fritsch. Are there any records of that? Would there be any

        records of that, of documenting what you were hired to work on?

              A     I don't know.

               Q    Do you know who would know?

              A     My partner.

              Q     Peter Fritsch. Okay, thank you.

              Switching gears a little bit, going over to you testified earlier that Mr. Steele

       went to the FBI at a certain point in time, approximately late June 2016. Is that

        correct?
              A     Yeah . I think what I said was he raised the issue of going to the FBI

       with me after the first memo. And I didn't give him an answer or I didn't sign off

       an that. And then he raised it again a few days later.


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 78 of 166


                                                                                               77
                           UNCLASSIFIED, COMMITTEE SENSITIVE



             And by approximately early July, like 1st or 2nd, I had given my assent to

      him doing it as a professional obligation or a citizenship obligation. And then

      that's when he did it, sometime around the 4th of July.

             Q      So in early July, is it fair to say in early July that you knew that

      Mr. Steele had taken some information to the FBI?

             A      I think he said he was going to, and then later he told me he did .

             Q      When did that occur, approximately?

             A      I think it was probably right after the 4th of July.

             Q      Okay. So not like a month later?

             A      No.

             Q      Okay. Did he tell you about any other communications he had with

      the FBI in relation to this matter?

             A      Yes. The -- originally, he told me: I met with them and I informed

      them of my concerns. And they said thank you and said they would get back to

      us if they were going to follow up, if they needed to follow up.

             And we were sort of almost immediately plunged into, you know, a very

      intense situation with regard to the - the hacking attacks that were going on, and

      so it didn't come up again for, you know, weeks if not months.

             Q      Do you know if he, Mr. Steele, informed the FBI about your

      relationship, that is, the relationship he had with you and Fusion GPS?

             A      I don't -- my recollection is that he disclosed that he was doing this for

      a private client, and that he would have disclosed something about who the private

      client was.

             I also don't thir:ik, though , that Chris at this time knew the identity of the

      client. And so initially, at least, he would have been only able to say: . I have a


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 79 of 166


                                                                                                    78
                                 UNCLASSIFIED, COMMITTEE SENSITIVE



        political client, a Democratic client or something like that, which is what I would

        have told him.      So I don't think he was in a position to disclose the identity of the

        client to the FBI originally.

                 Q    I don't mean the client.   I mean you and Fusion GPS.

                 A    I don't know. But probably, because he -

                 Q    Do you know if he did?

                 A   No, I don't.    So there was a long period where we didn't hear from

        them . And then later they got back in touch with Chris and asked for a second

        meeting.

                 Q   Did the FBI ever reach out to you or Fusion GPS in relation to the

        matters that Mr. Steele informed them upon?

                 A   No.

                 Q   You've never heard from anyone in the U.S. Government in relation to
                            I
       those matters, either the FBI or the Department of Justice?

                 A   After the election . I mean, during the election, no.

                 Q   What did you hear after and from whom and when ?

                 A   I was asked to provide some information to the Justice Department.

                 Q   By whom and when?

                 A   It was by a prosecutor named Bruce Ohr, who was following up.

       You know , l can't remember when . It was sometime after Thanksgiving , I think.

                 Q   Thanksgiving of 2016?

                 A   Yes.

                 Q   Did Mr. Ohr reach out to you, or how did that shake out? Originally,

                 A   I think Chris - it was someone that Chris Steele knows.

       think -


                                UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 80 of 166


                                                                                              79
                          UNCLASSIFIED, COMMITTEE SENSITIVE


             Q    I'm sorry. Chris Steele knows who?

             A    BruceOhr.

             Q    Okay.

             A    And I met Bruce too through organized crime conferences or

      something like that.   And Chris said he had been - Chris told me that he had

      been talking to Bruce, that he had told Bruce about what happened, and that

      Bruce wanted more information, and suggested that I speak with Bruce.

             The context of this is that it was after the election. A very surprising thing

      had happened, which is that Donald Trump had won. There was -- we were -- by

      that time, we were enormously concerned about rapidly accumulating indications

      that the Russian Government had mounted a massive attack on the American

      election system and that, you know, Donald Trump or his associates might have

      been involved.

             And there was a lot of alarming things happening, including Donald Trump

      saying things about Vladimir Putin that didn't really make any sense, weren't

      ordinary things for a Republican to say, and, you know-- anyway. .

             So we had alsC? by this time given this information to the FBI, and they had,

      you know, told - indicated to Chris that they were investigating it, and then

      told - apparently told The New York Times they weren't.

             And so it was not clear to us whether anyone at a high level of government

     "'{as aware of the information that Chris had gathered and provided to the FBI.

     And, you know, so we were, frankly, you know, very scared for the country and for

      ourselves and felt that if we could give it to someone else, we should, higher up.

            And so Chris suggested I give some information to Bruce, give him the

      background to all this. And we eventually met at a coffee shop, and I told him the


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 81 of 166



                                                                                                  80
                              UNCLASSIFIED, COMMITTEE SENSITIVE



        story.

                                My time is up. Thank you.

                 Over to you guys.

                                 Off the record. We're going to take a 5-minute break.

                 [Recess.]

                                 We can go back on the record.

                                                  I'm with the minority staff.   I suspect my

        colleague                 may also have questions. He's the                          for the

        minority.

                        BY
                 Q    I wanted to clarify first, if you recall, how many reports did you produce

        for the Washington Free Beacon? I believe you did it on generally a monthly

        basis. So --

                 A    I think what -- I think what I said was that our practice when we begin

        an engagement is to do reports on a monthly basis, ·and that, you know, it would

        have been regular order in this case.

                 I don't recall specifically how many, and I can't really - I mean, it would

        be - it would be -- right, it is covered by client confidentiality, but I also think it

       would be guessing.

                 Q    Okay.

                 A    In general, what happens as an engagement unfolds is that after 2 or

       3 months of producing monthly reports, again, we branch out into subject areas

       and we start producing white papers. And so if an engagement lasts for 6

       months, you can assume that there's a lot of subpapers on individual subjects.

                 Q   So you were employed by the Free Beacon for 8 or 9 months, I


                              UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 82 of 166


                                                                                                81
                          UNCLASSIFIED, COMMITTEE SENSITIVE


      believe, based on your prior tes_timony.      Does that sound about right?

             A    Yeah.    So I think what I said was that we began the work in

      September or October of 2015, and it began to wind down in the spring as the

      primaries began to wind down. And the financial records, there's some lag time in

      financial records, so I don't - I can't say what they show.

             Q    Do you keep copies of all the reports you provide to your clients?

             A    It depends on the case.      Sometimes we - I mean, the work product is

      the property of the client. So we frequently are asked to hand over all of our

      copies or certify that they've been disposed of.

             Q    Mr. Simpson, you mentioned earlier that you did not incorporate what

      has become known as the Steele dossier, that you did not incorporate that into

      your reports, as is your normal practice. .ls that -- am I understanding correctly?

             A    Yes. Yes, that's what I said.

             Q    So did that -- those raw reports, I'll call it the Steele dossier, did that

      product go to your client, Perkins Coie?

            A     I can't answer that, if it did.

             Q    Would you have provided - let me step back.

             Is it fair to say that in the course of your Trump research for Perkins Coie,

      that research included work separate from what Chris Steele conducted?

            A     A large amount of work.

            Q     Moving to a slightly different topic.   In the course of your work for both

      the Washington Free Beacon and Perkins Coie, what other individuals associated

      with President Trump came up in your research who would have been a concern?

            A     There were a large number of other individuals that we looked at that

      were seriously concerning.     And we -- there were numerous Italian organized


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 83 of 166


                                                                                                    82
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        crim·e figures that we identified that Donald Trump had relationships with and

        clearly knew were criminals.

               Q      When you hired Mr. Steele, did you tell him what to look for in his

        research?
               A      No. I -- generally speaking, you know, the challenge is to find

        qualified, reliable people, and, you know, when I have those people, I tend to not

        tell them what to do, much like I tend to push back on people who try to tell me

        what to do.

               Q      Did you tell Mr. Steele what you expected him to find?

               A      No.

               What I will say is I was quite shocked by what he came back with, and what

        I -- the general mandate was to look into Donald Trump's business dealings in

        Russia and to see if he could come up with a little bit more information about who

        is doing business over there and why, you know, in the course of all these trips he

        never seemed to be able to consummate a deal.           So that was the general

        assignment.

               Q      Did you ever task Mr. Steele with finding certain information related to

        his business dealings or anything else?

               A      I think in the latter parts of the project there were things I specifically

        asked about. The one that comes to mind is Michael Cohen. As I mentioned a

        little earlier, I didn't understand Michael Cohen to be a significant figure in the

        Donald Trump world for a long part of this project.
               We eventually began to realize that he was a lot more than, you know, the

        President's sort of pit bull personal attorney and that he was the person who -- I

        mean, a number of things came up in the course of the year.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 84 of 166


                                                                                           83
                          UNCLASSIFIED, COMMITTEE SENSITIVE



             One of the things that we learned that caught my interest was we learned

      from reporters that serious questions about Donald Trump's activities in Russia

      and the former Soviet Union went to Michael Cohen, and that he was the only

      person who had information on that subject or was in a position to answer those
      questions.

             So if you ask about Donald Trump's taxes, it goes to Allen Garten. And if

      you ask about, you know, his position on something, it would go to Hope Hicks.

      And none of these things - these things go - went to Michael Cohen.

                           : I just realized that Congressman Swalwell is in the room, so

      I'm going to turn it over to him.

             MR. SWALWELL: Thank yoLJ, Mr. Simpson.

             And earlier you stated that you didn't think Jared Kushner was relevant

      because of his age, and I had interrupted. I said, I take offense to that.

             But just on Michael Cohen, and I'll turn it back over to our staff. Did you

      ever research whether Michael Cohen had any aliases or other names that he

      used? Did you ever find anything out about that?

             MR. SIMPSON: A little bit. The possibility that he had two passports or

      used a different fom1ulation of his name was something -- I can't remember - we

      asked around about or thought about trying to get information on, but ultimately did

      not.

             MR. SWALWELL: Did you ever come across the name Michael Cohn,

      C-o-h-n, with links, common addresses but different social security numbers?

             MR. SIMPSON: I think my staff probably did come across stuff like that,

      but we didn't make much of it.      It looked like a typo.

             MR. SWALWELL: When it came to Donald Trump Jr., did you have similar


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 85 of 166


                                                                                              84
                             UNCLASSIFIED , COMMITTEE SENSITIVE


         concerns, as you've mentioned with Mr. Cohen and Mr. Kushner, as to his

        contacts with Russians as it related to money or investments for the Trump

        businesses?

                MR. SIMPSON: Yes. · rm trying to remember. In general, we knew from

        the open source work that we had done that Donald Trump Jr. was - had done a

        lot of travel to Russia and was involved in a lot of these discussions, that he'd

        done -- he'd gone to Kazakhstan for reasons that we didn't - we weren't sure of,

        he'd gone to Latvia, and he'd been to Russia. And we eventually formed the view

        that the Russians were very interested in him or that he'd had a lot of deals with

        them.

                I don't remember a lot of specifics beyond that.

                MR . SWALWELL: What is your knowledge of Donald Trump, Donald J.

        Trump , the father's travel to Russia? Can you tell us how many times you believe

        he has traveled to Russia, in your research?

                MR. SIMPSON: I believe that he's been to Russia a minimum of four or

       .five times, and that he's been going to Russia since the late Soviet years.

                And we -- we did spend a lot of time digging into the origins of his interest in

        Russia and his fascination with Russia and it's an interesting tale . I mean,

        it's -he -one of the few people who Donald Trump calls like a good friend is a

        guy named Howard Lorber, who is a real estate investor.

                And Lorber was one of the --one of the early -there was sort of a

        swashbuckling crowd of American investors who moved into Russia in those early

       years when it was really wild. And Lorber --l'm trying to remember the

        names of the other ones, but there was a small group of people and Donald was

       pretty tight with them.


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 86 of 166


                                                                                          85
                          UNCLASSIFIED, COMMITTEE SENSITIVE



             And, again, that was one of the reasons the whole thing struck me as

      mysterious, because it seemed like he had been there, you know, numerous times

      and never come back with a deal. And, you know, there could be an innocent

      explanation for that, which is that he could never find somebody that - you know,

      an honest partner. In any event, I wanted to try to figure that out.

             MR. SWALWELL: Does the name Bennett LeBow sound familiar to

      you?

             MR. SIMPSON: LeBow is an associate of Lorber's, and Liggett-Ducat was

      his company. And they are the ones who, it appears, introduced Donald

      Trump to Russia, from what we can tell.

             MR. SWALWELL: To your knowledge, prior to the 2013 trip for Miss

      Universe, when had he last gone to Russia?

             MR. SIMPSON: There's reporting In the Steele memos about another trip

      prior to that to St. Petersburg.

             MR. SWALWELL: When do you believe that trip took place?

             MR. SIMPSON: I would be guessing.

             MR. SWALWELL: I'm going to yield back to the ranking member. And

      Mr. Castro might have some questions.

             MR. CASTRO:       In all of your research and your review of Trump assets,

      did you come across any reason to believe that any Kushner assets had been

      used to pay off Trump debts or there was any mixing of the businesses by the two

      families and companies?

             MR. SIMPSON: Well, the Jersey City project was - I remember there was

      some Trump involvement in the Jersey City project, which was kind of a Kushner

      branded project.    So there clearly was things that they were doing together.


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 87 of 166


                                                                                                      86
                                UNCLASSIFIED, COMMITTEE SENSITIVE



                    What we heard from people familiar with the story was that the Kushner

           family and their connections were a big attraction for Trump before the marriage

           and that, you know -- I mean , I don't want to   -- I'm trying to be polite about it, but, I
           mean, there was a business element to the whole, you know, connection.                 And I

           will hasten to add that I was not able --

                                : One minute.

                    MR. SIMPSON: -- to confirm any of this, and I didn't share this widely,

           certainly not in any kind of formal way with anyone.

                    You know, the Kushners are ethnic Russian and they, we were told, had

           relationships of their own with Russian capital. And, you know, the exact story I

           think was that their relationships were with the Russian diaspora in the New York

           area.

                    So more broadly speaking, during the ?Os, in the Refusenik era, there was

           a lot of Russian Jewish immigration to the New York area. And a lot of those

           people had -- well, I'll just say there was a lot of immigration, and that community

           is very large, and a Jot of people became very successful and wealthy. And, as I

           understand it, those are the connections that the Kushners have to outside capital.

                   MR. CASTRO: Thank you.

                          BY

                   Q     Mr. Simpson, good afternoon. Thank you for being here.           I'm -

       -           · a member of the majority staff.

                   Switching gears, could you please briefly describe for us Fusion's

           engagement with the Baker Hostetler law firm In connection with the Prevezon

        litigation in the Southern District of New York?

                   A    Sure.   Baker Hostetler is a big Midwestern Republican-oriented law


                                UNCLASSIFIED, COMMITTEE S ENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 88 of 166



                                                                                            87
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      firm that is one of my oldest clients. And I began working for Baker, I believe, in
              1
      2009 or 10, and I've done a number of cases with them. And I generally provide

      litigation support, which Is research, gathering documents, figuring out who to

      subpoena, and sometimes dealing with witnesses and media and other things.

             I think the Prevezon matter was probably the fourth or fifth matter I've done

      with them. They're very serious., sober, reputable attorneys, and I like working

      with them.

             And so they approached me originally in late 2013 with this matter. I didn't

      know anything about Prevezon, didn't know anything. about most of this stuff.

      Didn't know who Browder was, W illiam Browder was.

             But, in any event, the original issue that was presented to me was not really

      a Russia issue, it was a money - it was like a technical question about money

      laundering, which was whether the government cou ld possibly prove that money

      from some specific fraud in Russia went into these projects in New York, these

      real estate projects.

             And John Moscow, one of the partners there, who's an old contact of mine

      from when he was a money laundering prosecutor and I was a money laundering

      reporter, walked me through the technical aspects of the financial transactions.

             And to my - I was skeptical, but he persuaded me that there were some

      assumptions and leaps in logic that were made about the chain of entities and

      banks that raised questions about whether they could really prove that this money

      from over here went to this property over there.

            So I was -- so that was - originally we were retained to help with the technical

                         aspects ·of it. And I think more broadly as it, you know, became -1


                              UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 89 of 166



                                                                                               88
                           UNCLASSIFIED, COMMITTEE SENSITIVE



        guess - well, sorry.

               So I didn't agree to work on it at that time. I believe we discussed it. They

        went away. Then they came back a few months later, which would have been

        early 2014, when it had become more apparent to them that this was going to be a

        significant piece of litigation, and said: We want to br\ng you on for litigation

        support.

               And, again, litigation support, I had done it for them before.   Basically, you

        know, use your journalistic skills to help us gather information, who to subpoena,

        read documents, write analyses of evidence, all of that. And then, as you get into

        the sort of more public phase of a court dispute, help them manage all the public

        aspects as well.

               So while I don't, you know, I don't run a PR firm, part of that is, you know,

        the media aspects of litigation support. So I think - I think the original

        engagement covered all of those things .

               So in the early phase of this, the very first thing that we - I remember

        having to do was help investigate the client.

               So I didn't - we didn't know much about the client. Obviously, the lawyers

       have responsibility to evaluate whether the client is engaged in anything improper,

       and they certainly have to determine the sources of their funds.

              And they represented to me that this was a minor player in Russia , and to

       the -- I couldn't find much on them myself. There was -- you know, it's just a fairly

       obscure real estate company.




                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 90 of 166


                                                                                                           89
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      [5:29 p.m.]

             MR. SIMPSON: You know, I don't know the entire landscape of oligarchs

      in Russia, but these guys are obviously not significant oligarchs in Russia. That's

      what we could tell.

             In any event, the first thing that a lawyer wants to know at !he beginning of

      a case like this, and most cases, is whether their client's story is true. So that was

      the first thing that we did was we interviewed the client. They interviewed the

      client and got the client's story.

             And the client's story was that these allegations that were in this Justice

      Department forfeiture complaint originated with an organized crime figure in

      Moscow, who had been blackmailing them and had been prosecuted, arrested and

      prosecuted for blackmailing them.

             So we had to investigate whether that story was true. So we, you know,

      spent a long time looking at this guy. His name is Dimitry Barenovsky (ph). And

      the story that Natalia Veselnitskaya provided to us was that he was a captain in the

      Solntsevo brotherhood, which is the dominant mafia family in Moscow and known -

      you know, it surfaces in parts of the Trump story, bizarrely, and was run by a guy

      named Semien Mogilevich.

             So Natalia is the one telling us the this story because she is the lawyer for

      Prevezon and had apparently been involved in this extortion matter, and so she's

      got all the information from the courts about this alleged shakedown. And she

      was introducing me as some kind of former government lawyer who's the one who

      hired Baker.

             S o I worked for B a ke r , a nd s h e 's th e o ne wh o hire d B ake r.   I didn't get t o

      introduced to her originally. This was information she provided to Baker that they


                            UNCLASS I FI ED, COMMITTEE SENSIT IVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 91 of 166


                                                                                               90
                              UNCLASSIFIED, COMMITTEE SENSITIVE



        then provided to me.

                  In any event, we eventually were able to confirm that the story was basically

        true, that this guy was a gangster, he was known to western law enforcement as a

        gangster, and he, in fact, had been prosecuted and thrown in jail for this extortion

        racket.

                  So then the question was, well, how did this story get from a convicted

        gangster in Moscow into a Justice Department forfeiture complaint? And so the

        lawyers, the Baker lawyers deposed a government agent, an ICE agent who did

        the work, did the investigation, and he said he got it from this businessman named

        William Browder.

                  And so then the question became, well, where did Browder get it from?

        Did he get it from the gangster, or was it, you know, from some other source? So

        we began to try to do various types of discovery to figure all that .out.   So I may

        have -- I don't know if I'm giving you too much here, but this is basically the origin

        of this case.

                  So over the course of 2014, most of what I did was looking at this Russian

        organized crime figure, looking at, you know, all the events around the extortion

        case in Russia, and had to try to help them to figure out how all this information

        somehow made its way into a Justice Department civil forfeiture complaint.

               And eventually, that led us to Mr. Browder, who is a former American

        citizen, who gave up his citizenship and moved - when he started making a lot of

        money in Russia. and was living in the UK. And he didn't want to explain any of

        this to us.

               We originally wrote him a letter. The lawyers wrote him a letter saying, can

        you tell us what's going on here, and he declined. And so then the lawyers asked


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 92 of 166


                                                                                            91
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      me to figure out how we could subpoena him. So I found that his hedge fund was

      registered in Delaware and therefore had corporate presence in·the United States,

      which meant that, theoretically, at least, he can be subpoenaed through his hedge

      fund because he was listed as an officer in the records.

             So we subpoenaed the hedge fund. We then retroactively filed new

      documentation with the SEC, taking his name off the record, said it was all a

      mistake. And he said you can't subpoena me.       I'm not really an officer of that

      hedge fund.

             So we were, you know -- that was litigated for a while. And meanwhile, the

      lawyers said, see if you can figure out another way to subpoena this guy. And his

      position was that, you know, he was -- you kflOW, he had brought this case to the

      Justice Department but he didn't want to be questioned about bringing this case to

      the Justice Department, and that he was immune from being questioned about it

      other than through the Hague process because he's a foreign citizen .

             So, you know, we knew he was appearing in the med ia a lot, and then he

      probably came to the U.S. to do media appearances and other events. And so

      we began to look at that, and I just began doing what l would normally do, which is

      to look at other things about this witness, what else do we need to know about this

      witness, especially because they don't want to be open with us.

             So eventually l discovered that he owned a mansion in Aspen, Colorado, or

      at least he ·seemed to.   He was connected to it by real estate records and OMV

      records, but it was held through some shell companies.

             Anyway, we were looking at that, and l don't remember the exact sequence

      of events , but som eone. I think the lawyers or maybe me and my staff, discovered

      that he w~s going to be in Aspen for an event.   So we organized a service, a


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 93 of 166


                                                                                            92
                           UNCLASSIFIED, COMMITTEE SENSITI VE



        subpoena service, which I supervised.

              And we had a private investigator, a lawyer, and another, I think, Pl and,

        you know, we organized to confront him in the parking lot of the Aspen Institute

        and serve him a subpoena. And when we did that, he ran away, so jumped in his

        limo and -- or his SUV and went back to his mansion.      So dropped the subpoena

        on the ground.
               So that commenced a lot more litigation over whether we had adequately

        served him a subpof::na, whether a subpoena in Colorado is valid for an action in

        New York. And, you know, I was -- that was a lot of what l did.

               His resistance to cooperating with the civil process, of course , made us

        more curious about why he was, you know, determined to not cooperate with the

        civil process, and to the point of changing lawyers, hiring ever-more expensive law

        firms, and spending what must have been large sums ·Of money to not cooperate

        with a civil subpoena. And so that made me curious about why he didn't want to

        cooperate.

               And I'll add parenthetically that when I was working as a reporter and living

        in Brussels and investigating Russian corruption and organized crime, I had met

        Mr. Browder and asked him for help investigating Vladimir Putin, and he had

        lectured me on Putin not being corrupt and being a bit - someone who's very

        helpful to -- the best thing that· had happened to Russia in a long time.

               And at that time, Browder was making a lot of money in Russia. So

        anyway, so in light of all of that, I became curious and it was part of my job to

        investigate the activities of Mr. Browder in Russia and his hedge fund in Russia.

               And so, you know, in 2014 and I think 2015, we spent a lot of time looking

        into his hedge fund in Russia and how they made their money, who their clients


                           UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 94 of 166



                                                                                                93
                            UNCLASSIFIED, COMMITTEE SENSITIVE



      were, in addition to, you know, litigating all these other issues about whether we

      had served him adequately.

              We discovered, you know, many things about his activities iri Russia and

      his general finances, his pattern of avoiding taxation, his use of offshore shell

      companies and tax haven jurisdictions, particularly in Cypress and the BVI.

              We identified a number of his clients. And, you know, we kept trying to

      subpoena him. Eventually -- again, he kept saying I have no connection to the

      U.S., I never go there, we kept finding more houses. We found            a house in New
      Jersey.    All of this is in the court record, and it's all public information.

              Ultimately, we found him in New York City, outside of The Daily Show, and

      served him a third time . And this time we taped the whole thing, and he did the

      same thing . He jumped out of the limo and he dropped the subpoena and he ran

      away, so - but this time it was all on tape and we had already litigated all this.

      And the judge was very familiar with this scenario.

             And , you know, as all the other discovery was taking place, it became more

      and more apparent that, you know, Bill Browder had taken this information and

      given it to the government and th at, you know, he was the source of these

      allegations. And so it became more and more important to understand why he

      was making these allegations and, you know, whether he had any basis to do so.

                               We'll leave it there for now. Thank you.

              MR. SCHIFF: Mr. Simpson, just to follow up, y ou mentioned that one of

      the things that you found suspicious was that Mr. Trump would go to Russia or his

      son wou ld go to Russia, and they seemed to have a great interest in Russia but

      n eve r c a m e b ack with any d eals.

              MR. SIMPSON: Yes.


                           UNCLASS I FIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 95 of 166


                                                                                               94
                               UNCLASSIFIED, COMMITTEE SENSITIVE


                 MR. SCHIFF: And what was your suspicion that they did come back with?

        Are you suggesting that what they came back with was not a real estate deal but

        rather -- or not a real estate deal in Russia but rather Russian money that would

        be used in Trump properties?

                 MR. SIMPSON:      No, I'm not suggesting that.    I mean, you know, there is

        my state of mind at the time and what I think now or what we eventually began to

        think.   I honestly didn't have any preconceived notions about what was going on.

        I found it puzzling.
                 And, I guess, my initial thought was that he, you know -- I mean, the wrap

        on Donald Trump is he says he's a great businessman, but he's really not a great

        businessman. And he talks a good game and a lot of it is baloney. And so, you

        know, I thought -- one of the things I thought was that he wants to do a deal in

        Russia, but his lawyers won't let him because of the FCPA.

                 And that every time he gets close to closing a deal in Russia, it gets shot

        down by his own lawyers because they think he's going to get prosecuted for

        some sort of corruption offense. And that was my hypothesis, I would say, in the

        early part of this.

                 What I later came to believe was that he was, in fact, developing different

        kinds of business relationships with the Russians than, you know, the sort of

        marquee thing that he always talked about, which was building a tower in Moscow,

        and that. in fact, you know, he'd found other ways to profit from his relationship

        with that.
                 The Miss Universe contest was a profitable venture for him, and I don't think

        we have a ~ull accounting of, you know, how much he got paid and where the

        money came from for putting that on in Russia.      But we know that it was -- what


                               UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 96 of 166


                                                                                             95
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      we've seen is that it was 10 million, and I think it came from the Agalarovs. · So
      that was one.

             There's the Trump vodka business that was earlier. And then ultimately,

      you know, what we came to realize was that the money was actually coming out of

      Russia and going into his propert(es in Florida and New York and Panama and

      Toronto and these other places.

             And what we, you know, gradually begun to understand, which, you know, I

      suppose I should kick myself for not figuring out earlier, but I don't know that much

      about the real estate business, which is I alluded to this earlier, so, you know, by

      2003, 2004, Donald Trump was not able to get bank credit for - and If you're a

      real estate developer and you can't get bank loans, you know, you've got a

      problem.

             And all these guys, they used leverage like, you know -- so there's

      alternative systems of financing, and sometimes it's -- well, there's a variety of

      alternative systems of financing. But in any case, you need alternative financing.

             One of the things that we now know about how the condo projects were

      financed is that you have to -- you can get credit if you can show that you've sold a

      certain number of units.

             So it turns out that, you know, one of the most important things to look at

      is -- this is especially true of the early overseas developments, like Toronto and

      Panama -- you can get credit if you can show that you sold a certain percentage of

      your units.

             And so the real trick is to get people who say they've bought those units,

      and tha t's where the Russians are to be found, i s in some of those pre-sales, is

      what they're called . And that's how, for instance, in Panama they got the credit


                          UNCLASSI FIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 97 of 166


                                                                                              96
                              UNCLASSIFIED, COMMITTEE SENSITIVE



         of- they got a - Bear Steams to issue a bond by telling Bear Stearns that they'd

         sold a bunch of units to a bunch of Russian gangsters.

                And, of course, they didn't put that in the underwriting information, they just

         said, we've sold a bunch of units and here's who bought them, and that's how they

         got the credit.   So that's sort of an example of the alternative financing.

                Now, the other way that he got financing was by not being an equity partner

        in the project, finding an equity partner and offering, you know, licensing or

        marketing arrangement where, you know, he was the, you know, the brand.

                But, you know, what I began to conclude was that the Trump brand is a

        mixed brand and that, you know, he may have had other ways of lining up buyer

        interests showing that he had buyer interest to his equity partners and telling them

        we've got lots of Russians who are going to buy these properties, and that's why

        we should do this project.

                  And I think the Trump Hollywood is an example and the Sunny Isles Beach

                             are some of the best domestic examples of that kind of interplay.

                MR. SCHIFF: And tell me about the Trump Hollywood project. That was an

        example of the latter or the former? Did they get the financing from what you could

        tell because they got a bunch of Russians to presale, or did they go to a

        bank and say these are our investors, or how did they go about that?

               MR. SIMPSON: Well, eventually, I mean, they lost the project. It went

        under. I, can't - I'm not - I'm sure we did look at who the creditors were, who the

        lenders were . This is the project that Sergi Millian appears to have been involved

        in, and there's a picture of Jorge Perez, Donald Trump , and Sergi Millian.

               And he tells a story about meeting Donald Trump at the golf -- at a

        racetrack, drinking a bottle of Crystal with him , seems -- he gave him some


                             UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 98 of 166



                                                                                             97
                          UNCLASSIFIED, COMMITTEE SENSITIVE


      Crystal. And that was in the early phases of the project. So it was clear that

      Donald Trump -- so the equity partner was the related group.

             It was clear that this Russian had been brought into this with Trump, and

      what you can surmise from that is that he's there to say there ~ue buyers. We can

      bring you buyers for this property. And that's what a developer needs to know is

      that he's got buyer interest.

             MR. SCHIFF: And how does it work? Let's say Sergi Millian or someone

      else lines up the Russian buyers. The Russian buyers sign presale agreements.

      Trump can then get financing for the res! of the proj~ct. Do the buyers go through

      and buy the properties, or is that no longer necessary, once you've obtained the

      bank financing you can actually sell them to real people?

             MR. SIMPSON: So it's fraud if they don't.      I mean, you have to warrant to

      the lender that you've already sold X number of units. And there's supposed to

      be contracts, downpayments, all of that sort of thing. So in the case of Panama

      where the evidence is the most vivid, there's - the buyers were fake. I mean,

      they were real people. They just never paid.

             MR. SCHIFF: And you say the evidence is most vivid, is it -- did this come

      out in Panama Papers? How do you know that this is the case?

             MR. SIMPSON: This - it's in public records. I mean, I think there's media

      interest in this, and there's going to probably be more stories about it. But I've

      heard about it.   It's been -- there's lawsuits that we found during the election by

      some of the later buyers alleging that the earlier buyers, that it was a fraud, and

      describes marketing events at Mar-a-Lago with Trump and various Russians

      where, you know, it's clear that Trump is working with Russians to sell th ese

      condos in Panama and some of the -- you know, the project, like all these projects,


                          UNCLASSIFIED, COMMITTEE SENSITIVE
                 Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 99 of 166



                                                                                                                     98
                                               UNCLASSIFIED, COMMITTEE SENSITIVE



                           eventually went belly up, and -- although I think it did get built.

                                  Anyway, so these lawsuits were the original - were the source of the

                           original allegations. And I believe there are lawsuits in Toronto with similar

                           allegations and the guys connected to the Toronto project are Russian mafia too.

                           And, in fact, there's Toronto-based Russian mafia guys who are involved in the

                           Panama project.

                                  And in any event, so the origin of the allegations is defrauded puyers. The

                           real chumps or the marks are the guys at the end of the process who come in

                           thinking that they're going to be moving into a building that's already got all this,

                           you know, financing and other tenants and it turns out that those people have

                           walked away.

                                  MR. CASTRO: Could I ask a question, Adam?

                                  MR. SCHIFF: Yes.

- - - - - -- - -- - -1MR.-CAS-i=RO;...._Ihei:e....was..repo.r:ting, I tbinkJ.o_the        New York Times or in
                          the press about Jared Kushner and lvanka Trump being looked at by the

                          Manhattan DA, I think, because of the same principle that they were

                          essentially - the idea that they were fabricating the percentage of the units that

                          had been sold basically to hook in more buyers. Did       you look at that project at
                          all?

                                 MR. SIMPSON: Well, that was the Trump So Ho, and that project was

                          riddled with fraud, but I had not heard that allegation prior to those stories.   But it

                          is, in fact -- I mean, that's a good observation.   I had the same observation, which
                          was it does resemble the allegations from these other projects.

                                 MR. SCHIFF: You mentioned earlier that not eve_
                                                                               rything that Christopher

                          Steele found or came up with made it into the reports because there was certain


                                              UNCLASS IFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 100 of 166


                                                                                            99
                            UNCLASSIFIED, COMMITTEE SENSITIVE


       things that either couldn't be verified or might be the subject of Russian

       disinformation._

              Is there anything now, with the benefit of hindsight with the allegations that

       have become public, that would cause you now to think, well, actually, what he

       came up with that we excluded from the report may have been accurate after all?

              MR. SIMPSON: No. Actually, I mean, I'm --what I think I was saying

      when you were out of the room was it would - it's a microscopic kind of thing .

      There's very little that we did that is actually in the dossier. You know, there

      are -- I was trying to think of an example, and I had trouble coming up with one, of

      something that we discarded because we didn't believe it.

              MR. SCHIFF: And didn't you, during the course of your work, uncover any

      information regarding a connection between Trump or those around him and

      Wikileaks?

              MR. SIMPSON: Yes. I mean, you've seen some of the public reporting .

      W e gradually -- I mean, this would be separate from the Steele stuff, but, you

      know, we gradually towards the end of the project became very interested in -- you

      know, Roger Stone bragged about having his contact. We tried to figure out who

      the contact was.

             We started going into who Stone was and who his relationships were with,

      and essentially the trail led to sort of international far right. And, you know, Brexit

      happened, and Nigel Fa rage became someone that we were very interested in,

      and I still think it's very interesting.

             And so I have formed my own opinions that went through - th at there w as a

      somewhat unacknowledged relationship between th e Trump people and th e UKIP
      people and th at the path to Wikileaks ran through that. And I still think that


                            UNCLASSI FIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 101 of 166


                                                                                             100
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        today.

                 MR. SCHIFF: And when you talk about the connection between the Trump

        campaign and the Brexit campaign, is that a line you're drawing through

        Cambridge Analytica, or were there other lines you were drawing there?

                 MR. SIMPSON: Well, Bannon went over to the UK in or around 2011.

        And originally, he was trying to set up a sort of British tea party, which was an

        inopportune choice of

                 MR. SCHIFF: The anti tea party.

                               One minute.

                 MR. SIMPSON: And so, you know, some of it - so there's -- it really isn't, I

        don't think, that Cambridge is the nucleus. I think that it's   there's some Bannon

        connections. I know there's - and there's some other Bannon Stone associates, a

        guy named Theodore Roosevelt Malloch, who was - is an American who was

        living over there and associating with UKIP and, I believe, is a significant figure in

        this.

                 So I don't - l had had some run into Cambridge and Analytica previously,

        and I would - there was a lot of skepticism about whether they really were capable

        about doing anything or whether they were just selling snake oil, and that was

        certainly my view when I first heard about them years earlier. So I don't view them

        as nucleus. The Mercers, I think are significant.

                 MR. SCHIFF: And, I mean, were you able to find any factual links between

       the Mercers and Assange orWikileaks or Farage?

                 MR. SIMPSON: Well, I mean, the things that we heard, which, you know, l

       think could be sorted out by an official inquiry are that Nigel Farage made a number

       of trips to New York and had a number of meetings - Nigel Farage and


                              UNCLASSIFIED,COMMITTEESENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 102 of 166


                                                                                           101
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      Air Bank had a number of trips to the U.S., and thql they sort of - that there's been

      a misrepresentation of the length of that relationship and the extent of it.

             There's -- I've been told and have not confimied that Nigel Farage had

      additional trips to the Ecuadoran Embassy than the one that's been in the papers

      and that he provided data    to Julian Assange.
             MR. SCHIFF: What kind of data?

                               Time is up.

             MR. SCHIFF: Can we just get an answer to that.

             MR. SIMPSON: A thumb drive.

             MR. SCHIFF: Thumb drive. Thank you .

                                             EXAMINATION

                     BY

             Q     Just a couple questions, Mr. Simpson.

             Did the DNC or the Hillary Clinton campaign for presidency ever direct

      Christopher Steele to discuss the contents of his dossier with the media that you're

      aware of?

              A    I was the one that directed him to do that.

              Q    Okay. When did you direct Christopher Steele to discuss the

      contents of his dossier with the media?

              A    I think that there was -- I believe it was late -- it was sometime in
      September or October. I hesitate to be too specific because it's a little blurry.

              Q    Of 20167

              A    Yes, sir.

              Q    Did you do that of your own volition , or did you do that at the direction

       of a client or another entity?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 103 of 166


                                                                                               102
                            UNCLASSIFIED, COMMITTEE SENSITIVE



               A    I want to be as helpful I can without getting into client communications.

        So I guess I would like to say generally, I mean - generally when

        reporters - when we have to deal with the press, we would inform our clients that

        we were doing -- you know, in any case if you're dealing with the press, it's

        incumbent on you to, you know, make sure your client knows that.

               Q    Right    So are you saying it's a particular client confidentiality that

        prevents you from asking - answering who, if anyone, directed you to have

        Christopher Steele go to the media with the dossier information?

               MR. LEVY: First, I'm not sure you characterized his testimony correctly;

        but second, he has been as helpful as he can be with this question without getting

        into confidential client communications.

                            : No, I understand. ·J'm just trying to look for which

        confidential client communication he's referring to, because certain clients have

        provided disclosures and relief from that confidentiality agreement.

               MR. LEVY: This client has not authorized Mr. Simpson to discuss

        confidential client communications.

                            : Okay. So this client would not be then Perkins Coie?

               MR. LEVY:     Perkins Coie has not authorized Mr. Simpson to discuss client

        communications.

                              This specific communication?

               MR. LEVY: Any.

                              Any.   So their statements in - that th e gene ral couns~I for

        Perkin s Coie wrote releasing Fusion GPS from client confidentialities, are you

        aware of that? Are you -

              MR. LEVY:     That letter releases Fusion GPS from no longer protecting the


                            UNCLASS IFIED , COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 104 of 166


                                                                                                103
                          UNCLASSIFIED, COMMITTEE SENSITIVE



       identity of the client. It does not release Fusion GPS from client communications .

                              I understand. So if Perkins Coie were to at some point in

       the future provide such a disclaimer or a release, would you then be in a position

       to answer that question?

              MR. LEVY:      We'd have to look at it and -- but if it released our client from

       confidentiality, we'd take that under advisement and talk to their counsel and --

                          : Okay.

              MR. LEVY:      I want to make sure we're not waiving other privileges that

      we've asserted in this investigation as well, including the First Amendment, but --

                     BY
              Q    And my last question for you, Mr. Simpson, is why did you go to direct

       Mr. Steele to go to the media with the information in the Steele dossier?

              A    Sure. Well, so there were two instances of this or rounds of it, and I

      think I was beginning to recount this earlier.    In the -- in whatever the first round

      was, I assume it was sometime in mid-September or early October, it was mainly

      about telling the press, a few high-level members of the national security press,

      and the, you know, top-level press that we had information that there was a

      Russian intelligence operation that the Russians were engaged in, you k~ow, that

      this was more than just hacking, and that there was a major effort to interfere with

      the election, and that it allegedly involved the Trump qrganization.

             And the reason for that, the motivation for that was mainly because I

      thought that this was historic and that it was something the press needed to

      investigate and know about and ask the Intelligence Community about because I

      wanted to expose It.

              But, you know, we were operating under the assumption at that time that


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 105 of 166


                                                                                              104
                            UNCLASSIFIED, COMMITTEE SENS I TIVE



        Hillary Clinton was going to win the election and so there was no urgency to it.

        And there was an assumption on my part that nothing would be published about

        any of this any time likely before the election, and l wanted to tell them about it

        because that was when it was happening.

               But I didn't, you know -- it was -- basically in a political campaign, you know ,

        when you get past Labor Day people stop publishing stories that could be

        perceived as a late hit or an October surprise or some kind of a stunt.

               And so, you know, in a presidential campaign you're sort of winding down at

        that point. You know, all of the information that you needed to gather for debates

        or political ads or anything like that, it's all been gathered .

               And so - anyway, so we wanted people to know. And we were also of the

        view by that point -- we'd been doing the research for two-plus months -- we were

        of the view that there was really something here, that this W?S really bad, and that

        there was some serious allegations that it wasn't just Russians.     It was Russians

        working with Americans.

               So that was round one. Then -- and indeed, no one ran off and wrote a big

        story about how Russian - how a British spy is -- thinks that, you know, the

        Russians are working with the Trump people.

               Thete were , you know, a trickle of stories, you knqw, I guess more than a

        trickle, but there were some very limited stories about people associated with

        Trump having connections to the Russians . And I can remember specifically

        there being stories about Carter Page and his trip to Moscow and the fact that that

        was something that was of FBI interest, and that Carter Page stuff is something

        that we covered with the media.

               But anyway, so none of that made a dent in the sort of general coverage ,


                            UNCLASSIFIED, COMMITTEE SENSITI VE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 106 of 166


                                                                                        105
                          UNCLASSIFIED, COMMITTEE SENSITIVE



       and it didn't bother me because I wasn't expecting any of it to really make a dent.




                           UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 107 of 166


                                                                                               106
                             UNCLASSIFIED, COMMITTEE SENSITIVE



         [6:05 p.m.]

                MR. SIMPSON: Come the end of October, some extraordinary things

        started happening. The Russians -- WikiLeaks releases John Podesta's emails,

        and then, you know, most extraordinary of all, James Corney sends a letter to
                                                                                           I


        Congress saying he is reopening the Hillary Clinton email investigation. And that

        was , I believe, around the 25th. And, you know, if you are me, you know, and you

        have been in politics and campaigns and investigations, and this is your whole

        world, and you have been doing it basically since you got out of college, you know,

        one of the things that you -- that is really ingrained in you is the rules of

        Washington -- and when I say rules, I mean like regulations of the Justice

        Department about interfering with an election.     It is not something that you are just

        aware of as a technical requirement, it is something the people embrace, which is

        that law enforcement shouldn't interfere in elections by announcing investigations

        of people at the last minute.

               And so we were shocked, and I felt - I mean, I guess I was angry.        But in

        any case, you know, the result of that was predictable, which is that, you know, it

        began to influence the election. And, so, we tried to decide how to respond to

        that. And when I say "we," I mean like me and my little, you know, company, and

        Chris and, you know -- I didn't have any dealings with Mrs. Clinton or any of these

        other people. They were dealing with -- that was their thing . But I was sitting on

        this piece of knowledge, which was that, in fact, the FBI was investigating the·

        Trump organization for possibly having illegal dealings with the Government of

        Russia. And you can imagine if you are me or Chris Steele and we have been

        sitting here working --

                         and they seemed to be very seriously running a


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 108 of 166


                                                                                          107
                           UNCLASSIFIED, COMMITTEE SENSITIVE



      counterintelligence/espionage investigation of the Donald Trump organization, and

      all of a sudden they announce that they are reopening Hillary case, you know,

      you're kind of, what's going on here?

             So at that point, I, of course, was really confused, and I would say Chris

      was a little scared, because he didn't -- he thought that - he didn't really

      understand what was going on with the FBI. In any event, at that point I felt like

      the rules had just been thrown· out and that Corney had violated the sort of one of

      the more sacrosanct policies, which is not announcing law enforcement activity in

      the closing days of an election.

             And so, we began talking to the press· again about -- we decided that if

      James Corney wasn't going to tell people about this investigation that, you know,

       he had violated the rules, and we would only be fair if the world knew that both

      candidates were under FBI investigation.

                    BY
              Q    Which outlets in the press were you talking to?

             A     I am not going to answer that.

              Q    Okay.   Do you know John Podesta?

             A     I have known John since he was working in the Clinton administration.

              Q    Had you met with Mr. Podesta in the fall in the election campaign

      season?

             A     No.

              Q    So you never met with Mr. Podesta in September or October or

       November of 2016?

              A    N o.

              Q    Had you had any communications with Mr. Podesta from, say, May


                           UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 109 of 166


                                                                                             108
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        of 2016 through November of 2016 regarding the matters we are discussing

        today?

                 A   No.   I don't think so.

                 Q   So have you ever exchanged or has he ever requested, he being John

         Podesta, information regarding the Steele dossier or its contents on behalf of the

         Hillary Clinton campaign from you or your company, Fusion GPS?

                 MR. LEVY:    Just to clarify your question, because it got fast, you are

        talking about during that same time period , May to November 2016?




                 Q   Let's go May through November 2016.

                 A   No.

                 Q   Any time before May that you ever communicated with       Mr. Podesta
       · about that information?

                 A   No. I think the -- as I say, I knew John when I was covering the

        Clinton scandals and he was in the White House working for Bill Clinton. And I

        saw him now and then on the subway after that, and I didn't see him or talk to him,

        or, to my recollection, have any other kind of communication with him in 2015 or

        2016.
                 Q   So to the best of your memory, you never met with him or had any

        communications with him during those 2 years?

                A    That's right.

                             : Thank you.



                Q    So earlier a moment ago you were discussing how after Corney sent


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 110 of 166


                                                                                             109
                            UNCLASSIFIED, COMMITTEE SENSITIVE



       this memo reopening the Clinton investigation, you said we had to decide how to

       respond . Who is "we" in that statement?

              A     It's mainly a reference to myself and to Chris. You know, it was

       mainly between Chris and myself.

              Q     Anyone else?

              A     You know, I am not going to get into client communications, but, you

       know, I was still working for a client at that time.

              Q     Did you discuss with your client how to respond?

              MR. LEVY:      I think that is confidential.

              MR. SIMPSON: I am not going to give you that.

                     BY
              Q    And you said that the response you decided on was to inform the

      press that both candidates were under FBI investigation?

              A    Well, what I thought was appropriate was for -- to give the press

      enough information so that they could go to the FBI and ask them if both

      candidates were under investigation. So what we more specifically did was , you

      know, we told them that, you know, we had given this information to the FBI and

      that, you know, we thought the FBI was probably investigating, and that they

      should ask the FBI if, in fact, they were investigating. And so they did. So the

      FBI, it appears, told them they weren't investigating.

              Q    Did you testify earlier, it was your opinion as a Washington veteran

      that you thought Mr. Corney's statement, or letter, might improperly or irregularly

      influenced the outcome of the 2016 Presidential election?

             A     I am sorry, could you repeat that?

              Q    I believe you testified earlier, and I just wanted to confirm, that you


                           UNCLASSIFIED, COMMITTEE SENSITIVE                 ·
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 111 of 166


                                                                                                  110
                              UNCLASSIFIED, COMMITTEE SENSITIVE


         thought Mr. Corney's letters to Congress and/or statements concerning the

         reopening of the Clinton investigation might improperly have an influence on the

         outcome of the 2016 election?

                A    It's my understanding that -- it was my feeling at the time he had

         violated both the norms of our campaigns and Justice Department policy by

         disclosing or announcing or taking those kinds of investigative steps within

         2 weeks of Election Day.

                Q    And one of the reasons those norms were in place or you thought his

         actions were improper, is that there was at least the very high potential for those

         actions to influence the 2016 election.     Isn't that right?

                A    Yes , it is.

                Q    So by deciding what you were going to do in response once the, as

        . you said, the rule book had been thrown out the window, was it also your purpose

         or intent to counterbalance Mr. Corney's actions by potentially influencing the

        outcome of the election?

               A     Well, I guess I would put it a little differently.   So, I mean, the first

        thing that happened when this FBI stuff came out was that we were totally

        shocked. And Chris was concerned that something was happening at the FBI

        that we didn't understand, and that there may be some political maneuvering or

        improper influence. And , so, we were very concerned that the information that we

        had about the Russians trying to interfere in the election was going to be covered

        up. And this was some really bad stuff. We were now in late October, and It was

        clear that there was a massive attack on our election system by the Kremlin . And

        that it was, you know, a crisis, and that, you know, so we felt that this needed to be

        exposed.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 112 of 166


                                                                                             111
                          UNCLASSIFIED, COMMITTEE SENSITIVE


             And so it wasn't so much, you know, a case of, you know, tit for tat as that

      we didn't really understand what's happening,     anq it.was really bad stuff that was
      happening, and if the press is going to be writing about all these investigations, we

      should expose this stuff.

             Q     And was the purpose or intent of the exposure to potentially affect the

      outcome of the election?

             A     It was to expose a sinister plot by Vladimir Putin, a hostile foreign

      power, to attempt to alter the outcome of an American Presidential election. And

      that was the goal. You know, and again, I mean , basically our behavior after the

      election was of the same ba.sic character. At some point, it became about

      blowing the whistle on this. And I would say that was the point at which it was a

      lot bigger issue. And as an ex-journalist, I still have a little bit of that in my blood,

      and I wanted to expose it for the sake of letting people know what's going on.

             Q     And did you discuss that plan to expose this information with Perkins

      Coie, the Clinton campaign, or the ONG?

             A     I am going to _decline to answer that.

             MR..SCHIFF: Mr. Simpson, I want to ask you a very open-ended question,

      because a lot of the information has been very helpful, but l am concerned that we

      may not know the right questions to ask you. So let me ask it in a very general

      way. You know the parameters of our investigation. We are interested in any

      contacts between then-candidate Trump, his family, his campaign, and the

      Russians. We are particularly interested in any of the Russian active measures,

      any leverage the Russians may exert over the President or his team.

             You h a v e itemize d a number o f things , including Russian m o ney involved in

      transactions with Trump properties, and suspicious activity potentially between the


                          UNCLASSIF IED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 113 of 166


                                                                                                 112
                                UNCLASSIFIED,COMMITTEESENSITIVE



         campaign, Nigel Farage and Assange-Wikileaks.Are there other issues that came

         to your attention that are not contained in the Steele dossier that you

         think we ought to be aware of that you either were able to substantiate in part, or

         you were not able to fully investigate but you think that, in the exercise of due

         diligence, that we really need to?

                   MR. SIMPSON:      So I guess the first one that I think that we haven't

         covered at all, would be the Center for the National Interest and the people

         involved in the Center for the National Interest. And among other things - well,

         importantly Dimitri Simes is known in the Russian expat community as a

        suspected Russian agent. And I believe he is known to the FBI as a suspected

         Russian agent. And I think that you could develop more information in that area

        from talking to Russian intelligence defectors and people who come to this country

        and have been given refuge from Russian intelligence.

                   There are a number of Russian defectors who, I think, maybe could speak

        to that.     I think there are some records around that might reflect some of that.

        And I think that is -- given their fundamental role in creating the Trump foreign

        policy, I think that is a really important area.    I think talking to Russian intelligence

        defectors in general about what they think was going on and what they've heard is

        probably a useful thing to do.

               I think that the origins of the Manafort-Stone-Trump relationship is an

        interesting area. I have looked, spent a lot of time looking last year at Roger

        Stone - you know. Roger Stone made a joke at one point about how Paul

       Manafort had disappeared, and he was last seen like carting bags of cash onto

       Yanukovich's plane or something like that.          You know, Roger Stone has done

       work in Ukraine. He did work in Ukraine around the same time as Manafort.


                              UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 114 of 166


                                                                                               113
                           UNCLASSIFIED, COMMITTEE SENSITIVE


              And I thf nk he has a little more knowledge of Manafort's Ukrainian activities.

      And they both - Stone was a protege of a Republican political fellow named Arthur

       Finkelstein, who hired him to work on the Nixon campaign. And Finkelstein was

       one of the first consultants to really appreciate how to target voters in a way that

      somewhat resembles the way the Trump campaign and the Russians did. And he

      spent many years -- he worked -- Finkelstein worked with Stone and Manafort in

      Ukraine in or around 2005, 2006, for the same cast of bad guys. And later went

      off to Hungary to work for the pro-Russian prime minister there, Victor Orban, and

      went into business over there. A~d there is a lot of allegations coming out of the

      Hungarian expat community about all of that. And, so, I think that is an important

      area. That is one of the -- you know, we've picked up that Hungary is inside the

      EU, and it's essentially -- you know, Orban is essentially a Putin puppet and the

      GRU has a big station there, and there is a lot of unexplained travel by various

      people. And we have heard a lot of rumors about that, and a lot of allegations

      since beginning of last year.

              MR. SCHIFF: And I mean this is obviously a public transcript, we know

      about Carter Page's travel there. Are there other individuals -

              MR. SIMPSON: Well, it was our information that Gorka had been there

      about three times. At least two of those he tried to keep low profile.     I am told

      J.D. Gordon did, but I don't know -- I just don't know whether that is reliable. I

      guess this is transitioning into another area, if you are interested in looking at

      things, is, you know, the European travel of certain people. And I would include

      Jared and lvanka in that.

             And there is a very puzzling sequence of events that we spent a lot of time

      looking at -- first of all, I will just back up and say, you know, travel records . My


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 115 of 166


                                                                                              114
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        assumption is that, you know, the FBI or the Special Counsel, like one of their

        methodological first steps would be to get all the travel records for all these

        people, as they are relatively doable if you are in law enforcement. And I think

        that would tell you a lot.   But there is a specific sequence of event_
                                                                              s that has

        intrigued us for a long time, where Cohen and lvanka and Jared and Trump, and I

        can't remember whether Manafort's in this mix too, are all in the Hamptons area in

        August, and Dmitry Rybolovlev's plane is somewhere nearby, and flies to Nice.

        And then most of these guys sort of come off -- fall off the radar and then, you

        know, I think it's the 12th of August, Rybolovlev's plane lands in Dubrovnik, and

        Jared and lvanka surface in Dubrovnik. And I don't know how they got there or

        whether they got there on his plane.

               But those are things I have been interested in for a long time . The plane,

        you know, we have been told that Rybolovlev's boat was also nearby. There

        were all these other yachts nearby and that, you know, there had been rumors of

        meetings between Trump people and Russians on yachts off Dubrovnik.' And the

        Rybolovlev jet then flies to Budapest from Dubrovnik. And I can't tell you whether

        it's meaningful or not, but there are certainly things I was interested in and still find

        unanswered and intriguing. I guess the same would -- again, I don't know what

        Mr. Cohen has told you, but his public statements about his whereabouts I found

        unsatisfying.

               MR. SCHIFF: Did you find evidence that Mr. Cohen had been part of this

        delegation?
               MR. SIMPSON: Again, our abilities to do these things are pretty limited,

        but we can be creative. And we found, you know, his daughter's lnstagram

        account had her hop-scotching around this general southern Europe area during


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 116 of 166


                                                                                             115
                           UNCLASSIFIED, COMMITTEE SENSITIVE



       some of this time. And I haven't refreshed my memory about all of this, but, you

       k~ow, we got the impression that ~e was with her for some of the time. And then,

      you know, given the specificity of the allegations in the second Prague memo

      about their meeting in Prague, I have been - you know, given the gravity of the

      allegation and the specificity of it, generally I have been waiting for -- I mean, I

      would sit down -- if that allegation had been made about me, I would sit down with

      my lawyer and we would reconstruct my whereabouts, and we would look through

      credit card bills and airplane tickets and, you know, my phone records . And there

      is many, many ways to account for your whereabouts in modern life if you want to.

      And I haven't seen him put any of that stuff out.      So I find that intriguing.

             MR. SCHIFF: And what other issues do you recommend that we look at?

             MR. SIMPSON : I think the history of the Agalarovs is important, and the

      role that lrakly Kaveladze played in the Trump Tower meeting is important. And I

      think that there is a lot to find out about Kaveladze. You know, I should add, as

      we have said publicly, I was not aware of the Trump Tower meeting , and no one

      told me about it before it, and no one told me about it after. But I have a little bit

      of knowledge of Kave Iadze and a little bit of knowledge of the Agalarovs .

      Kaveladze surfaced in a previous money laundering investigation. I think there is

      more information about that money laundering investigation in the possession of

      the government than just the GAO report, and that Kaveladze has been working

      with the Agalarovs since the early '90s, and they have been involved in a lot of

      money laundering , and that some of it goes back to suspected KGB money

      laundering.

             So, I think that i s a rich area.   And I was as s hocke d as anyon e to see; y ou

      know, these two matters intersect in the way they did.        I nonetheless feel it's very


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 117 of 166


                                                                                                  116
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        important to get to the bottom of what was going on there.          So I think there is a lot

        to look for there.

                               Three minutes, sir.

               MR. SCHIFF: Any other areas that you haven't discussed already that

        raise concerns for you that you were not able to finish in terms of your own

        investigation?

               MR MUSE: Since you have 3 minutes, why don't we take a little bit of a

        break, and the·n we might be   a   little more efficient.   Is that okay?

               MR. SCHIFF: Sure.

               [Recess.]

               MR. SIMPSON : Okay.          I did think of some things.

               MR. MUSE: So we are back on the record?

               MR. SCHIFF: Yes, back on the record.

               MR. SIMPSON: So, you know, I could probably think of other things, but I

        think one thing that is worth looking at is the relationships among people that are

        not known to be related, whether the Agalarovs know the Arifs, whether some of

        the other Russian oligarchs, whether they have social or business relationships,

        including that Roman Abramovich. And I think this question of the travel histories

        of Don Jr. and lvanka, and whether they had other meetings with Russians is an

        area that is unexhausted. And specifically, the connections between the

        lbramovich~ and lvanka and 'Jared is something that requires looking into, if it

        hasn't been.
               So those are kind of - I mean, as I look at a lot of these guys, I see, you

        know, a Russian Central Asian organized crime nexus.            So, I think the Arifs are in

        that category, and the Agalarovs are in that category, and I think they know each


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 118 of 166


                                                                                               117
                            UNCLASSIFIED, COMMITTEE SENSITIVE



      other.    I think they go to each other's children's weddings. And I think those

      weddings take place in Italy.

               So that is important.   l think there is a lot of activity we saw around the

      island of St. Martin in the Caribbean, and a lot of Russian activity.     President

      Trump has a property there he has been quietly trying to sell. And there might

      have been some meeting activity there.        The Turkey-Russia connection I think is

      deeper than is generally understood. I think that the Turkey-Russia -- I think that

      the influence campaign that General Flynn got caught up In is reflective of that.

      And I think it's not been excavated. And I think that Roger Stone may have

      connections to that matter that are unexplored.

               MR. SCHIFF: Why do you say that?

               MR. SIMPSON: Things I heard from sources.           I think Ted Malloch is an

      important person in this whole picture. And he may have had some role in all

      that.    He is an interesting person who crosses over from Brexit, UKIP, Trump, and

      the Turkey-Russia issue.     And then the last thing I would add is, you know, we

      haven't talked about Deutsche Bank at all. You know, I think they obviously know

      a fair bit.   But they are obviously within your subpoena power, and I am assuming

      you probably already asked them to provide information.

                              You are out of time, sir.

               MR. SCHIFF: Thank you.

                      BY

               Q     So this round l am going to attempt to keep my questions short, and

      would ask tliat you might be brief with your answers. I appreciate how fulsome

      you· have been in response to our questions, but want to be respectful of

      everybody's times. So if we could get through some things quickly, and as


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 119 of 166


                                                                                                   118
                                UNCLASSIFIED, COMMITTEE SENSITIVE


         necessary we can elaborate. Can you just briefly describe how you met individual

         Natalia Veselnitskaya or came to know her?

                 A   Sure.      I think this is largely included in the ·previous answer, but I was

         retained by Baker Hostetler, and didn't know of her existence until they told me

         there was a lawyer for the Prevezon company, a Russian lawyer. And eventually,

         they mentioned her a few times, and eventually they mentioned her name. And at

         some point, you know, they introduced me to her.

                 Q   Do you recall when that was?

                 A   I don't.    I assume it was sometime in mid-2014.

                 Q   And I assume that you have seen reporting, or otherwise know that

         she attended what has become known as the Trump Tower meeting on June 9,

         2016?

                 A   Yes.

                 Q   And that she presented material      to Trump associates regarding     Bill

        Browder and the Magnitsky Act. Are you aware of that?

                 A   I am aware of that.

                 MR. LEVY: Are you aware of the report?

                       BY
                 Q   Are you aware that she presented material relating to Bill Browder and

        the Magnitsky Act during that meeting?

               A     I have read that. To be clear, I didn't know about this meeting before

        it happened, and I didn't know about it after it happened. And I found out about it,

        I think, you know, within a day of it being disclosed in the New York Times.

        Someone called me and said you heard about this meeting? And I said no.               So

        anyway, that was the first I had heard about it. That was in the spring of this year.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 120 of 166


                                                                                          119
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      I, of course, have read that information   some of the -- one of the subjects was

      Browder. And I have been asked about it by another committee, and so I am

      familiar with that.

             Q     Is the information that she provided during that meeting, did it

      incorporate information that you or Fusion GPS had come up with as part of your

      work on the President investigation?

             MR. LEVY:      He has already told you he wasn't at the meeting and wasn't

      told about the meeting before or afterwards, so I don't know how he could answer

      that question.

                              Mr. Levy, I understand that he has testified he doesn't know

      about the meeting before or afterwards, but that does not preclude his knowledge

      of what Ms. Veselnltskaya potentially presented from press reports or from talking

      to others after the fact. If he has no knowledge of what she presented or how it

      relates to his work, I am happy to - he is welcome to testify to that effect.

             A     I have no knowledge of what transpired at that meeting. No one has
      ever told me what happened there. But I will say, you know, the Prevezon case

      was about the issues that she reportedly talked about. So that is all I can tell you.

             Q     Have you seen the reporting, and particularly, the talking points or

      materials on this topic, recently published by The New York Times?

             MR. LEVY: You want to show a document to him?

             MR. SIMPSON: Is there a specific report that you are referring to?

      mean they have done a lot of reporting on this.    So I don't know how to answer

      your question.

                       BY

             Q     So there was a specific report within the past month or so stating that


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 121 of 166


                                                                                                    120
                              UNCLASSIFIED, COMMITTEE SENSITIVE


         the material or the talking points that Veselnitskaya presented during this Trump

         Tower meeting had been socialized in some way with the Kremlin.             And attached

         to that report was a set of documents purporting to be --

                 A    Oh--

                 Q    - the talking points.

                 MR. LEVY:     There is a lot floating around on the Internet, and The New

         York Times has published a number of stories on this subject. And I just would

         ask, out of fairness to the witness, if there is a specific article or publication to

         which you are referring, if you could just produce it and show it to the witness so

         there is no confusion for the record.

                 MR. GLABE:     I am asking if he knows about the specific material.        If he

         doesn't know about it, we can refresh his memory later.         But I am just asking

         whether he knows about this specific material.

                 MR. LEVY:    I appreciate that.    I just think that the question itself is not

         sufficiently precise, particularly if there is an actual newspaper story that we could

        show him.

                                All right.   We will do that on the next round.



                 Q   When was the last time that you saw Ms. Veselnitskaya in person prior

        to her meeting at Trump Tower on the afternoon of June 9th, 2016?

                 A   We were at a hearing at the U.S. Court of Appeals in New Yor_k City.

        And I attended the hearing along with the rest of the Baker legal team.          She was

        there.

                 Q   And so we includes her?

                 A   She was -- yes.


                             UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 122 of 166



                           UNCLASSIFIED, COMMITTEE SENSITIVE                                121



              Q     Do you recall what time the hearing was?

              A    No. I believe it was in the morning.

              Q    And this is the morning of June 9th?

              A    I think it was - according to what what's been reported in the papers, if

      the Trump Tower meeting was on June 9th, yes, it was the same day. And yeah,

       it was a sort of obligatory event for me.   I was part of the litigation team and, you

      know, former Attorney General Mukasey was argu ing for the Prevezon side, and

      so we were all there.

              Q    And what conversations did you have, if any, with Ms. Veselnitskaya

      while you were attending this hearing?

             A     Mrs. Veselnitskaya did not speak much English. And so my

      conversations with her, every time I met her, were pretty limited. And I don't

      remember having any conversation other than pleasantries.

             Q     And following the hearing, where did you go after that?

             A I had one other event that I know of was I was trying to help the law

       firm find a PR firm to handle tria l PR. And I met with Weber Schandwick I think, is

          the PR firm. These .trips to New York sort of blur in my mind : I may have had

      another meeting with another PR firm as well. I just don't remember. But in any

      case, the only thing I remember,is one meeting with a PR firm at a hotel

      somewhere, and then it was my son's high school graduation.          It was an event for

      my son's high school graduation , so I went to the train station and came home.

             Q     On June 9th?

             A     That's my recollection .

             Q     So were you anywhere with Ms. Vese lnlt skaya that day after the court

      hearing?


                          UNCLASSIFIED, COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 123 of 166


                                                                                                122
                              UNCLASSIFIED, COMMITTEE SENS I TIVE



                A     Not that I recall.

                Q    And do you recall the next time you saw her after the afternoon of

         June 9th?

                A     It was a day or two later. I think it was -- I mean if June 9th was a

         Friday, I probably -- maybe Saturday or Sunday, there was a social dinner that

         was organized by the partner for whom I had worked during           my relationship with
         Baker Hostetler, Mark Cymrot, and it was at a restaurant called Barcelona, and

         there was a variety of people there. There we re some people from journalism

         and books, and my wife and I, and Ms. Veselnitskaya was there with Rinat

         Akhmetshin and a couple other people.

                Q    And this is in -- where is this?

                A    This is in Washington .

                Q     Okay.    So a couple days after the weekend of --

                A     It may have been a day after or two.         I believe it was the same

         weekend.

                Q    And did you have any conversations with Ms. Vese lnitskaya, either

         directly or through an interpreter at this dinner?

                A    Nothing r specifically recall.     I recall that they were at the other end of

         the table from me.    But you know, we had drinks before, and I might have said

         something to her.    I just -- it wouldn't stick in my mind.

                Q    But it's your testimony that you didn't ta!k to her about th e, what's

         become known as the Trump Tower meeting before it occurred?

                A    Neither before nor after.

                Q    And you didn't, in fact, find out about that meeting until 2017?

                A    That's correct.       That is my testimony.


                              UNCLASSIFIED, COMMITTEE SENSITI VE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 124 of 166


                                                                                           123
                             UNCLASSIFIED, COMMITTEE SENSITIVE


             Q       And .remind me of the date of the first Steele memo.

             A       Somewhere around June 20, 2016.         Something like that.

             Q       So by June 9th, this project that you were doing for - Mr. Steele had

      been engaged in your research on behalf of Perkins Coie?

             A       I think so.   But, I mean, I had been investigating Trump for like

      8 months.

             Q       I mean, we have talked a lot about coincidences and interesting

      connections, but, I mean, it's quite something that you would have been

      investigating Trump for 8 months, and one of your colleagues from this other

      litigation who you were with shortly before and after the meeting had , in fact, met

      with Trump Jr. and other high ranking Trump associates on a related topic in the

      same time period.

             MR. LEVY:        Is there a question?




             Q       You mentioned briefings that you set up with Christopher Steele in

      September and October of 2016.          In addition to kind of events that you did

      together, did you or anyone at Fusion independently discuss the dossier with

      journalists?    Or the materials that became known as the dossier or are contained

      in the memorandum?

             A       I understand the question . You know, it informed my discussions with

      reporters beginning, I think, in probably July. And I don't remember -- I don't

      remember specifics from the early part other than at the Democratic Convention

      they had Just released -- Wikileaks had released all the Debbie Wasserman

      Schultz material.     And so 1t was plain from public evidence that there was a hack


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 125 of 166


                                                                                                   124
                               UNCLASSIFIED, COMMITTEE SENSITIVE



        attack afoot.     And based on things that the FBI had reportedly told the DNC,

        which were in The Washington Post, that it was the Russians, and that they were

        weaponizing the hack. They were not engaged in surveillance, they were

        engaged in an active measure. And so the question of what the Russians were

        up to was on everyone's lips, especially the investigative reporters that I deal with.

        And so I definitely -- it definitely informed my discussions with people .

               Q    Consistent with your -- the custom and practices you described earlier,

        did you preclear these meeting engagements with your client?

               A        I didn't say that.   I am not sure what you are referring to in terms of

        my previous statements.         I think I have been fairly careful to not get into what I did

        and didn't say to my client. But what I think what I said, what I can say generally

        is that if I am talking to the press about a piece of research I am doing, you know, I

        would want to be - I would want my client -- my client would be aware of that.

        But I am also a professional, and, so, I don't need to clear every reporter

        conversation I have beforehand, or even report it afterwards with a client.

               Q        In addition to these press engagements both with Chris Steele and

        those that you did independently, did you, Mr. Steele, or anyone at Fusion brief

        any lawmakers or congressional staff regarding the dossier material or Steele's

        findings during this period?

               A    I don 't think so. No, I don1 t remember doing that.

                                  We will yield back to you guys.

               MR. SCHIFF: No more questions at this time. I defer to Ms. Speier.

               MS. SPEIER: Thank you, Mr. Simpson, for being here, and for your

        attitude. I would like to kind of focus on some of the real estate.        At one point I

        think earlier you referred to that mansion in Florida as a derelict estate. Is that the


                               UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 126 of 166


                                                                                                125
                            UNCLASSIFIED, COMMITTEE SENSITIVE


      word you used?

              MR. SIMPSON: I don't remember the exact words, but it had fallen into

      disrepair.

              MS. SPEIER: So, it was purchased by Mr. Trump for $41 million and sold

      to Mr. Rybolovlev for $95 million. And since there had been few improvements

      made by then-developer Mr. .Trump, what is your opinion, I guess, as to why that

      big hike in the sale price?

              MR. SIMPSON: Well, I originally dismissed this transaction as a runoff, .o r

      not relevant, because of my imperfect and incomplete understanding of the whole

      timeline. And I had never heard of Dmitry Rybolovlev. So it seemed like an

      absurd acquisition. But the explanation for why he overspent was that he was

      hiding money from ·his wife . And the depiction of him as a sort of reckless big

      spender was pretty thoroughly developed in the press.

              So, I mean this guy was spending money like a drunken sailor on all kinds

      of things, and people were ripping him off in art deals. So that was my original

      take on this. Also, when we first heard about it, it didn't fit with my timeline of

      when Trump seemed to have gotten deeply involved with the Russians.

              Later, as I understood more, I began to realize that it actually was in the

       sort of first trimester of the Trump-Russia relationship , in that it actually fit in pretty

      well with some of the early things that had happened.          I also began to learn more

       about Dmitry Rybolovlev. And that changed my view.

              In particular, I didn't know in the early period that he was closely linked to

       Igor Sechin, and that, in fact, he was accused of essentially destroying an entire

       c ity environme nta lly w ith his potas h min ing operations, and w a s criminally

       accused, and managed to get out of it and walk out of Russia with billions of


                            UNCLAS SIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 127 of 166


                                                                                                126
                           UNCLASSIFIED, COMMITTEE SENSITIVE



        dollars with the apparent assistance of Sechin and Sechin's people. And

        subsequently, received a report from a Russian emigre who is familiar with these

        events that that was -- there were political or corruption aspects to that.

               So, as my understanding of what I think has been happening developed, I

        began to think, again, about all of this, and I am now very suspicious that he was·

        deliberately overpaying. And, I mean, what we have seen over the last couple of

        years that, as sort of cynical and conspiracy minded as I am, I am still shocked by

        all kinds of things that have happened here, including the Trump Tower meeting .

        And what we have seen is that a number of oligarchs have left Russia in recent

        years who seem to still be doing the bidding of the Kremlin. And to some extent,

        they like to have an image as someone who is on the outs with the Kremlin, but

        when you look closely, they are not. And you know, when we looked at

        Rybolovlev's plane travel, you could see that he was going to Moscow all the time,

        and that all his legal problems went away, and that there was questions about

        whether he really did get ripped off in these art deals or whether he just said he

        got ripped off as a way of accounting for all the money that's missing.       So I am

        now of the view that that transaction is suspicious.

               MS. SPEIER: And the additional $50-plus million that Donald Trump

        received was for what purpose?

               MR. SIMPSON:      l don't know.   I mean -- you mean the profit from that?

              MS. SPEIER: Right.

              MR. SIMPSON: Trump just claimed it was one of his great business deals.

        He just claimed he talked him into paying double, which was odd, because the

        market was going south at that point.

              MS. SPEIER: You indicated that beyond the dossier and the Christopher


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 128 of 166



                                                                                            127
                          UNCLASSIFIED, COMMITTEE SENSITIVE



      Steele research, that you conducted your own research on Russia. And I think

      you have shared with us some of that. Is there other elements of your Russian

      research that would be helpful to us?

             MR. SIMPSON: One of the things, you know, that we worked on, I just

      saw a story coming in here sort of about financial transfers from Russia through

      Russian, you know, diplomatic entities, and how that was something that, you

      know, there have been SARs on. And you know, we investigated-~ so there was

      in one of the early memos, might even have been the first one, said "Money is

      being distributed in the United States through the auspices of pension payments."

      And you know, they are basically getting the mor:iey into the country and handing it

      out using fake pension payments. And this is like one of those things that I ran

      down as a way of evaluating the credibility of the dossier or of this memo. And so

      the question is, Well, do the Russians hand out lots of money in the United States

      through pension payments? And the answer is they do. And it's actually kind of

      interesting.   I mean there is a ton, or many thousands of Russian ernigres

      who - you know, it was a communist country, so everyone worked for the

      government, so the government has liabilities, pension liabilities in the U.S. that

      are big.

             And furthermore, there has been investigations by the Social Security

      Administration about those payments and about whether some Russian emigres

      are getting Social Security from both countries. And those are just ordinary fraud

      investigations whether the recipients are engaged in a form of welfare fraud.    But

      in the course of all that, it lays out some of the operation of how this money

      moves.     And that all depicted to me a perfect way of moving money in the United

      States that was largely untraceable, and protected by diplomatic privileges.


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 129 of 166


                                                                                              128
                            UNCLASSIFIED , COMMITTEE SENSITIVE


               So even in a sanctions environment, you can move this money in under

        color of pensions. So all of that was to me, and is, very interesting. And then we

        identified a woman in Florida, a lawyer whose name escapes me, who used to

        work for Gazprom, and seemed to have connections to Michael Cohen, who said

        she was a - had a legal, you know, some legal role with the Russian Embassy in

        Washington helping to distribute Russian pension payments. And, so, all that

        was interesting and curious, and I wish I had been able to follow up on it more.

               Othe_r work that we did in the dossier that I think was really useful and is

        worth following up on, so we did a similar thing when we got the Carter Page

        information, which was, you know, gee, we will never-- I will never find a way to

        confirm whether he talked to Igor Sechin, but what was he doing in Moscow at this

        school meeting? And was he on the schedule in advance? Couldn't find much

        indication that this had been long announced in advance. Seemed to be hastily

        arranged. Who is behind this school? Who are the· oligarchs? That was

        interesting. There are some oligarchs that are involved in the school that show up

        in other aspects of th is.

               And, you know, eventually after the election, because I was somewhat

        consumed with these matters, I began - I began, you know, I guess to back it up a

        little bit, when I left the Wall Street Journal, one of the reasons why I left the Wall

        Street Journal was because I wanted to write more stories about Russian

        influence in Washington, D.C., on both the Democrats and the Republicans.           And

        I had written up a couple cases, the Curt Weldon case, some other cases, and I

        had talked to some sources, and everyone said the Russians are back, and they

        are buying influence in Washington left and right, and it's scary and crazy, and

        they are trying to bribe all these Congressmen. And so I wrote a bunch of stories


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 130 of 166



                                                                                           129
                          UNCLASSIFIED, COMMITTEE SENSITIVE


      about it. And eventually the Journal lost interest in that subject. And I was

      frustrated . And with the change of ownership --

             Anyway, that was where I left my journalism career.       So hadn't paid much

      attention to it. And now, all of a sudden, all these issues that were at the end of

      my journalism career came back, and I became somewhat consumed with them

      again, and I began reading court cases involving Russian espionage in the United

      States.

             I went over the Anna Chapman case, the case of the 1O illegals. And an

      interesting aspect of that case is that one of the people who was targeted was

      Hillary Clinton's -- one of her big donors was -- seemed to be the Russians' target

      in that case. And another aspect of the case Wa$ a guy who was trying to get a

      job at the New America Foundation. And it suggested that there was, you know,

      a pretty elaborate attempt by the Russians to infiltrate our softer target institutions.

             You know, instead of, you know, breaking into the CIA, you are breaking

      into, you know, places where, you know, an open society leaves open.

             So anyway, in the course of reading up on my espionage cases, I found a

      case involving a guy named Buryakov, Evgeny or Eugene, who worked for, I think,

      it was Sberbank and he was arrested as an illegal Russian intelligence agent.

      And then in the prosecution, they identified people that he was trying to recruit.

      And one of the guys fit the description of Carter Page. And so eventually, you

      know, a reporter asked Carter Page, Hey, is this you , and he said yes. And so,

      you know, I mean in terms of like things that have turned out to be accurate about

      the dossier, I mean like, okay, so tr)is guy seems like a zero, but, in fact, you know,

      in espionage tradecraft, you know, you are not going to target, you know,

      someone with a good job and a stable family and a long work history, because


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 131 of 166


                                                                                               130
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        they are going to tell you to get lost.   But you are going to target someone who is

        greedy, lonely, ambitious. And he fit the picture.

                And it turned out that he, in fact, had been a long-time target of Russian
                                                                                          I


        intelligence and under investigation by U.S. counterintelligence. So, you know,

         that's a long way of saying I think there are other espionage and sanctions cases

         that shed light on the bigger operation.

                MS. SPEIER: All right. Let me move onto another property, the Soho

         property. What do you know about Tamir Sapir?

                MR. SIMPSON: I used to know a lot. I don't remem.ber. I think he is of

         Central Asian background.      I believe he is deceased now. And I believe he is - I

         guess there is some inter-marriage. l can't remember how it is. But I remember

         something about weddings and them being socially connected. That's about all I

         remember. I am sort of thinking back to one of the other questions that

         Congressman Schiff asked about, things to look at. And it's kind of an

         uncomfortable - I don't know really how to put it, but there is a lot of - Putin

         seems to be very interested in the Jewish Diaspora. And there seems to be,

         especially, the sort of Orthodox or ultra religious or conservative, and there is a

         definitely something interesting to all that.   Chabad, in particular, is a subject that

        is curious and interesting.

                And Putin essentially took over the Russian Jewish community and the

        leadership of the Russian Jewish community. And appears, for reasons I can't

        fully explain to be -- this appears to be a very interesting route for the Russians.
        And again, I think there are many routes for the Russians. They use trade

        groups, they use ethnic association groups, and at least -- and they use religious

        groups.


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 132 of 166



                           UNCLASSIFIED, COMMITI'EE SENSITIVE                                131



              The Orthodox church is also an ann of the Russian State now. And when I

       used to do terrorism reporting, the Mossad guys used to tell me about how the

       Russians were laundering money through the Orthodox church in Israel, and that it

       was intelligence operations. So -

              MS. SPEIER: So the extent to which they are funding persons within let's

       say the Russian Orthodox church or funding the church , is the expectation then

       that those who are here in the United States, members of the Russian Orthodox

       church are doing something on behalf of Russia?

              MR. SIMPSON : Well, I think -- I mean the thing that I have looked at is

       more in Europe, but It's using the Orthodox church as a cover to move money and

       for operational cover reasons, to give people, agel"!ts jobs. A lot of the senior

       people in the church are ex-KGB, or maybe still KGB . And so -

              MS. SPEIER: And very religious, I guess.

              MR. SIMPSON: These are actually quite well documented. The other

      thing is the history of Russian espionage, a lot of the stuff they have been doing

      lately is really out of the old playbook. So from my background, as I don't have

      sort of any great investigative powers, so I read a lot. And a lot of what you read

      in the history of Soviet espionage is what you have been seeing lately.     In any

      case, oh, and the class ic one of course is Kompromat. So, you know, that

      obviously is something that harkens back.

             Q How about Mr. Mashkevich?

                             One minute, ma'am.

             MR. SIMPSON : He is interesting. He is another Central Asian organized

      crime figure who is extremely well known to international law enforcement,

      involved in a lot of money laundering activities, a lot of kleptocracy, comes out of


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 133 of 166


                                                                                                  132
                              UNCLASSIFIED, COMMITTEE SENSITIVE



        the mining industry, and is big in Kazakhstan, a member of the trio, as they are

        called. And I believe that Moskovich (ph) also has connections to the Sapirs and

        the Arifs.

                MS. SPEIER: He was one of the financial backers evidently of Bayrock.

                MR. SIMPSON: . Yes, that's right.

                MS. SPEIER: And somehow, then associated with Trump Soho, or not?

                MR. SIMPSON : Yes, absolutely. I think that that whole thing is -- there is

        a lot left there.   I don't know if you have ever asked lvanka Trump what she was

        doing in Kazakhstan, but she was there. So was Don Jr.• I believe.            She talks

        about it in her book. She doesn't say what she was doing there, you but she says

        she was there.      I think she mentions eating a cow stomach.

                              . We are at time, ma'am.



                Q     So Mr. Simpson, I just handed you a New York Times article entitled

        Talking Points Brought to Trump Tower Meeting Were Shared With Kremlin from

        The New York Times.        Do you recall reading or otherwise being familiar with this

        article?

               A      So I read the article at the time.   I didn't realize that this was

        appended to the article.    Is this from the article?

               Q     So in addition to the article, I have handed you a two-page memo that

        according to the article was a document provided by the office of Mr. Chaika, the

        Russian prosecutor, to an American Congressman in approximately April of 2016,

        paragraphs of which were also incorporated in the talking points that Ms.

        Veselnitskaya brought to the Trump Tower meeting .

               And particularly, with respect to this memo, if you have a chance to look it


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 134 of 166



                                                                                             133
                             UNCLASSIFIED, COMMITTEE SENSITIVE



      over, does it reflect or incorporate research that Fusion did? Does that two-page

      memo reflect or incorporate research that Fusion did in the Prevezon litigation?

               A     I don't know for sure. Actually, someone sent me a memo that I think

      was in Russian, and it wasn't this one. Yeah, like last week. Sorry. It was

      linked to a news article.     Right.   So, I have not studied this closely. And I

      certainly had no role in putting this together. And I didn't -- wasn't at the meeting,

      and I wasn't aware of what transpired at the meeting, including what was

      discussed.

               Q    So let's sort of take a -- I understand that's your testimony. So take it

      one at   a time .   Have you seen this -- do you recall seeing this memo before?

               A    I actually don't. Someone sent me one that was different, but - so

      there was an article in Foreign Policy recently where they said we've got the

      memo . And I remember looking at it, and I don't remember it being this one.

      And I did read this article. I am familiar with some of the information in here.

               Q    Is it the same -- well, J believe you have already testified that your

      research connected to the Prevezon case involved Mr. Browder.            Did it also

      involve researching the Ziff Brothers?

               A    Yes.

               Q    And did you share information in that connection with Ms.

      Veselnitskaya?

               A    Well, I would write memoranda for Baker Hofstetler. And yeah, l think

      I -- it ultimately -- ultimately would go to Ms. Veselnitskaya, in the litigation.

               Q    Were you aware that she was sharing information on these topics with

      the Russian prosecutor general's office?

               A    I don't know.   I can tell you what I - what happened, which was that


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 135 of 166


                                                                                             134
                            UNCLASSIFIED, COMMITTEE SENSITIVE


        as Mr. Browder became a more central figure in the Prevezon litigation, and the

        question of whether he was, in fact, evading his taxes in Russia became an issue,

        we began to try to understand the Hermitage Fund and how it worked, and

        whether it paid taxes and who its clients were and its structure.   So I conducted

        some research on these dozens of shell companies that were associated with the

        Hermitage Fund based in Cyprus.

               Q    Was one of those Giggs Enterprises Limited?

               A    I think so .

               Q    Zhoda Limited?

               A    Yep.

               Q    Peninsular Heights Limited?

               A    I think so.

               Q    And so once you conducted that research, it made its way, you

        understood, to Ms. Veselnitskaya. Did you understand at the time that it was

        potentially making its way from her to the upper ranks of the Kremlin?

               A    No.

               Q    But it is fair to say, however, that the negative viewpoints expressed in

        this memo regarding Mr. Browder and Mr. Magnitsky are consistent with the

        ~remlin's own viewpoints on these matters?

               A    They are consistent with the Kremlin's. They are not consistent with

        mine. Obviously, the Kremlin has very strong feelings on these things. I do not.

        I obviously think that Sergey Magnitsky was killed in prison by neglect, if not

        worse. And I think that William Browder's position that he holds now on Vladimir

        Putin is very similar to mine. And so --

               Q    Have you shared that opinion with Ms. Veselnitskaya?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 136 of 166



                                                                                                135
                              UNCLASSIFIED, COMMITTEE SENSITIVE



                A      That's a funny question.   But I don't -- actually, my wife has shared

      those opinions with Ms. Veselnitskaya.         I can't remember whether I said those

      things.       In any event, I do remember doing this research.     I thought it was good

      research. It was research for the lawsuit.         I didn't think it was important research.

      I thought it was well done. We were able to figure out from a pretty big paper

      chase who the clients ofthis hedge fund were.          And in fact, they potentially do

      have tax liability in Russia if the Hermitage Fund was cheating on their taxes in

      Russia.       So that was the point of the research.

                Q      But does it disturb or trouble you at all that this research was

      incorporated, used somehow, found its way in part to what you described earlier

      as a part of a Russian Government-directed operation?

                A      I prepared this research in connection with an American lawsuit for an

      American law firm.

                Q      I understand.

                A      It all happens to be accurate. And so, you know, if someone used

      this research that they, you know, commissioned through a law firm for a

      legitimate legal purpose, took it and repurposed it in some other way, I can't say as

      I am upset by that.       I mean, I must say in my business, right, I am in the

      information business, so when people commission research from you, it becomes

      their property when you are finished with the research, when you give it to them.

      So if they decide to go and use it for something else, I mean, that's just beyond my

      control.      So I will add that, you know, as someone who is not a fan of Vladimir

      Putin, I don't take any great -- I certainly am not happy to do anything that anyone

      would think was helping Vladimir Putin.         And to the extent that this has subjected

       me to an unfair accusation that I was engaged in some kind of Kremlin operation, I


                              UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 137 of 166



                                                                                          136
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        find that very regrettable.

               Q    You mentioned, I believe earlier, that in addition to Ms. Veselnitskaya,

        Mr. Akhmetshin was also at the dinner a couple days after this meeting?

               A    That's my recollection.




                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 138 of 166


                                                                                          137
                          UNCLASSIFIED, COMMITTEE SENSITIVE




                    BY
             Q    And had you met Mr. Akhmetshin before?

             A     I have known Mr. Akhmetshin since I was a reporter at the Wall Street
       Journal.

             Q    And other than this dinner, have you, Mr. Akhmetshin, and Ms.

       Veselnitskaya ever had any meetings together?

             A     I don't know whether the three of us have met together specifically.

       think there have been other meetings or maybe lunches or something

       that -- where we have all been present. At the time of the most of this case, she

       was just a lawyer from Russia. Sol don't have a very clear memory of all the

       meetings and lunches and things.

             Q     Did you understand her to be acting on behalf of the Russian

       Govem~ent or to have had a past relationship with the Russian Government?

             A     I certainly didn't understand her to be acting on behalf of the Russian
      Government. And it was my impression that she was not a heavy hitter in

       Moscow or with the Kremlin. Sh e seemed to be ambitious, but she didn't seem to

      be, you know, carrying the Kremlin stripes. I just remember she was introduced

      to me as someone who had previously been a government lawyer, and described

      to me by the Baker lawyers as actually a very good lawyer who seemed to really

      have a strong command of facts. And in my dealings with her, that turned out to

      be true. I mean she was able to produce a lot of records on these criminal cases

      that we were interested in.

             Q    Did Mr. Akhmetshin work with you on the Prevezon litigation?

             A     I mean we both worked on the same case, and I had occasion to deal


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 139 of 166


                                                                                               138
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        with him.   But he was brought in at a much later date.    For most of the case it

        was just litigation, and he had no role.

               Q     Have you worked with him on other matters?

               A     I don't -- I mean we have never done business together.

               Q     So you have never paid him or --

               A     Not that I can think of.

               Q    Who besides yourself -- who at Fusion besides yourself worked on

        both the Prevezon project for Baker Hofstetler and the dossier research for

        Perkins Coie?

               A     I mean I am not sure anyone fits that precise description.     It is a small

        company, so there may have been some people who had some kind of tangential

        connection to both matters.     I just want to add that we have had a lot of

        harassment and security concerns, particularly very lately.

               And so if you want to - I am not sure liow to navigate this.    I will try to

        answer your questions, but I am also a little concerned about some of my staff are

        younger.    Some of them have young children.      So I am a little uncomfortable

        getting into too much of that kind of thing .

               Q     Okay.    Were there individuals besides yourself who either worked for

        Fusion or on behalf of Fusion worked on both the Prevezon project and the

        research for Perkins Coie?

               A     I mean there is one in particular who did some work on both cases as

        a subcontractor.     I actually think within my staff there is not much overlap. We

        have a long-standing relationship with a subcontractor named Ed Baumgartner

        who has a degree in Russian from Vassar, I think.      And I don't know if you would

        call him a linguist, he is not a translator, but he works for us on Russian things


                             UNCLASSIFIED, COMMITTEE S ENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 140 of 166


                                                                                          139
                         UNCLASSIFIED, COMMITTEE SENSITIVE


      involving the Russian language.

             So I don't read or speak Russian.     So we retained Ed to -- originally in the

      Prevezon case to do some inteNiews in Moscow, I think, and retrieve some

      records from Russia. And other Russian language-related tasks as part of the

      litigation and discovery process.

             Q    So Mr. Baumgartner went to Russia on your behalf in the Prevezon

      matter?

             A    With the lawyers, yes.

             Q    And he worked on the Perkins Coie matter as well?

             A    Eventually.   So by the spring of 2016 the Prevezon thing was on hold,

      and basically focused on this appellate hearing, which didn't involve a lot of Russia

      stuff. And then it basically everything got stayed until the decision was -- anyway,

      in any event, I don't recall Edward working on - I recall him working on Prevezon

      and not on the other matter. There came a time when the Prevezon matter was

                                                                       A nd I
      less active and we had a need for more work on the other matter. _

      specifically remember assigning him to do work in the summer or fall of 2016 on

      Michael Cohen's business connections to Russia and Ukraine and his

      father-in-law's background in Russia.     And so he worked on both._ And I think

      Edward might have also worked on some Manafort stuff, although I am less clear

      on that.

             Q    Did he travel to Russia on your or Fusion's behalf in connection with

      the Trump research?

             A    Did he travel -- no.    Not that I know of.

             MR. SCHIFF:     Ms. Speier?

             MS. SPEIER:     There has been many reports on the Bank of Cyprus and


                         UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 141 of 166


                                                                                                140
                             UNCLASSIFIED, COMMITTEE SENSITIVE



         the use by Russian oligarchs of that bank to launder money through it and the role

         Wilbur Ross played in that.       Do you have any information on that?

                MR. SIMPSON : Not really. I mean Rybolovlev was also, you know, a

         figure at the Bank of Cyprus. And some Paul Manafort shell company accounts

         wound up I think at the Bank of Cyprus. So there is definitely some overlap. But

         I couldn't tell you whether - I don't have an opinion on whether it's significant.

                MS. SPEIER: Okay.           There was a report that - you referenced earlie r

         about how Donald Trump worked with the Italian Mafia in the 90s I think, and then

         in the 2000s it appears he was working with the Russian Mafia. That was what

         you testified to earlier today.

                MR. SIMPSON: That's correct.

                MS. SPEIER: At Trump Tower in New York City, the New York Police

         arrested 29 suspects who were allegedly running gambling rings and money

        laundering out of two condos, one of which occupied an entire floor in Trump

        Tower. One of the bosses that I think you mentioned earlier, Tokhtakhovno was the

        only target that slipped away, and then was seen later with Donald Trump in a VIP

        section of the Miss Universe Pageant in Moscow. Do you know anything

        more about that Mafia organization operating out of Trump Tower?

               MR. SIMPSON: I mean I am trying to summon it from my memory. We

        spent a lot of time looking at this.    I mean there was another guy - I don't

        remember anything that I think is notable that would be useful for you .

               MS. SPEIER: The investment in the Trump International Hotel and Tower in

        Toronto. It appears that Mr. Trump's original partner was Leib Waldman, who was a

        fugitive who fled to Toronto from the United States after pleading guilty to

        bankruptcy fraud and embezzlement in 1995. The Ritz Carlton , which had


                            UNCLASSI FIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 142 of 166



                            UNCLASSIFIED, COMMITTEE SENSITIVE
                                                                                             141



        originally been named as the hotel operator, then abandoned the project after

       Wald man's status was revealed.

               Mr. Trump's other partners included a man who illegally converted a New

       York factory to loss only to have the city order all his ~enants evicted to protect

       them from hazardous conditions. Another partner owned a nursing home

       company which was cut off from Federal funds due to concerns that the residents'

       safety was at risks .. Alex Schnaider, a Russian-born Canadian national, became

       the principal developer. Schnaider had no ·previous hotel or condo development

       experience.His most apparent qualification seemed to be that he had made a lot of

       money quickly.

              Financing came from an Austrian bank with no apparent experience in

       Canadian dev~lopment, and which had been accused of acting as a conduit for

       Russian money laundering . Schnaider made misleading statements about the

       project, and ultimately the project failed and went through bankruptcy. The new

       buyer removed Mr. Trump's name from the project. What do you know about that?

              A Schnaider (ph) is probably the most interesting of those characters. His

       father-in-law is a very important figure in the history of the KGB-Mafia alliance .. He

       is named Boris Birshtein. Boris is connected to Mr. Moskovich. And all these

       people know each other. And they are all connected in one way or another to the

       Russian Mafia, and some of them are connected to the intelligence services.

       These guys in particular, I believe, if I am remembering things correctly, have

       connections to the Solntsevo Brotherhood, which is the dominant Mafia family.

               And Beerstein was the manager of the KGB's offshore funds after the

         collapse of the Soviet Union, and is well known in European law enforcement for


                            UNCLASS IFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 143 of 166


                                                                                                142
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        his activities.   And he is known to Belgian law enforcement, French, and crosses

        paths with Moskovich on a lot of this stuff. So we are talking about the same

        crowd. Raiffeisen Bank was during that period the main service bank for the top

        level Russian corruption and organized crime activity.

                So I wrote a lot about Raiffeisen ·in those days because they were

        laundering the money from the Mafia gas trading scheme that Putin was running

        between Ukraine and Russia. And when the Mogilevich Dmytro Firtash network

        was setting up their finance role and corporate operations to siphon

        money off the gas trade, they did it with Raiffeisen. And they came up in

        several other cases, and they were the go to bank for top level Russian dirty stuff.

                In regard to all that, and again going back to your earlier question, I think

        that there is a lot of information to be had from Canadian law enforcement and

        from Belgian law enforcement about some of these characters.         I think you they

        know pretty well who these guys are, and they have been looking at them for a

        long time.

               MS. SPEIER: Okay. What is the interest of Russia with the National Rifle

        Association?

               MR. SIMPSON: I think that most of what we have found is pretty much out

        there now.    You know, it's been said by others, but, you know, what eventually - it

        appears the Russians, you know, infiltrated the NRA And there is more than one

        explanation for why.    But I would say broadly speaking, it appears that the

        Russian operation was designed to infiltrate conservative organizations.      And they

        targeted various conservative organizations, religious and otherwise, and they

        seem to have made a very concerted effort to get in with the NRA.

               And so there is a Russian banker-slash-Duma member-slash-Mafia leader


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 144 of 166



                                                                                              143
                            UNCLASSIFIED,COMMITTEESENSITIVE



       named Alexander Torshin who is a life member of the NRA. And we spent a lot of

       time investigating Mr. Torshin . And he is well known to Spanish law enforcement

      for money laundering activity, and you have probably seen the press articles. And I

       think the Spanish files on him should be available to you.And he, as you know,

      was supposed to have a meeting with President Trump after the inauguration. And

      somebody noticed that there had been some stories about him that weren't pretty

      good.

              So he is one of the more important figures, but, you know, another woman

      with whom he was working, Maria Butina, also was a big Trump fan in Russia, and

      then suddenly showed up here and started hanging around the Trump transition

      after the election and rented an apartment and enrolled herself at AU , which I

      assume gets you a visa.

              MS. SPEIER: She rented an apartment where?

              MR. SIMPSON: AU Park in Tenleytown. Went to American University

      and rented an apartment up there. I think she is suspicious.        I guess the last

      thing I will say on this is that we just started seeing this stuff when all the other

      Russia stuff started bubbling up. And the thing I found, you know, the most

      absurd about this is that, you know, Vladimir Putin is   not in favor of universal gun
      ownership for Russian s. And so it's all a big charade, basically.

              MS. SPEIER: You said there were other conservative groups. Are there

      other conservative groups in the United States that they have infiltrated to your

      knowledge?

              MR. SIMPSON : I think there's been -we have done some research on

      so me religi ous groups having relationships w ith the Russians, having, developing ,

      and pursuing relationships with various religious groups. The names of them


                          UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 145 of 166


                                                                                               144
                              UNCLASSIFIED, COMMITTEE SENSITIVE


         escape my mind . But there has been a lot of that. And then there has been the

         independence movements, California independence, Texas independence. You

         know, it's a big operation.

                                 Five minutes, ma'am:

                  MS. SPEIER: You said that Mr. Steele provided you information after the

         election as well.   So it wasn't in the dossier?

                  MR. SIMPSON:      It actually was in what's known as the dossier. It's just it

         came in after the election and we weren't being paid for it. And that's been a

         subject of litigation. Some of that stuff led to a lawsuit.   But in any event, you

         know, yes. So in the period immediately after the election, Chris had a source

         network and, you know, some of the sources continued providing information for a

         little while. It's just, you know, when you set something up it kind of takes a while

        to taper off. So we received some new alarming stuff about this Prague meeting

        that came in after the election.

                  MS. SPEIER: And it appears that one of the sources was mysteriously

        killed?

                  MR. SIMPSON: That's not my information . I mean there was a series of

        episodes where people were arrested or died mysteriously that came shortly after

        the disclosure of the existence of this information. And I do believe there was a

        bit of an old fashioned purge.

                  And I think that - but to my knowledge, it wasn't anyone that helped us.

        think it was more likely people who were taking the opportunity to settle scores or
        were falsely accused, as often, you know, just like in the old days, and/or were

        sources of the U.S. Intelligence Community, not us.

                  MS. SPEIER: In researching Donald Trump's finances, and the fact that


                             UNCLASSIFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 146 of 166


                                                                                             145
                             UNCLASSIFIED, COMMITTEE SENSITIVE



       he was, you know, financially underwater, it seems in the mid-2000s, how much of

       his income was coming purely from naming rights? Have you ever tried to figure

       that out?

              MR. SIMPSON: No. Of course, you know, getting reliable information

       about his finances was pretty hard. But I think it was -- I mean I think that sort of

       non-equity revenues was a big part of it. I also think that, you know, a lot of his

       income comes from trusts and things that his father set up, and that he doesn't

       actually make that much money, you know, in terms of profits from his own

       activities. He still funds much of his -- from, you know, assets that were acquired

       by his father.

              MS. SPEIER: Ivana Trump, did she have any involvement in any of this?

              MR. SIMPSON: .Not to my knowledge.           But we have looked at the Czech

       issue, and, you know, lvanka and Don Jr. speak a little bit of Czech, spent

       summers in the Czech countryside. And we examined, you know, whether that

       had any connection to the allegations of a Prague meeting.        But other than that, I

       mean we have looked at -- her continuing involvement with the whole Trump

       organization is something we thought was interesting and looked at. But beyond

       that, I don't remember.

                               One minute.

               MR. SCHIFF: I have a few more questions. But I will hand back.

                        BY
               Q     I am pleased to report I believe this will be our last round.

               So I believe it is your testimony that you continued to receive information

       from Mr. Steele, but were not -- after the election, but were no longer being paid

       for that.   Is that correct?


                             UNCLASSIFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 147 of 166


                                                                                              146
                             UNCLASSIFIED , COMMITTEE SENSITIVE


                 A   Yes. I think what I was specifically talking about was the -- I think it's

         the last memo or one or two, whatever is at the very end of the collection known

         as the dossier was not paid for and not part of any engagement.

                 Q   Now, I infer from your sort of recollection of all these issues, as well as

        from your use of the present tense, that you remain active in researching these

         issues. Is that correct?

                 A   Well, I remain interested in all of these issues. What I do in terms of

         my other work is not something I am in a position to talk about.

                 Q   So after you are no longer being paid by Perkins Coie and then there

        is a time where you received information but weren't being paid, did you then

        resume engagements with respect to the issues?

                 A   I am not going to get into any of my current work, but, you know, I still

        run my company and we still have, you know, lots of business.

                 Q   Does any of that business relate to the issues that we discussed

        today?

               A     I am not going to answer that.

                 Q   As I am sure you are aware , what's become known as the dossier was

        published on January 10th of 2017, I believe, by Buzzfeed.      I believe   Jt was your
        testimony earlier that you did not - or Fusion did not provide the dossier to

        Buzzfeed. ls that correct?

               A     That's correct.

               Q     Do you know who did provide the dossier to Buzzfeed?

               A     No.   I have my suspicions , but they are just guesses .

               Q     I am suspecting Mr. Levy is not going to entertain -- allow us to

        enterta in those guesses.


                            UNCLASS IFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 148 of 166


                                                                                                147
                               UNCLASSIFIED, COMMITTEE SENSITIVE



                MR. LEVY:       I am not the witness, but generally speaking it's not good to
       speculate.

                MR. SIMPSON: I think what I would like to say, to be clear to everybody,

       is that we treated this information with a great deal of care. And we did that for a

       lot of different reasons, but among other things, because we thought this was a

       real national security issue, and because we thought that if it was just put out there

       in the way it was put out that people could get hurt and that people literally risked

       their lives to tell us some of this stuff, and that there was a lot of security issues

       around it.    So I was very upset when it was published.

                         BY
                Q      Prior to the publication on January 10th, how many journalists wou ld

       you estimate that you talked to either with Mr. Steele or separately related to this

       information?

                A      I mean again I would be guessing .

                Q      In this case I ai:n asking for an estimate based on your best

       recollection.

                A      I am not going to guess, but I will say that again, the depiction of this

       document as having been peddled around town , it wasn't peddled around town by

       me. And if someone was peddling it, it was without my knowledge and against

       my wishes. And to the extent that we discussed some of the information in the

       dossier, I would say It was, you know, a relatively small number of reporters.

                Q    Would you estimate it as more or less than 1O?

                A    I mean it's really hard for me to guess, but you know, it's a low number

       lik e that.

                Q    You mentioned that you fel t this information had sort of national


                              UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 149 of 166


                                                                                               148
                             UNCLASSIFIED, COMMITTEE SENSITIVE



        security significance. You mentioned how Mr. Steele proceeded with respect to

        this information.    Did you at any time approach the FBI directly regardi~g this

        information or your findings?

                 MR. LEVY:    By the way, he has testified for over -- nearly 6 hours, so he

        said a lot more than that, but you can answer the question.

                 MR. SIMPSON:      I didn't approach the FBI.

                       BY

                 Q   Are you aware of anyone who did on Fusion's or. Perkins Coie's

        behalf?

                 A   Beyond Chris Steele?

                 Q   Yes, beyond Chris Steele.

                 A   No.

                 Q   So we appreciate the opportunity to get your voluntary testimony

        today.    We also have sought document production. Are you prepared to

        voluntarily provide documents that are responsive to the subpoena?        Or I am

        sorry, to our request?

                 MR. 'LEVY: You have our response to the subpoena for documents.            You

        also have knowledge that some of our position is now the subject of pending

        litigation about which we will have a h·earing tomorrow.

                              : No. Well, let me clarify. We issued    a voluntary request,
        followed by a subpoena.        The subpoena has now been lifted.   Mr. Simpson is

        testifying here voluntarily.    Having lifted the subpoena, we are now back to the

        voluntary phase of your testimony. So the question is with respect to the request

        to Fusion -- or to Mr. Simpson, is he prepared to voluntarily provide documents

        relevant to this committee's investigation?


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 150 of 166


                                                                                                 149
                             UNCLASSIFIED, COMMITTEE SENSITIVE



                MR. LEVY: We have to stand on the same privileges that we already

       have. We will take the request back and evaluate it.

                                So is your answer no, see our letter of October 16th, or you
      will consider the request?

                MR. LEVY:     It is please look at our letter from October 16, and we will take

      it back.

                                But I am a bit confused , because your letter of October 16

      also stated numero1,1s reasons why Mr. Simpson and his colleagues were not

      prepared to testify voluntarily.    He has now testified voluntarily and been quite, as

      you pointed out, quite fulsome and extensive In his remarks, which we appreciate.

                So to the extent that the Jetter of October 16th is no longer so rt of current

      with respect to his testimony since he has now provided testimony voluntarily, how

      is it that the arguments in that Jetter are relevant or attain with respect to the

      document production?

                MR. LEVY:     I don't know that we need to go through this back and forth,

      quite frankly, but we are very pleased that the committee was able to reach the

      agreement that we had asked for on October 3rd that Mr. Nunes rejected in a day.

      It's the same agreement that we reached with the two other committees

      investigating the same subject matter area. We are glad that we have gotten to

      this point.

                Obviously, the agreement that we reached came th rough some careful

      discussion between both the majority and the minority members of this committee

      and counsel for Mr. Simpson. We appreciate that the subpoena has now been

      lifted.   But the privileges are the privileges . They are legal claims. We have

      asserted them. They are in the letter.


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 151 of 166



                                                                                                  150
                               UNCLASSIFIED, COMMITTEE SENSITIVE



                                   So is it your position that the privileges asserted in the letter

         preclude any production of any documents so that we can advise our members

         accordingly?

                   MR. LEVY: As I said, I think it would be helpful if we took the request

         back, discussed it among ourselves.· Now that the subpoena has been lrfted it's a

         new day. That said, we are not waiving any of the privileges that we have

         asserted in the letter.

                                   Understood.

                                   And also pursuant t o - line of questioning, will Mr.

         Simpson provide his work email address to this committee?

                   MR. LEVY: Off the record. Meaning not on the transcript, but we can give

        it to you .

                                   Right. That's fine. If you as his counsel can just send it to

        the committee.

                   MR. LEVY: We can do that.

               - : Thank you.

                MR. LEVY: And if he could do so without waiving any objections or

        privileges.

               -              : Understood. Thank you very much. One moment. Sorry,

        just two more lines of questioning, Mr. Simpson.

               [Discussion off the record.]

                        BY
               Q      Mr. Simpson, did you or Fusion GPS ever conduct any sort of

        research during the 2016 Presidential election cycle on then-candidate Hillary
        Clinton?


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 152 of 166



                                                                                                151
                            UNCLASSIFIED, COMMITTEE SENSITIVE


              A     I guess it depends on how you define the cycle.

              Q     I will help you.    From January 1, 2015 through the election.

              A     I don't specifically remember, but what I can say is that the Clinton

       Foundation and related issues has come up in my work a lot. And I can't

       remember when the last time was. So it's hard to be categorical.

              Q     I guess I can narrow it down a little more for you. Were you tasked by
       anyone or sought out by any company, agency, individual to conduct

       research - without naming those individuals -- to conduct the research on

       then-candidate Hillary Clinton?

              A     Yeah.       I think we agreed to talk to you about these two matters that

       you rightly are interested in. And I have tried to be as helpful as possible. So

       that would be not something that I am prepared to talk about.        I will say that I have

       gotten journalistic inquiries about this subject, and I have tried to be helpful to

       reporters about this subject.

              Obviously, at some point, you know, that became a conflict of interest.        But

       it is something that I just know a fair bit about because of all the work that we have

       done over the years.

              Q    All right.     Just so I am clear, I think our agreement, and Mr. Levy can

       correct me if I am wrong, we are investigating the 2016 election campaign cycle,

       irrespective of party. So that's why my question was directed in that fashion.

              MR. LEVY:         Let me just take a 1 a-second break to confer with Mr.

       Simpson.

                                 Sure. Go ahead.

              MR. SCHIFF:         And I want to specify too that while the scope of our

       investigation is into the Russian active measures campaign, as well as


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 153 of 166


                                                                                              152
                            UNCLASSIFIED, COMMITTEE SENSITIVE



        connections between the Trump campaign -- or either campaign and the

        Russians, some things that are beyond the scope of that are not what we are

        asking about.

               [Discussion off the record.]

               MR. SIMPSON: No one hired me to investigate Hillary Clinton in 2015 or

        2016. What did happen is that issues about Hillary Clinton came up in other

        investigations. and I can't remember the specifics, and I just remember they came

        up. A lot of times when we have a client come to us because of some business

        matter that is connected to politics or policy in Washington, the question of

        whether there was improper influence is part of the research. And I remember

        issues about policy, foreign policy coming up in other cases where it looked

        like -- and in fact there was --

               1am a little tired, but I think the question of whether people exerted

        influence through the Clinton Foundation was part of some business investigation

        that we were doing. She didn't come up in Prevezon, the nuclear stuff. The

        nuclear stuff had come up over the years, and it's something I know little about.

                         BY-:
               Q     Lastly, you brought up the Clinton Foundation. Is there any of the

        work conducted by you or Fusion GPS relevant to the Clinton Foundation related

        to our investigation, the parameters we have described? Can you shed some

        light on that?

               A    No.    I mean I would tell you if it did. Not that I can think of.

               Q    Sorry. And last question.      Did you similarly along the lines of the

        Democratic side, were you hired, without naming the entities, were you retained,

        you or Fusion GPS, to conduct or find research on any of the other 16 Republican


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 154 of 166



                                                                                               153
                               UNCLASSIFIED, COMMITTEE SENSITIVE


       candidates in the field?

               MR. LEVY:       I am sorry, can you repeat that question?

                        B ~:

               Q       Sure. Were you or Fusion GPS retained, without naming or

       identifying the clients, to conduct research on any of the other 16 Republican

       candidates in the 2016 election cycle?

               A       That question , in the way you phrased it, has refreshed my memory,

       and I was -- I remember we did work on Ted Cruz. And I think it was part of the

       Beacon matter. And it was a long while ago in this whole thing. And I just didn't

       remember it, but now I remember we looked af some Cruz-related stuff.

               Q       Any of the other candidates, of the other 16 candidates?

               A       I don't remember.    But it was, you know, it was a while ago. I just

       don't recall.

               Q       Fair enough. lf you do remember, would you just let your counsel

       know so he could provide the appropriate documentation to us?

               A       Sure.

                                Thanks very much.       Scott, do you have anything? Over to

       you .

                                 Thank you.

               MR. SCHIFF: I just have a few more questions. I think we are almost at

       the end. First of all, before I forget, thank you for your testimony today and all of

       your cooperation.       It has been I think very helpful to all of us.

               On the document issue, we are not in the loop for the most part on the

       litigation. That's being handled by the majority without much not only Input, but

       knowledge of the minority.


                               UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 155 of 166


                                                                                                 154
                            UNCLASSIFIED, COMMITTEE SENSITIVE



                               Mr. Schiff?

               MR. SCHIFF: Yeah .

                               I apologize for interrupting, but I just want to clarify, happy to

        discuss that issue, but I just want to clarify in reference to the earlier comments

        that Mr. Levy made that when I was asking about documents, I was asking about

        our document request to Fusion and to Mr. Simpson separate and apart from any

        document request for banking records or anything else.

               MR. SCHIFF: Yeah. You know, as I was saying, we are not that privy to

        what the litigation is over, what documents, what the scope of that is. And I don't

        know how, therefore, that bleeds over into the document request here.         If there

        are documents within the scope of what we have been asking about that you are

        able to provide, we would encourage you to do it.

               But again, because I don't understand the litigation, I can't speak to how

        that may influence what the court may decide your obligation, your privileges are

        vis-a-vis other documents. So I can't speak to that.

               So a few final questions. I want to make sure I understand this correctly.

        Your firm is retained by Prevezon for assistance in the litigation. Is that right?       I

        am sorry, by Baker Hostetler. Is that right?

              MR. SIMPSON: Correct.

              MR. SCHIFF: Baker Hostetler represents Prevezon .

              MR. SIMPSON : Correct.

              MR. SCHIFF: Veselnitskaya is a Russian attorney for Prevezon .
              MR. SIMPSON : Correct.

              MR. SCHIFF: It sounds like former Attorney General Mukasey also was an

        attorney on behalf of Prevezon.


                           UNCL.~SSIFIED 1 COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 156 of 166


                                                                                               155
                           UNCLASSIFIED, COMMITTEE SENSITIVE



               MR. SIMPSON:       He was an appellate attorney.

               MR. SCHIFF:      So you didn't work directly for Veselnitskaya.     You worked

        for Baker Hofstetler.

               MR. SIMPSON: That's right.       I have a long-standing relationship with

        Baker Hofstetler, covering a variety of cases.   Only this one has anything to do

        with Russia.

               MR. SCHIFF:      So the work that you compiled you compiled for Baker

        Hofstetler for use in the Prevezon case.

               MR. SIMPSON: That's correct.

               MR. SCHIFF: What Ms. Veselnitskaya may have done with any

        information produced in that litigation, would she have shared that information with

        you?

               MR. SIMPSON:       Generally speaking, no.    But she did say to me at one

        point that she thought the Ziff Brothers information was important. And l didn't

        really understand what she was talking about.     It didn't seem that important to me.

               MR. SCHIFF: Are you aware of any connections that Veselnitskaya may

        or may not have with Russian intelligence?

               MR. SIMPSON:       No.

               MR. SCHIFF:      It was reported in the emails setting up the Trump Jr.,

       Trump Tower meeting that this had been arranged by Mr. Agalarov, Aras

        Agalarov, and Emin as well.     There was a reference to information obtained from

       Mr. Chaika, I think he was referred to as the crown prosecutor. Are you aware of

       any relationship between Ms. Veselnitskaya and Mr. Chaika?

               MR. SIMPSON:       I have read about that in the newspaper.       I don't believe

       she ever told me that she had a relationship with him.     I mean first of all, we do


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 157 of 166



                                                                                           156
                              UNCLASSIFIED, COMMITTEE SENSITIVE


        everything through translators, and so we wouldn't have very fulsome exchanges.

        But I believe that she may have alluded at times to giving information to the

        government for purposes of tax law enforcement.

               And to the extent that she made references to, you know -- it was in

        connection with -- at least I understood it to be in connection with some kind of a

        tax enforcement action to recover taxes, unpaid taxes. And I can't remember

        whether she mentioned having any relationship with the chief prosecutor.

               MR. SCHIFF:      But she did mention she had some relationship with the

        government, at least as far as provid ing tax information was conce rned?

               MR. SIMPSON: Right. She didn't say she was a government agent, she

        didn't say she worked for the intelligence services, she didn't say any of that. All

        she said was something about this information is good because it has to do with

        the unpald taxes .

               MR. SCHIFF: So if she was doing work for the intelligence agencies, she

        wouldn't confide that in you?

               MR. SIMPSON: No, that's true.

              MR. SCHIFF: And would it be your practice to discuss with one client work

       you are doing for another client?

              MR. SIMPSON: No.

              MR. SCHIFF: So the work you were employing Mr. Steele to do would not

       be something you would have shared with Ms. Veselnitskaya?

              MR. SIMPSON: I didn't share it with most of my employees. Yes, to

       answer you, generally speaking we compartmentalize things, both like a law firm

       would, and in running an intelligence operation you would too.

              So if we are - so we don't tell one subcontractor what another


                             UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 158 of 166


                                                                                                     157
                            UNCLASSIFIED, COMMITTEE SENSITIVE


        subcontractor is doing. We d~rn't tell our subs who our clients are. And we

        certainly don't tell one client.what we are doing with another client.

               MR. SCHIFF: And Ms. Veselnitskaya never fed you .information that made

        it into the materials that you were providing your Perkins Coie client?

               MR. SIMPSON:       No.   In fact, the only information I even remember get

        getting from ·Ms. Veselnitskaya was the criminal case extortion case files in 2014.

        And they didn't even come to me, they went to Baker Hofstetler, and they went

        into the, you know, e-discovery program. And I just had access to the translated

       version.

               MR. SCHIFF: The reason I ask this question is, and you probably have

       seen this, there is a conspiracy theory that the Russians were, eith~r through Ms.

       Veselnitskaya or else ways, feeding you misinformation to go into the dossier to

       spur an FBI investigation as part of a Russian active measures campaign.              Is

       there any truth to that theory that you can see?

              MR. SIMPSON: There is no truth to that theory to my mind.              I would

       certainly agree with the observation that for these matters to have intersected in

       the way they did is, you know, remarkable.       And it caught me totally by surprise,

       and I have spent a lot of time thinking about wha·t it means, if it means anything.

              And as best as I can figure, the Russians were up to a lot of stuff, and I

       knew only about some of it. And l am one of a relatively small number of people

       who does a lot pf work in these areas.      And so the fact that I ended up, you know,

       having two connections to this stuff is not shocking to me because, as I say, the

       sort of Russia field is not very big.   So that part of   ifs not that surprising.   But it

       still was a surprise the way these intersected.

              MR. SCHIFF:      Now, the CEO of Prevezon was who?


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 159 of 166


                                                                                            158
                             UNCLASSIFIED,COMMITTEE SENSITIVE



               MR. SIMPSON: Denis Katsyv.

               MR. SCHIFF: And would Mr. Katsyv be considered an oligarch?

               MR. SIMPSON: No. At least he doesn't have a media profile as an

        oligarch. And that was the thing that I scanned for when the case came in. You

        know, are these guys -- can they get visas to the U.S.? Are they considered

        connected with some Mafia outfit? Do they go to the Kremlin to meet with Putin?

        And there was none of that.

               So, you know, so it seemed okay to me.     I wouldn't, you know -- they just

        didn't have much of a profile. And so I figured if they were big oligarchs, and

        especially bad oligarchs, that I would have heard of them .

               MR. SCHIFF: And were you aware of any connection between Mr. Katsyv

        and the Russian Government?

               MR. SIMPSON : Well, his father was a -- at the time that I was retained, his

        father was a minister in the Moscow city government. He was the transportation

        minister. And he is later, he is now the deputy head of the state railroad, state

        railroad company. And so that's a connection.

               MR. SCHIFF: And did the father, to your knowledge, have any

        connections with Mr. Chaika?

               MR. SIMPSON: I have no idea.

              MR. SCHIFF: Or did Mr. Katsyv have any connections to Mr.

        Agalarov?

              MR. SIMPSON: Well, what I have heard in recent months is that there is

       some connection , or maybe even read it, I can't remember, but there is some

       connection between Agalarov and Ms. Veselnitskaya. And I don't know what it is.

       I don't even remember where I heard it.


                           UNCLASSIFIED , COMMITTEE SENS I TIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 160 of 166



                                                                                        159
                           UNCLASSI FIED, COMMITTEE SENSITIVE


             MR. SCHIFF: Well , the emails would demonstrate some link.

             MR. SIMPSON: Well, right. There was some kind of a - she represented

      him or something.

             MR. SCHIFF: In the litigation, I think as you have described it, Mr.

      Browder would have been a hostile witness or a hostile party to Prevezon's

      interests.   Is that fair to say?

             MR. SIMPSON : Yes.

             MR. SCHIFF: In that respect, the Kremlin's interests would be aligned with

      Prevezon, not the -- who was the other party?

             MR. SIMPSON : The U.S. Justice Department.

             MR. SCHIFF: The U.S. Justice Department. So the Kremlin's interests

      would have been aligned against U.S. Treasury or U.S. Justice Department and

      with Prevezon.

             MR. SIMPSON: Yes. And at the time this case got .underway, it seemed

      pretty obscure. It was a civil money laundering case . But in retrospect, what I

      think might have happened was that - so when the case started it wasn't about

      William Browder. It was about a technical argument about whether you could

      prove that money from something in Russia went into this real estate

      development. And so it didn't have a political dimension to me particularly, it was

      a technical argument. And that is how the case was introduced to me, and the

      fight was going to be over what the bank records showed.

             So it was a reasonably interesting case, but not very potentially

      controversial.   But as we went into discovery, you know, the discovery trail led to

      Vladimir Putin's biggest critic_ . And, you know, at that point, because it b ecame

      sort of a· focal point of the case where the allegations came from and whether they


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 161 of 166



                                                                                              160
                            UNCLASSIFIED, COMMITTEE SENSITIVE



         could be supported, you know, I ended up doing work on Vladimir Putin's biggest

        critic. And you know, that wasn't what I set out to do. And it made me

        uncomfortable.

               MR. SCHIFF: But it may have been within the understanding of either the

        Kremlin or the Russian intelligence agencies that the party on the opposite side of

        this, the party that had instigated this was their nemesis, Mr. Browder.

               MR. SIMPSON: You know, if you want to spin it out far enough, it's

        possible they knew that's where the trail would go. But we didn't -- at least the

        other lawyers and I didn't know that was where this would head.

               MR. SCHIFF: The reason I am asking this is you have Ms. Veselnitskaya

        working on this litigation, which leads to Mr. Browder.

               MR. SIMPSON: Uh-huh.

               MR. SCHIFF: And therefore leads to the Magnitsky Act. You have Ms.

        Veselnitskaya at this meeting at Trump Tower about the Magnitsky Act. You

        have the Magnitsky Act being one of the highest priorities of the Kremlin to repeal.

               Does that in your experience tell you something about Ms. Veselnitskaya's

        importance to the Kremlin, relationship with the Kremlin? Is it suggestive in any

        way that she may have had a bigger role than you knew at the time?

               MR. SIMPSON: Well, I mean let me say, you know, I have certainly been

        mulling whether my original view of her as a minor player was wrong . And I think

        it would be natural to ask yourself that.   But I will add that, I mean a couple of

        things there. One, you know, this legislative issue wasn't about overturning the

        Magnitsky Act, it was about the name of some global Magnitsky Act, which as I

        understand it wasn't really even targeted at Russia. So, ·you know, it's unclear to

        me what the real plan was if there was some Kremlin plan behind all of that.


                            UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 162 of 166


                                                                                         161
                           UNCLASSIFIED, COMMITTEE SENSITIVE



              So, you know, what I think happened was that when they saw that we were

       finding stuff that tended to discredit Mr. Browder - so the Russians have been

      trying to discredit Browder forever. And they churn out fake news on Browder.

      They do fake movies accusing him of murder and all this other baloney.       And my

      view is that when we started producing actual information in court that was

       embarrassing to him, and tended to raise questions about his activities in Russia,

       that they opportunistically began to try to exploit that.

              And that would fit with my view of Ms. Veselnitskaya as well, which is that

       she viewed the success that we had in finding certain kinds of information as a

       ticket to political advancement in Moscow. There is only one way up in Russia,

       and that is do something that impresses Vladimir Putin. And so, you know, I

       could be wrong, but we viewed her as a very ambitious but not particularly, you

       know, someone with     a lot of juice.
              MR. SCHIFF: That sounds like a description of Carter Page.

              MR. SIMPSON: But I could be wrong about all of this and I am prepared to

       be wrong because these people are Russians. So knowing that I don't know who

       everyone is when you are dealing with Russians, I avoid trying to - I avoid

       situations where something could happen that I would be compromised.

              So I always refuse to go to Russia . And I only did this case because it was

       one of my oldest clients . And I still got sucked into som·ething that, you know, I

       mean thank God I didn't know anything about the Trump Tower meeting or I would

       really have some explaining to do.

              MR. SCHIFF: One way for a young -- well, I don't know about young, but

       one way for an ambitious lawyer to move up the ladder you said was to do

       something to please Vladimir Putin. Establishing a relationship with a potential


                           UNCLASSIFIED , COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 163 of 166


                                                                                              162
                           UNCLASSIFIED,        COMMITTEE SENSI TIVE



       future President of the United States and offering help against their opponent

        would be one way of doing that, would it not?

               MR. SIMPSON: That's in character with the Natalia that I know.          She

       seemed ambitious and opportunistic.

               MR. SCHIFF: All right.    Let me ask you a few last questions. Did you

       come across in your research anything related to the allegation you may have

       seen publicly that Erik Prince had a meeting in the Seychelles arranged by fore ign

       parties?   Did that allegation or any facts related to it come to your attention?

               MR. SIMPSON:      Not specifically that, but Erik Prince's role in the sort of .

       back of a lot of this stuff has come to my attention. And one of the -- I guess I

       would rather not say anything else.    But I just t_hink that he seems to be connected

       to some of the people who have been making accusations against me. And I

       have questions about whether he is the one who is --

               MR. SCHIFF: And in terms of your investigation, though, did you find any

       facts related to his foreign travel or his relationships or any work that he was doing

       on behalf of the Trump campaign?

               MR. SIMPSON: Not that I can specifically remember.

               MR. SCHIFF:    It's been publicly reported that Don Jr. went to Paris, had a

       meeting with a pro-Russian think tank. Was that a subject of your investigation as

       well?

               MR. SIMPSON:     Yes. We did a lot of work on -- so Russia is a major

       theater of operation - I am sorry, France is a major theater of operation for the

       Russian services.   And they have a lot of, you know, phony think tanks and other

       operations there. And they were very active in the French Presidential election, and

       they have been very -- there is a guy named Malofeev who sort of runs


                           UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 164 of 166


                                                                                          163
                           UNCLASSIFIED, COMMITTEE SENSITIVE


       those operations for the Russians in that area. And we looked at all that and

       mapped all that and concluded that, you know, it was part of the operation.

              But beyond that, I believe, you know, we were - we were told that Kushner

       had also been to Paris, but I don't think we could ever confirm that. But we

       looked at some of those people, and they were definitely Russian assets would be

       my view.

              MR. SCHIFF: Professor Mifsud come to your attention?

       MR. SIMPSON: No. Professor Mifsud did not come to my attention.



              Q    How about Mr. Papadopoulos?

              MR. SIMPSON: Yes.

              MR. SCHIFF: And in what way?

              MR. SIMPSON: As someone who was a clone of Carter Page and had

       connections to the Russians.

              MR. SCHIFF: Did you come across any facts related to Papadopoulos that

       were beyond those that were contained in the infonnation?

              MR. SIMPSON: I don't think so. We have been looking at him for a while,

       but I was still surprised by what I saw there.

              MR. SCHIFF: You mentioned a Florida woman, Russian origin, worked for

       Gazprom, connected to the embassy, connected to Michael Cohen. If you are

       able to refresh your recollection and provide her name to ·the committee, that

       would be helpful.

              MR. SIMPSON: Sure.

              MR. SCHIFF: The kompromat which has become so much a focus of any

       discussion of the dossier, are there any of the facts related to that, the salacious


                           UNCLASSIFIED, COMMITTEE SENS ITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 165 of 166


                                                                                               164
                                UNCLASSIFIED, COMMITTEE SENSITIVE



        video that were not a part of the dossier or other like allegations that came to your

       attention?

                   MR. SIMPSON: No.        I mean, you know, we were asked about other

       allegations by reporters that didn't come from us, and I am not - we were asked

       about earlier stories of earlier trips and whether other things had happened, and

       similar things. Actually not similar things , more sort of less colorful. But anyway,

       girls. And, you know, we didn't - I mean to be clear, we never set out to

       investigate whether Donald Trump or anyone else was engaged in sexual activity

       for the sort of practical reason that I just didn't think it was a useful subject to

       investigate.

                   I investigate business stuff and financial crime and corruption and those

       kind of things. That's my gig. So people came to us with stories that we never

       pursued. And we were recently asked by some reporter did you write a memo in

       2015 about - I had no idea what they were talking about. You know, we threw a

       line in the water and Moby Dick came back, and we didn't know what to do with it

       at first.     So anyway.

                   MR. SCHIFF: And, you know, from your description of your relationship

       with Mr. Steele, I take it that you sent him to find what he could find. You didn't

       send him to go find evidence of candidate Trump entertaining women in whatever

       way in a hotel.

                   MR. SIMPSON: No. But I think this underscores a really important point,

       which is that so kompromat is a big deal for Chris Steele. It is not a big deal for

       Glenn Simpson, because my professional world is financial crime and politics and

       the other things. But he is in Russian intelligence. You know, that's his

       specialty, and a lot of what you are worrying about.


                              UNCLASSIFIED, COMMITTEE SENSITIVE
Case 1:21-cr-00582-CRC Document 79-9 Filed 04/19/22 Page 166 of 166


                                                                                            165
                           UNCLASSIFIED , COMMITTEE SENSITIVE


               So when he explains all this, .he has other cases where people have been

       kompromatted. And it's something he has dealt with his entire adult life. So I

       can't tell you he wasn't looking· for that, because it was probably something that

       was among the things that he would have asked someone to check.

               MR. SCHIFF: It is Russian tradecraft that he would have been familiar

       with?

               MR. SIMPSON: Correct. So when the information comes back that there

       is kompromat but that there is also a conspiracy afoot, you know, each of us sees

       our piece of the elephant, right? I am like, oh, my God, there is a conspiracy

       afoot. And he is like, oh, my God, there is a kompromat problem.

               So when he says we have got to go to the FBI, or he wants to go to the FBI,

       he is specifically concerned about the kompromat issue and whether, you know, a

       Republican -- whether a candidate for President of the United States, a nominee

       has been kompromatted. And he feels that it's his duty to report that.

               I assume because part of his old job was reporting politicians who had been

       kompromatted, and that he thought it was, you know, de rigeur or something.          But

       my feeling was, you know, we should report the rest of this alleged crime.    I mean

       I was comfortable with him doing it.

               MR. SCHIFF: We yield back.

                           : We are adjourned, sir.

               MR. SCHIFF: Thank you very much.

               [Whereupon, at 8:20 p.m .., the inteiview was concluded.}




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